                                  No. 23-1341

           ________________________________________________

              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
           ________________________________________________

ADVANCED ENERGY UNITED, CLEAN ENERGY BUYERS ASSOCIATION,
   ENERGY ALABAMA, GEORGIA INTERFAITH POWER AND LIGHT,
    NATURAL RESOURCES DEFENSE COUNCIL, NORTH CAROLINA
SUSTAINABLE ENERGY ASSOCIATION, PARTNERSHIP FOR SOUTHERN
  EQUITY, SOLAR ENERGY INDUSTRIES ASSOCIATION, SOUTHERN
    ALLIANCE FOR CLEAN ENERGY, SOUTH CAROLINA COASTAL
 CONSERVATION LEAGUE, SOUTHFACE INSTITUTE, and VOTE SOLAR,
                         Petitioners

                                        v.

            FEDERAL ENERGY REGULATORY COMMISSION,
                              Respondent
           ________________________________________________

                    JOINT PETITION FOR REVIEW
           ________________________________________________

                                             Equity, Southern Alliance for Clean
Maia Hutt                                    Energy, South Carolina Coastal
Southern Environmental Law Center            Conservation League, Southface
601 West Rosemary Street, Suite 220          Institute, Vote Solar
Chapel Hill, NC 27516
mhutt@selcnc.org                             Caroline Reiser
                                             Natural Resources Defense Council
Counsel for Energy Alabama,                  1152 15th Street NW #300
Georgia Interfaith Power and Light,          Washington, DC 20005
North Carolina Sustainable Energy            creiser@nrdc.org
Association, Partnership for Southern
John N. Moore                            Jeremy McDiarmid
Natural Resources Defense Council        Advanced Energy United
20 North Wacker Street, Suite 1600       1801 Pennsylvania Ave. NW
Chicago, Illinois 60201                  Suite 410
jmoore@nrdc.org                          Washington, DC 20006
                                         jmcdiarmid@advancedenergyunited.o
Danielle C. Fidler                       rg
Earthjustice
48 Wall Street, 15th Floor               Counsel for Advanced Energy United
New York, NY 10005
dfidler@earthjustice.org                 Ben Norris
                                         Solar Energy Industries Association
Alexander Tom                            1425 K Street NW, Suite 1000
Earthjustice                             Washington, DC 20005
50 California Street, Suite 500          bnorris@seia.org
San Francisco, CA 94111
atom@earthjustice.org                    Counsel for the Solar Energy
                                         Industries
Counsel for Natural Resources            Association
Defense Council
                                         Karl Sandstrom
Todd G. Glass                            Perkins Coie LLP
Wilson Sonsini Goodrich & Rosati,        700 Thirteenth Street, NW Suite 800
PC                                       Washington, DC 20005-3960
501 Fifth Avenue, Suite 5100             KSandstrom@perkinscoie.com
Seattle, WA 98104
(206) 883-2571                           Counsel for Clean Energy Buyers
tglass@wsgr.com                          Association

Nicholas Gladd
Wilson Sonsini Goodrich & Rosati,
PC
1700 K Street NW
Washington, DC 20006




                                     2
      As authorized by Section 313 of the Federal Power Act, 16 U.S.C. § 825l(b),

Rule 15(a) of the Federal Rules of Appellate Procedure, and Circuit Rule 15,

ADVANCED ENERGY UNITED, CLEAN ENERGY BUYERS ASSOCIATION,

ENERGY ALABAMA, GEORGIA INTERFAITH POWER AND LIGHT,

NATURAL RESOURCES DEFENSE COUNCIL, NORTH CAROLINA

SUSTAINABLE ENERGY ASSOCIATION, PARTNERSHIP FOR SOUTHERN

EQUITY, SOLAR ENERGY INDUSTRIES ASSOCIATION, SOUTHERN

ALLIANCE FOR CLEAN ENERGY, SOUTH CAROLINA COASTAL

CONSERVATION LEAGUE, SOUTHFACE ENERGY INSTITUTE, and VOTE

SOLAR jointly petition this Court to review and set aside the following order of

the Federal Energy Regulatory Commission (“FERC” or “the Commission”):

      1. Approval of the Southeast Energy Exchange Market Agreement by

      operation of law pursuant to Section 205(g)(1) of the Federal Power Act, 16

      U.S.C. § 824d(g)(1). Alabama Power Co., Dominion Energy South

      Carolina, Inc., Louisville Gas and Electric Co., Duke Energy Carolinas,

      LLC, Duke Energy Progress, LLC, Georgia Power Co., Kentucky Utilities

      Co., Mississippi Power Co., Notice of Filing Taking Effect by Operation of

      Law, Docket Nos. ER21-1111-002, ER21-1112-002, ER21-1114-002,


                                         3
ER21-1116-002, ER21-1117-002, ER21-1119-002, ER21-1120-002, and

ER21-1121-002 (Oct. 13, 2021); Statement of James P. Danly, Docket Nos.

ER21-1111-002, ER21-1112-002, ER21-1114-002, ER21-1115-000, ER21-

1115-001, ER21-1115-002, ER21-1116-002, ER21-1117-002, ER21-1118-

002, ER21-1119-002, ER21-1120-002, ER21-1121-002, ER21-1125-000,

ER21-1125-001, ER21-1125-002, and ER21-1128-002 (Oct. 20, 2021);

Statement of Commissioner Christie, Docket Nos. ER21-1111-002, ER21-

1112-002, ER21-1114-002, ER21-1115-000, ER21-1115-001, ER21-1115-

002, ER21-1116-002, ER21-1117-002, ER21-1118-002, ER21-1119-002,

ER21-1120-002, ER21-1121-002, and ER21-1125-000, ER21-1125-001,

ER21-1125-002, and ER21-1128-002 (Oct. 20, 2021); Statement of

Chairman Glick, Docket Nos. ER21-1111-002, ER21-1112-002, ER21-

1114-002, ER21-1116-002, ER21-1117-002, ER21-1119-002, ER21-1120-

002, and ER21-1121-002 (Oct. 20, 2021); Statement of Commissioner

Clements, ER21-1111-002, ER21-1112-002, ER21-1114-002, ER21-1116-

002, ER21-1117-002, ER21-1119-002, ER21-1120-002, and ER21-1121-



                                4
      002 (Oct. 20, 2021), (together, “October 13th Notice and Commissioner

      Statements”) (attached hereto as Exhibit A).

The jurisdiction and venue of this Court is established by Federal Power Act

Sections 205(g)(2) and 313(b), 16 U.S.C. §§ 824d(g) and 825l(b).

      The above-listed Commission order relates to the Southeast Energy

Exchange Market (“SEEM”), a new wholesale energy trading platform and

transmission service that was proposed by several transmission-owning utilities

located in the Southeast region of the United States. The Commission issued

several orders approving the SEEM platform and transmission service, three of

which were vacated by this Court in a separate appeal brought by Petitioners. See

Advanced Energy United, Inc. v. FERC, 82 F.4th 1095 (D.C. Cir. 2023) (“AEU”).

Specifically, the Court agreed with Petitioners’ contentions that (1) FERC erred

when it found that SEEM is not a power pool as defined by Commission

regulations and (2) that FERC’s approval of the SEEM transmission service is

inconsistent with Commission regulations requiring power pools to file a system-

wide joint tariff providing open membership and open access to such service to

non-members. AEU, 82 F.4th at 1112-115. The Court also agreed that the

Commission erred when it found Petitioners’ request for rehearing of the order

approving the SEEM market platform untimely. Id. at 1110. The Court vacated

the order approving the SEEM transmission service as well as the orders finding
                                         5
Petitioners’ original request for rehearing of the SEEM trading platform untimely

and remanded the associated orders back to the Commission “so that Petitioners’

timely petition for rehearing may be addressed in the first instance by the agency.”

Id. at 1117. The Court’s mandate implementing its decision was issued on

September 19, 2023. AEU, Inc. v. FERC, No. 22-1018 (D.C. Cir. Sept. 19, 2023),

ECF No. 2017776.

      Under Federal Power Act Section 313(a), the Commission has thirty days to

respond to a timely-filed request for rehearing or such application may be deemed

to have been denied. 18 U.S.C. § 825l(a); see also 18 C.F.R. § 385.713(f) (“Unless

the Commission acts upon a request for rehearing within 30 days after the request

is filed, the request is denied.”). The Court’s vacatur of the Commission’s orders

deeming Petitioners’ requests for rehearing untimely leaves before the Commission

a timely-filed request for rehearing under Section 313(a). The Commission is

required to respond to requests for rehearing within thirty days. 1 Arguably, the

Court’s September 19, 2023 mandate reset the thirty-day clock for the Commission

to respond to Petitioners’ request for rehearing. And, regardless of whether the

Court’s mandate reset the thirty-day clock or imposed a new clock to be

superintended by this Court, thirty days is the amount of time Congress deemed



1
 See, e.g., Allegheny Def. Project v. FERC, 964 F.3d 1, 13 (D.C. Cir. 2020) (en
banc).
                                          6
sufficient for the Commission’s review of Petitioners’ rehearing request. “[I]f the

Commission fails to act on [a] rehearing application within thirty days, the

application may be deemed denied, allowing the aggrieved party to proceed to

federal court” even where, as here, the Commission intends to issue a future order

on the rehearing request. Allegheny, 964 F.3d at 3.

      However, the Commission did not act on Petitioners’ request for rehearing

by October 18, 2023—i.e., thirty days after this Court’s September 19, 2023

mandate. Accordingly, the Petitioners’ request for rehearing may be deemed

denied, and Petitioners hereby file this petition for review to obtain timely judicial

review of the Commission’s October 2021 action. 2

Dated: December 18, 2023         Respectfully submitted,


                                 /s/ Maia Hutt
                                 Maia Hutt
                                 Southern Environmental Law Center
                                 601 West Rosemary Street, Suite 220
                                 Chapel Hill, NC 27516
                                 mhutt@selcnc.org

                                 Counsel for Energy Alabama, Georgia Interfaith
                                 Power and Light, North Carolina Sustainable
                                 Energy Association, Partnership for Southern

2
  Accord PJM Power Providers Grp. v. FERC, 2023 U.S. App. LEXIS 31672, *27
(3d Cir. 2023) (holding that “where a quorum of FERC Commissioners deadlocks
two-to-two on a § 205 rate filing, [the court’s] review of the resulting order must
adhere to the same standard that would govern our review of an order approved by
a FERC majority” and that review “properly encompasses the entire record,
including the four Commissioners § 205(g)(1)(B) statements”).
                                           7
Equity, Southern Alliance for Clean Energy, South
Carolina Coastal Conservation League, Southface
Institute, Vote Solar

/s/ Danielle C. Fidler
Danielle C. Fidler
Earthjustice
48 Wall Street, 15th Floor
New York, NY 10005
dfidler@earthjustice.org

Alexander Tom
Earthjustice
50 California Street, Suite 500
San Francisco, CA 94111
atom@earthjustice.org

Caroline Reiser
Natural Resources Defense Council
1152 15th Street NW #300
Washington, DC 20005
creiser@nrdc.org

John N. Moore
Natural Resources Defense Council
20 North Wacker Street, Suite 1600
Chicago, Illinois 60201
Telephone: (312) 651-7927
Email: jmoore@nrdc.org

Counsel for Natural Resources Defense Council

/s/ Todd G. Glass
Todd G. Glass
Wilson Sonsini Goodrich & Rosati, PC
501 Fifth Avenue, Suite 5100
Seattle, WA 98104
(206) 883-2571
tglass@wsgr.com


         8
Nicholas Gladd
Wilson Sonsini Goodrich & Rosati, PC
1700 K Street NW
Washington, DC 20006

Jeremy McDiarmid
Advanced Energy United
1801 Pennsylvania Ave. NW
Suite 410
Washington, DC 20006
jmcdiarmid@advancedenergyunited.org

Counsel for Advanced Energy United

/s/ Ben Norris
Ben Norris
Solar Energy Industries Association
1425 K Street NW Suite 1000
Washington, DC 20005
bnorris@seia.org

Counsel for the Solar Energy Industries
Association

/s/ Karl Sandstrom
Karl Sandstrom
Perkins Coie LLP
700 Thirteenth Street, NW Suite 800 Washington,
DC 20005-3960
KSandstrom@perkinscoie.com

Counsel for Clean Energy Buyers Association




        9
                         DISCLOSURE STATEMENTS
      In accordance with Rule 26.1 of the Federal Rules of Appellate Procedure

and D.C. Circuit Rule 26.1, Petitioners make the following disclosures:

      Advanced Energy United, Inc. (“United”) is a non-profit 501(c)(6)

organization incorporated under the laws of the District of Columbia. United is a

national non-profit industry association in the United States that represents the full

range of advanced energy technologies and services, both grid-scale and

distributed. United represents over 100 member companies and has a mission to

achieve 100% clean power and transportation electrification across the United

States. United is a non-profit corporation and, as such, no entity has any ownership

interest in it. United does not have any outstanding shares or debt securities in the

hands of the public nor any parent, subsidiary, or affiliates that have issued shares

or debt securities to the public. United is a trade association within the meaning of

Circuit Rule 26.1(b).

      Clean Energy Buyers Association (“CEBA”) is a not-for-profit business

association of energy customers dedicated to deploying market and policy

solutions for a carbon-free energy system. CEBA does not have any parent

companies or issue stock, and no publicly held company has a 10% or greater

ownership interest in CEBA. CEBA is a trade association within the meaning of

Circuit Rule 26.1(b).


                                          10
      Energy Alabama is a membership-based nonprofit organization accelerating

Alabama’s transition to sustainable energy. Energy Alabama accomplishes its

mission by educating, informing smart energy policy, building the next generation

workforce, and providing technical assistance to deploy more sustainable energy.

Energy Alabama believes in sustainable energy for all. Energy Alabama has no

parent companies, subsidiaries, or affiliates and has not issued shares or other

securities to the public. No publicly held corporation owns any stock in Energy

Alabama.

      Georgia Interfaith Power and Light (“GIPL”) is a non-profit organization

with a mission to equip faith communities across Georgia to care for Creation and

each other through worship and education, and by promoting energy efficiency and

renewable energy sources. GIPL inspires and equips members to aid in

environmental justice and stop poor energy choices. GIPL’s work to promote

renewable energy and energy efficiency is at the core of the organization’s

mission. GIPL has no parent companies, subsidiaries, or affiliates and has not

issued shares or other securities to the public. No publicly held corporation owns

any stock in GIPL.

      Natural Resources Defense Council, Inc. (“NRDC”) is a national non-profit

corporation with members residing in each of the fifty United States. NRDC is

dedicated to safeguarding the Earth: its people, its plants and animals, and the


                                         11
natural systems on which all life depends. Additionally, NRDC works to achieve

energy solutions that will lower consumer energy bills, meet federal and state

carbon reduction goals, accelerate the use of renewable energy, and ensure that

clean energy is affordable and accessible to all. NRDC has no parent companies,

subsidiaries, or affiliates and has not issued shares or other securities to the public.

No publicly held corporation owns any stock in NRDC.

      North Carolina Sustainable Energy Association (“NCSEA”) is a nonprofit

organization that works to enable clean energy jobs, economic opportunities, and

affordable energy options for North Carolinians. For over forty years, NCSEA has

worked to further the transformation of North Carolina energy policy, markets, and

systems to create an affordable, resilient, and secure clean energy future.

NCSEA’s members include individuals, businesses, governments, and nonprofit

organizations interested in North Carolina’s sustainable energy future. NCSEA

has no parent companies, subsidiaries, or affiliates and has not issued shares or

other securities to the public. No publicly held corporation owns any stock in

NCSEA.

      Partnership for Southern Equity (“PSE”) is non-profit organization

committed to promoting racial equity and shared prosperity in metropolitan Atlanta

and the American South through a coalition-based model for multi-demographic

capacity building for equity. PSE seeks to lift up Black people, communities of


                                           12
color, and low-wealth people by connecting marginalized populations to solutions

that build power for their communities. PSE is the convener and founding member

of the Just Energy Circle, a values-driven collaborative effort to promote

sustainable, self-sufficient communities that encourage participation in developing

clean energy solutions for everyone’s benefit. PSE’s Just Energy Circle aims to

establish structures to ensure that energy opportunities are available to all,

including low-income protections, reduced energy costs, and employment. PSE

has no parent companies, subsidiaries, or affiliates and has not issued shares or

other securities to the public. No publicly held corporation owns any stock in PSE.

      Solar Energy Industries Association (“SEIA”) is a tax-exempt trade

association pursuant to 26 U.S.C. § 501(c)(6) that represents nearly 1,000 member

companies nationwide. SEIA represents the entire solar industry, including

installers, project developers, manufacturers, contractors, financiers and non-

profits. SEIA’s member companies develop, manufacture, finance, and build solar

projects both domestically and abroad. SEIA has no parent corporation and no

publicly held company owns 10% or more of its stock. SEIA is a trade association

within the meaning of Circuit Rule 26.1(b).

      Southern Alliance for Clean Energy (“SACE”) is a non-profit organization

with over 30 years’ experience as a leading voice calling for smart energy policies

in the Southeast that help protect the region’s quality of life and treasured places.


                                          13
SACE promotes responsible and equitable energy choices to ensure clean, safe,

and healthy communities throughout the Southeast. In addition to technical and

policy advocacy work, SACE is also on the ground in local communities

throughout the region working to mobilize concerned citizens and elevate the

conversation around the dangers of climate change and the importance of clean

energy choices. SACE has no parent companies, subsidiaries, or affiliates and has

not issued shares or other securities to the public. No publicly held corporation

owns any stock in SACE.

      South Carolina Coastal Conservation League (“CCL”) is a nonprofit

organization based in Charleston whose mission is to protect the natural

environment of the South Carolina coastal plain and to enhance the quality of life

in its communities by working with individuals, businesses, and government to

ensure balanced solutions. CCL supports the development of energy policy that is

in the public interest of South Carolinians, including distributed energy resources.

CCL has long been an active participant in South Carolina Public Service

Commission proceedings in support of effective rates and policies and clean

distributed energy resources. CCL has no parent companies, subsidiaries, or

affiliates and has not issued shares or other securities to the public. No publicly

held corporation owns any stock in CCL.




                                          14
      Southface Institute is a nonprofit organization based in Atlanta, Georgia,

whose mission is to promote sustainable homes, workplaces, and communities

through education, research, advocacy, and technical assistance. Southface aims to

achieve climate mitigation and resilience at the intersection of the built and natural

environments, increase health and equity through improvements to the built

environment, and build a knowledge base and workforce to catalyze the transition

to a regenerative economy. Southface has no parent companies, subsidiaries, or

affiliates and has not issued shares or other securities to the public. No publicly

held corporation owns any stock in Southface.

      Vote Solar is a non-profit policy advocacy organization with the mission of

making solar more accessible and affordable across the United States. Vote Solar

works in over 25 states to drive the transition to a just 100% clean energy future.

Vote Solar is a team of solar advocates using deep policy expertise, coalition

building, and public engagement to power just and equitable clean energy progress

nationwide. Vote Solar has active campaigns underway in North Carolina, South

Carolina, Georgia, and Florida to drive clean energy progress. Vote Solar has no

parent companies, subsidiaries, or affiliates and has not issued shares or other

securities to the public. No publicly held corporation owns any stock in Vote Solar.




                                          15
                         CERTIFICATE OF SERVICE

      Pursuant to Rule 15(c) of the Federal Rules of Appellate Procedure, I hereby

certify that I have on this 18th day of December, 2023, caused copies of the

foregoing Joint Petition for Review to be served via electronic mail upon:

      Kimberly D. Bose
      Secretary
      Federal Energy Regulatory Commission
      888 First Street, NE
      Washington, DC 20426
      Via FERC eFile System

      Counsel for Respondent:

      Matthew Christiansen
      General Counsel
      Federal Energy Regulatory Commission
      888 First Street, NE
      Washington, D.C. 20426
      matthew.christiansen@ferc.gov

      Robert Solomon
      Solicitor
      Federal Energy Regulatory Commission
      888 First Street NE
      Washington, DC 20426
      robert.solomon@ferc.gov

      I hereby further certify that I have served a copy of the foregoing Joint

Petition for Review on all parties to the proceedings before the Commission under

dockets ER21-1111-002, ER21-1112-002, ER21-1114-002, ER21-1115-000,

ER21-1115-001, ER21-1115-002, ER21-1116-002, ER21-1117-002, ER21-1118-



                                         16
002, ER21-1119-002, ER21-1120-002, ER21-1121-002, ER21-1125-000, ER21-

1125-001, ER21-1125-002, and ER21-1128-002 via electronic mail as shown in

the service lists attached as Exhibit B.

      A date-stamped copy will be delivered to Respondent, pursuant to 18 C.F.R.

§ 385.2012, upon receipt.

                                 /s/ Danielle C. Fidler
                                 Danielle C. Fidler
                                 Earthjustice
                                 48 Wall Street, 15th Floor
                                 New York, NY 10005

DATED: December 18, 2023




                                           17
EXHIBIT A
Document Accession #: 20211013-3010             Filed Date: 10/13/2021




                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION


        Alabama Power Company                                Docket Nos.   ER21-1111-002

        Dominion Energy South Carolina, Inc.                               ER21-1112-002

        Louisville Gas and Electric Company                                ER21-1114-002

        Duke Energy Carolinas, LLC                                         ER21-1116-002

        Duke Energy Progress, LLC                                          ER21-1117-002

        Georgia Power Company                                              ER21-1119-002

        Kentucky Utilities Company                                         ER21-1120-002

        Mississippi Power Company                                          ER21-1121-002

                                                                           (Not Consolidated)

                    NOTICE OF FILING TAKING EFFECT BY OPERATION OF LAW

                                               (October 13, 2021)

                On February 12, 2021, as amended on June 7, 2021, and August 11, 2021,
        Southern Company Services, Inc., as agent for Alabama Power Company, filed, pursuant
        to section 205 of the Federal Power Act (FPA)1 and section 35.12 of the Commission’s
        regulations,2 the Southeast Energy Exchange Market (Southeast EEM) Agreement on
        behalf of itself and the other prospective Members (collectively, Filing Parties) of the
        Southeast EEM.3 Additionally, on February 12, 2021, as amended on June 7, 2021, and

               1
                   16 U.S.C. § 824d (2018).
               2
                   18 C.F.R. § 35.12 (2020).
               3
                According to Filing Parties, the following entities constitute the prospective
         Members of the Southeast EEM: Alabama Power Company, Georgia Power Company,
         and Mississippi Power Company (collectively, Southern Companies); Associated Electric
         Cooperative, Inc.; Dalton Utilities; Dominion Energy South Carolina, Inc. (Dominion
         Energy SC); Duke Energy Carolinas, LLC (DEC) and Duke Energy Progress, LLC
Document Accession #: 20211013-3010             Filed Date: 10/13/2021

         Docket Nos. ER21-1111-002, et al.                                                           -2-

         August 11, 2021, seven prospective Southeast EEM Members submitted certificates of
         concurrence to the Southeast EEM Agreement.4

                Pursuant to section 205 of the FPA, in the absence of Commission action on or
         before October 11, 2021, the proposed Southeast EEM Agreement and concurrences
         thereto became effective by operation of law. Accordingly, the effective date of the
         proposed tariff sheets is October 12, 2021, as reflected in these tariff sheets.

                The Commission did not act on the proposed Southeast EEM Agreement and
         concurrences thereto because the Commissioners are divided two against two as to the
         lawfulness of the change. Consistent with section 205(g)(1)(B) of the FPA, any written
         statement explaining the views of a Commissioner with respect to Filing Parties’ proposal
         will be added to the record of the Commission in the captioned proceedings.




                                                          Kimberly D. Bose,
                                                             Secretary.




         (DEP); Louisville Gas and Electric Company (LG&E) and Kentucky Utilities Company
         (KU); North Carolina Municipal Power Agency Number 1; PowerSouth Energy
         Cooperative; North Carolina Electric Membership Corporation; and Tennessee Valley
         Authority (each a Member and collectively, the Members).
                4
                   See Dominion Energy SC, Tariff Filing, Docket No. ER21-1112-002 (filed Aug.
         11, 2021); LG&E, Tariff Filing, Docket No. ER21-1114-002 (filed Aug. 11, 2021); DEC,
         Tariff Filing, Docket No. ER21-1116-002 (filed Aug. 11, 2021); DEP, Tariff Filing,
         Docket No. ER21-1117-002 (filed Aug. 11, 2021); Georgia Power Company, Tariff
         Filing, Docket No. ER21-1119-002 (filed Aug. 11, 2021); KU, Tariff Filing, Docket No.
         ER21-1120-002 (filed Aug. 11, 2021); Mississippi Power Company, Tariff Filing,
         Docket No. ER21-1121-002 (filed Aug. 11, 2021). Where two or more public utilities
         are parties to the same rate schedule or tariff, the Commission permits one public utility
         to file such rate schedule or tariff and all other parties obligated to file such rate schedule
         or tariff to file a certificate of concurrence adopting the filed rate schedule or tariff in lieu
         of filing a duplicative rate schedule or tariff. 18 C.F.R. § 35.1(a) (2020).
Document Accession #: 20211013-3010   Filed Date: 10/13/2021

   Document Content(s)
   ER21-1111-002FR.docx......................................................1
Document Accession #: 20211020-4005          Filed Date: 10/20/2021




                                UNITED STATES OF AMERICA
                         FEDERAL ENERGY REGULATORY COMMISSION

         Alabama Power Company                                      Docket Nos.   ER21-1111-002

         Dominion Energy South Carolina, Inc.                                     ER21-1112-002

         Louisville Gas and Electric Company                                      ER21-1114-002

         Duke Energy Progress, LLC                                                ER21-1115-000
         Duke Energy Carolinas, LLC                                               ER21-1115-001
                                                                                  ER21-1115-002

         Duke Energy Carolinas, LLC                                               ER21-1116-002

         Duke Energy Progress, LLC                                                ER21-1117-002

         Louisville Gas and Electric Company                                      ER21-1118-002

         Georgia Power Company                                                    ER21-1119-002

         Kentucky Utilities Company                                               ER21-1120-002

         Mississippi Power Company                                                ER21-1121-002

         Alabama Power Company                                                    ER21-1125-000
                                                                                  ER21-1125-001
                                                                                  ER21-1125-002

         Dominion Energy South Carolina, Inc.                                     ER21-1128-002


                                        (Issued October 20, 2021)

                                  STATEMENT OF JAMES P. DANLY

               I submit this statement in accordance with section 205(g)(1)(B) of the Federal
         Power Act (FPA).1 I voted to approve the proposal.


               1
                  16 U.S.C. § 824d(g)(1)(B). In October 2018, the America’s Water Infrastructure
         Act became law. America’s Water Infrastructure Act of 2018, Pub. L. No. 115-270, 132
         Stat. 3765 (2018). That Act included provisions from the Fair Ratepayer Accountability,
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




                I provide this statement to explain why the entire Southeast Energy Exchange
         Market (Southeast EEM) proposal2 in all twelve root dockets went into effect by
         operation of law and not merely the subset of dockets included in the Commission’s
         October 13, 2021 Notice.3 Excluding those dockets from the notice may create the false
         impression that the proposed tariff revisions in those dockets did not also go into effect
         by operation of law. To the contrary, every filing, in every related docket has now been
         accepted.4 As discussed below, the Commission’s deficient notice is just one more in a

         Transparency, and Efficiency Standards Act (the Fair RATES Act) amending FPA
         section 205 to treat inaction by the Commission that allows a rate change to take effect as
         an order for purposes of rehearing and judicial review. America’s Water Infrastructure
         Act § 3006.
                2
                  Members of the Southeast EEM are: Alabama Power Company (Alabama
         Power), Georgia Power Company (Georgia Power), and Mississippi Power Company
         (Mississippi Power) (collectively, Southern Companies); Associated Electric
         Cooperative, Inc. (AECI); Dalton Utilities (Dalton); Dominion Energy South Carolina,
         Inc. (Dominion Energy SC); Duke Energy Carolinas, LLC (DEC) and Duke Energy
         Progress, LLC (DEP) (together with DEC, Duke); Louisville Gas & Electric Company
         (LG&E) and Kentucky Utilities Company (KU) (and LG&E and KU Services Company
         and LG&E and KU Energy LLC, when acting as the agent or representative of
         LG&E/KU) (collectively, LG&E/KU); North Carolina Municipal Power Agency Number
         1 (NCMPA Number 1); Power South Energy Cooperative (PowerSouth); North Carolina
         Electric Membership Corporation (NCEMC); and Tennessee Valley Authority (TVA)
         (each a Member and collectively, the Members). Other entities that have participated in
         the creation of the Southeast EEM and are in the process of or are contemplating seeking
         the necessary approvals to execute the Southeast EEM Agreement and become Members:
         Georgia System Operations Corporation (GSOC); Georgia Transmission Corporation
         (GTC); Municipal Electric Authority of Georgia (MEAG Power); Oglethorpe Power
         Corporation (An Electric Membership Corporation) (Oglethorpe); and South Carolina
         Public Service Authority (Santee Cooper).
                3
                October 13, 2021 Notice. Dockets included were Ala. Power, Docket No. ER21-
         1111-002; Dominion Energy SC, Docket No. ER21-1112-002; LG&E, Docket No. ER21-
         1114-002; DEC, Docket No. ER21-1116-002; DEP, Docket No. ER21-1117-002; Ga.
         Power, Docket No. ER21-1119-002; KU, Docket No. ER21-1120-002; Miss. Power,
         Docket No. ER21-1121-002. Dockets excluded were Ala. Power, Docket No. ER21-
         1125-002, et al.; Dominion Energy SC, Docket No. ER21-1128-002, et al.; Duke, Docket
         No. ER21-1115-002, et al.; LG&E, Docket No. ER21-1118-002, et al.
                4
                 See, e.g., Pub. Serv. Comm’n of N.Y. v. Fed. Power Comm’n, 543 F.2d 757, 776
         (D.C. Cir. 1974) (recognizing that an agency’s authority runs to it as “an entity apart from
         its members, and it is its institutional decision—none other—that bear legal
                                                    -2-
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         line of improper procedural maneuvers that have unjustifiably delayed the establishment
         of this market and delayed the issuance of a merits order by half a year.

               I also explain why the Southeast EEM proposal is just and reasonable and not
         unduly discriminatory or preferential and should have been approved in full by the
         Commission in an order on the merits.

         I.     Southeast EEM Proposal

                  On February 12, 2021, Southern Company, as agent for Alabama Power, on behalf
         of itself and other Members of the Southeast EEM, submitted the Southeast EEM
         Agreement, part of a unified package of proposals to establish a new, voluntary electronic
         trading platform designed to facilitate bilateral trading in the Southeast, provide access to
         unused transmission capacity and increase liquidity and competition.5 The Southeast
         EEM Agreement and related filings, including concurrences thereto6 and related open
         access transmission tariff (OATT) revisions to establish Non-Firm Energy Exchange
         Transmission Service,7 were submitted in twelve related dockets. As the Southeast EEM
         Members explained: “The Southeast EEM filings are a package. Commission action on
         all filings is necessary so that Southern Companies and other Southeast EEM Members
         can have the regulatory certainty they need to move forward with any significant
         additional Southeast EEM financial commitments to bring this enhanced market to
         fruition for the benefit of customers as quickly as possible.”8 The Southeast EEM


         significance.”); see also Pub. Citizen, Inc. v. FERC, 839 F.3d 1165, 1169 (D.C. Cir.
         2016) (“[A]ctions of the Commission shall be determined by a majority vote of the
         members present.” (quoting 42 U.S.C. § 7171(e))).
                5
                See, e.g., Ala. Power, Docket No. ER21-1111-000, February 12, 2021
         Transmittal at 2.
                6
                Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal; LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal; DEC,
         Docket No. ER21-1116-000, February 12, 2021 Transmittal; DEP, Docket No. ER21-
         1117-000, February 12, 2021 Transmittal; Ga. Power, Docket No. ER21-1119-000
         Transmittal; KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal; Miss.
         Power, Docket No. ER21-1121-000 Transmittal.
                7
                 The four OATT dockets are: Ala. Power, Docket No. ER21-1125-000,
         February 12, 2021 Transmittal; Dominion Energy SC, Docket No. ER21-1128-000,
         February 12, 2021 Transmittal; Duke, Docket No. ER21-1115-000, February 12, 2021
         Transmittal; LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal.
                8
                    Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 3;
                                                     -3-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         Agreement requires all Members that are transmission service providers amend their
         tariffs to provide Non-Firm Energy Exchange Transmission Service (NFEETS).9 The
         Members of the Southeast EEM submitted their OATT revisions, in the four dockets
         excluded from the October 13 Notice, because they signed the Southeast EEM
         Agreement.10 As they noted, the “eTariff requirements mandate that each of the
         Southeast EEM Filings have its own docket[.]”11 The Commission’s notices of filing


         Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021 Transmittal at 3;
         Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 3; LG&E, Docket
         No. ER21-1118-000, February 12, 2021 Transmittal at 3. These are the four OATT
         dockets. See Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at
         2 n.5 (“In addition to Southern Companies, Dominion Energy South Carolina, DEC, and
         LG&E are each filing amendments to their transmission tariffs, some of which are joint
         OATTs, to add [Non-Firm Energy Exchange Transmission Service] (“Tariff Filings,”
         together with the Agreement Filing and the Concurrence Filings, the “Southeast EEM
         Filings”).”); see also Ala. Power, Docket No. ER21-1111-000, February 12, 2021
         Transmittal at 3 (defining the Tariff Filings, Concurrence Filings and the Agreement
         Filings as the Southeast EEM Filings).
                9
                  See Southeast EEM Agreement, § 3.2.1 (“To be a Member of the Southeast
         EEM, an entity must be: (i) a Load Serving Entity located in the Territory; (ii) an
         association, Cooperative or Governmental Utility that is a Load Serving Entity located in
         the Territory; or (iii) an association, Cooperative or Governmental Utility created for the
         purpose of providing service that includes Energy to a Cooperative or governmental Load
         Serving Entity (or the Load Serving Entities being served by an association, Cooperative
         or Governmental Utility) located in the Territory. The Tariff of any Member who provides
         transmission service must contain Non-Firm Energy Exchange Transmission Service
         provisions for those Energy Exchanges that seek to utilize such Member’s transmission
         system.”) (emphasis added); see also id. § 3.1 (“Each Member shall comply with all
         applicable rules, policies, guidelines, or other standards or requirements set forth in this
         Agreement and as may otherwise be required by the Membership Board or applicable
         Law.”).
                10
                 Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 2;
         Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021 Transmittal at 2;
         Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 2; LG&E, Docket
         No. ER21-1118-000, February 12, 2021 Transmittal at 2.
                11
                   See, e.g., Ala. Power, Docket No. ER21-1111-000, February 12, 2021
         Transmittal at 3 (“eTariff requirements mandate that each of the Southeast EEM Filings
         have its own docket”); Ala. Power, Docket No. ER21-1125-000, February 12, 2021
         Transmittal at 2 (“eTariff requirements mandate that each of the Southeast EEM Filings
                                                    -4-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         properly designated all twelve filings as FPA section 205(d) rate filings in accordance
         with FPA section 205(d) and the related filing codes that were used.12 They used the
         effective date of 12/31/999813 as required.14 The Southeast EEM proposal was submitted

         have its own docket”).
                12
                   Filing Code 10 was used for the February 12, 2021 filings, and Filing Code 180
         was used for the deficiency responses. The eTariff Rules Table (as published on
         April 20, 2018) denotes filings under these codes as having a 60-day statutory deadline
         with a date range of April 2010 to an inactive date of 12/31/9998. ETariff Filing Rules
         Listing (Apr. 20, 2018), available at https://www.ferc.gov/sites/default/files/2020-
         05/Type%20of%20Filing%20Rules%20Table.pdf. The Commission routinely accepts
         filings with a filing party’s commitment to submit an informational filing once the
         commencement of service date is known.
                13
                   Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 3,
         11-12, 12 n.36, 14 (requesting acceptance of the proposed OATT changes on May 13,
         2021 to be effective as of commencement of service and using 12/31/9998 in accordance
         with the implementation guide); Dominion Energy SC, Docket No. ER21-1128-000
         February 12, 2021 Transmittal at 3, 11-12, 11 n.36, 14; Duke, Docket No. ER21-1115-
         000, February 12, 2021 Transmittal at 3, 12-13, 12 n.39, 15; LG&E, Docket No. ER21-
         1118-000, February 12, 2021 Transmittal at 3, 12-13, 12 n.38, 15.
                14
                   Implementation Guide for Electronic Filing of Parts 35, 154, 284, 300, and 341
         Tariff Filings at 10 (last updated on Nov. 14, 2016), available at https://www.ferc.
         gov/sites/default/files/2020-05/implementation-guide.pdf (“If the effective date is not
         known at the time of the filing, such as the effective date is contingent on FERC
         approval, the closing of a plant sale, etc., the date of 12/31/9998 must be used.”)
         (emphasis added). See N. Y. Indep. Sys. Operator, Inc., Docket No. ER21-892-000
         (Mar. 10, 2021) (delegated letter order) (accepting tariff revisions 54 days after filing on
         January 15, 2021; requesting acceptance within the 60-day statutory period, a waiver of
         the Commission’s 120 days prior notice requirement, and a flexible effective date with
         tariff sheets filed as effective 12/31/9998); see also Cal. Indep. Sys. Operator Corp., 175
         FERC ¶ 61,160 (2021) (accepting tariff revisions 60 days after filing on March 26, 2021,
         which requested the Commission issue an order by May 25, 2021 and included an
         effective date of 12/31/9998 as part of the tariff records; accepting the proposed tariff
         revisions to be effective no later than June 15, 2021 as requested); Tri-State Generation
         & Transmission Ass’n, Inc., 171 FERC ¶ 61,202 (2020) (accepting protested rate filing
         60 days after it was filed with 12/31/9998 for its eTariff effective date); Gulf Power Co.,
         Docket No. ER21-240-000 (Dec. 17, 2020) (delegated letter order) (accepting the Service
         Agreement for Network Integration Transmission Service under Gulf Power’s OATT 49
         days after filing on October 29, 2020 requesting an effective date of 12/31/9998).

                                                     -5-
Document Accession #: 20211020-4005                 Filed Date: 10/20/2021




         by the filing parties on February 12, 2021, with a requested acceptance date 90 days after
         filing, or May 13, 2021, to allow 30 days for comments and 60 days for Commission
         action.15

         II.    Procedural Issues

                A.       Deficiency Letters

                 Rather than issue an order on the merits, Commission staff embarked upon a series
         of procedural maneuvers that significantly delayed approval of the Southeast EEM
         proposal. These began with the issuance of a first (and arguably justifiable) deficiency
         letter.16 The original last day for Commission action (LDA)17 was May 12, 2021. The
         First Deficiency Letter was issued on May 4, 2021, just over a week in advance of the
         deadline.18 The filing parties’ response to the First Deficiency Letter was filed on June 7,
         2021.19 That submission reset 60-day statutory clock to August 6, 2021. In their first
         deficiency letter response, the filing parties requested “that the Commission accept the
                15
                   See, e.g., Ala. Power, Docket No. ER21-1111-000, February 12, 2021
         Transmittal at 3-4 (“The Southeast EEM Members respectfully request that the
         Commission accept the Southeast EEM Agreement to become effective May 13, 2021, 90
         days after this filing . . . . [W]e respectfully request that the Commission establish a
         comment period of thirty days . . . As noted, the requested effective date, and the
         requested date for Commission action, is in 90 days. Accordingly, a 30-day period for
         comments will still provide the Commission 60 days to act upon the Southeast EEM
         Filings after comments are received.”). See attachment A for similar statements in other
         dockets.
                16
                  The first deficiency letter issued on May 4, 2021 requested information related
         to market power, market manipulation, and market oversight. May 4, 2021 Deficiency
         Letter, Docket Nos. ER21-1111-000, ER21-1112-000, ER21-1114-000, ER21-1115-000,
         ER21-1116-000, ER21-1117-000, ER21-1118-000, ER21-1119-000, ER21-1120-000,
         ER21-1121-000, ER21-1125-000, ER21-1128-000 (delegated order) (First Deficiency
         Letter).
                17
                  The Commission’s LDA is an internal control to identify the last date upon
         which the Commission must act on a filing with a statutory deadline before the filing
         goes into effect by operation of law.
                18
                     See First Deficiency Letter.
                19
                  See Ala. Power, Docket Nos. ER21-1111-001, et al., First Deficiency Response
         (June 7-8, 2021). The deficiency response was filed in certain of the dockets after the 5
         p.m. deadline on June 7, 2021, so it is dated June 8, 2021 in those dockets.

                                                         -6-
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         Southeast EEM Agreement, and the related filings in these unconsolidated dockets . . . to
         become effective on August 6, 2021.”20

                 That deficiency letter was then followed by a second, indisputably frivolous
         deficiency letter which Commission staff issued on August 6, 2021.21 That would have
         again reset the 60-day statutory clock, this time to October 11, 2021, a federal holiday. In
         their second deficiency letter response, the filing parties requested that the “Commission
         accept the Southeast EEM Agreement, and the related filings in these unconsolidated
         dockets . . . to become effective on October 12, 2021.”22

                Altogether, those deficiency letters extended by five months the acceptance by
         operation of law on October 12, 2021 of a filing that was originally submitted on
         February 12, 2021 with a requested acceptance date of May 13, 2021.

                 I am concerned that the Commission staff, who work under the supervision of the
         Chairman, improperly employed deficiency letters issued under delegated authority to
         unlawfully toll the time for Commission action. The First Deficiency Letter requested
         information related to market power, market manipulation and market oversight. I
         concede that this first deficiency letter could be argued to have been a legitimate request
         for more information, though I do not consider any of the information requested or
         received to have been necessary to rule on whether the submission satisfied the
         requirements of FPA section 205. But even if the first deficiency letter were a legitimate
         exercise of staff’s delegated authority, deficiency letters should not be issued lightly
         because they work a circumvention of the FPA’s clear direction that rate proposals go
         into effect (or must be affirmatively accepted or rejected) in 60 days.

                The Second Deficiency Letter is another matter entirely. It failed to identify any
         deficiency or solicit any information that any Commissioner could have required to
         determine whether the proposal before us is just and reasonable. As detailed below,

                20
                     First Deficiency Response at 43 (emphasis added).
                21
                   The second deficiency letter, issued on August 6, 2021, requested information
         related to Standards of Conduct and affiliate restrictions, access to redacted and
         confidential information, the Administrator, including information already in the record.
         August 6, 2021 Deficiency Letter, Docket Nos. ER21-1111-001, ER21-1112-001, ER21-
         1114-001, ER21-1115-000, ER21-1115-001, ER21-1116-001, ER21-1117-001, ER21-
         1118-001, ER21-1119-001, ER21-1120-001, ER21-1121-001, ER21-1125-000, ER21-
         1125-001, ER21-1128-000, ER21-1128-001 (delegated order) (Second Deficiency
         Letter).
                22
                  Ala. Power, Docket Nos. ER21-1111-002, et al., Second Deficiency Response,
         at 9 (Aug. 11, 2021) (emphasis added).

                                                     -7-
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         review of the record demonstrates—beyond dispute—that the Second Deficiency Letter
         requested information that was already in the record. In reply, the filing parties swiftly
         submitted responses to the Second Deficiency Letter’s three questions three business day
         after its issuance, on August 11, 2021, five days earlier than the established due date of
         August 16, 2021. In their response, the filing parties again requested expedited
         Commission action on or before September 10, 2021; no Commission order issued. The
         last LDA was October 11, 2021, roughly five months later than the original requested
         effective date.

                 Requiring filing parties to restate information already in the record can hardly
         constitute the identification of a deficiency in the parties’ filing and if the filing is not
         deficient, then it must be ruled upon within the statutorily-imposed 60-day time limit.
         We know that the requested information was already available to the Commission. For
         two of the three questions in the Second Deficiency Letter, the filing parties’ response
         consisted of little more than citations to their original filing and to their First Deficiency
         Response.23 As to the third question, while the filing parties did not simply cite to their
         earlier submissions (perhaps to avoid the appearance of insolence?), the information
         sought there was also already in the record. The third question asked that the filing
         parties “[p]lease clarify whether the Administrator similarly will not be a Member,
         Participant, Agent, or affiliate of those entities.”24 All25 of this was already known to the
         Commission—it was included in the original February 12, 2021 filing in which the filing
         parties describe the various entities’ roles, stating that the “Southeast EEM
         Administrator” “[w]ill be an independent third party contracted to operate the Southeast
         EEM; will not be a Member, Participant, Agent, or Auditor.”26 Worst of all, the

                23
                   See Second Deficiency Response at 3-7 & nn.4-9 (regarding the response to the
         first question) (citing First Deficiency Response, Attach. A, Proposed Revisions to
         Southeast EEM Agreement, Market Rules, §§ VI.D.6, VI.A, VI.D, 2.5, III; id. at 7-8 &
         n.10 (regarding the response to the second question) (citing First Deficiency Response,
         Attach. A, Proposed Revisions to Southeast EEM Agreement, Participant Agreement, §
         6.0).
                24
                     Second Deficiency Letter at 4 (emphasis added).
                25
                   While the term “affiliate” was not specifically included in the initial filing, the
         words “independent third party” do appear in describing the Administrator. Ala. Power,
         Docket No. ER21-1111-000, February 12, 2021 Transmittal at 18 (reflecting that the
         Southeast EEM Administrator “[w]ill be an independent third party contracted to operate
         the Southeast EEM; will not be a Member, Participant, Agent, or Auditor.”) A deficiency
         letter question on this point was not warranted given the lack of ambiguity in the filing
         parties’ initial submission.
                26
                     Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 18
                                                      -8-
Document Accession #: 20211020-4005             Filed Date: 10/20/2021




         inclusion of this question could not have been an oversight—the Second Deficiency
         Letter actually cited the page at which the filing parties included this information in their
         transmittal letter.27

                To the extent to which there was any deficiency at all in this case, it is entirely the
         Commission’s, in particular, its failure to timely act on a complete and well-pleaded
         section 205 filing. The issuance of deficiency letters is a practice employed for many
         years at the direction of many different Chairmen. I have sparingly directed the issuance
         of deficiency letters myself.28 But the fact that a practice has been employed for years
         does not make it legal and its abuse can never be acceptable. As in the case of the
         Commission’s past practice of granting rehearing for the purposes of further
         consideration (AKA tolling orders) to delay the consideration of section 205 filings, the
         use of deficiency letters as a tolling mechanism violates the Federal Power Act’s clear
         statutory timeline. Given the court’s sharp rebuke in Allegheny Defense Project v. FERC
         (Allegheny), should this new tolling practice ever be challenged, it cannot be expected to
         withstand judicial scrutiny. As the court in Allegheny29 noted, “Commissioner Glick has
         called the process enabled by the Commission’s tolling orders ‘fundamentally
         unfair’ . . . .”30 I agree.




         (emphasis added).
                27
                 Second Deficiency Letter at 4 n.7 (citing Filing Parties February 12 Filing,
         Transmittal at 16-18).
                28
                   See, e.g., PJM Interconnection, L.L.C., Docket No. ER21-278-000, Deficiency
         Letter (2020) (deficiency letter issued on Dec. 22, 2020 regarding an Oct. 30, 2020 filing
         submitted pursuant to section 205 of the FPA noting that, pending receipt of the
         information requested to be provided 30 days from the date of the letter, a filing date will
         to be assigned to the filing).
                29
                     Allegheny, 964 F.3d 1, 9 (D.C. Cir. 2020) (en banc).
                30
                  Id. at 10 (citing Spire STL Pipeline LLC, 169 FERC ¶ 61,134 (2019) (Spire)
         (Glick, Comm’r, dissenting at PP 29-30)); see also Spire, 169 FERC ¶ 61,134 (Glick,
         Comm’r, dissenting at P 33) (criticizing “fundamental[] unfair[ness],” recognizing “good
         government is about more than meeting the absolute minimum of constitutional due
         process,” noting that a “regulatory construct . . . [that] ensures that irreparable harm will
         occur before any party has access to judicial relief . . . ought to keep every member of
         [the] Commission up at night,” and criticizing “bureaucratic indifference that I find hard
         to stomach.”); id. (Glick, Comm’r, dissenting at P 34) (“Alternatively, the Commission
         could have taken ‘the easiest path of all’ by simply . . . not issuing its standard tolling
                                                      -9-
Document Accession #: 20211020-4005               Filed Date: 10/20/2021




                B.       FPA Section 205(g) Notice

                 And now, the latest procedural maneuver: the October 13, 2021 Secretary’s
         Notice. This notice, issued again by staff under the Chairman’s supervision, implies that,
         following Commission inaction by the statutory deadline of October 11, 2021, only eight
         of the twelve related dockets had been accepted by operation of law. The notice simply
         fails to mention four additional dockets, each of which relate to the tariff changes
         necessary for the individual utilities to implement the accepted Southeast EEM proposal
         and provide NFEETs.

                Because the Commission did not issue an order accepting or denying the
         Southeast EEM proposal, under FPA section 205(g)(1)(A), such inaction is “considered
         to be an order issued by the Commission accepting the change for purposes of section
         825l(a).”31 The notice is not an order, and has no legal effect on whether a filing has
         been accepted by operation of law. Individual Commissioner’s statements are no more
         than opinions and do not have the force of law. Statements are not institutional decisions
         and do not reflect a majority vote. The Commission only speaks through its orders.32
         Because the entire filing constitutes an integrated package, all twelve dockets went into
         effect by operation of law. The Commission’s notice is deficient, unlawful, and of no
         effect because it is the Commission’s inaction that triggers parties’ rights under the FPA,
         not the notice. Since the entire set of twelve dockets has now gone into effect, the filing
         parties are free to immediately begin implementation of the Southeast EEM proposal.

                Chairman Glick acknowledges that “[s]tatutory filings are filings made pursuant to
         section 205 of the FPA.”33 Chairman Glick claims that these rate proposals should not be
         treated like a normal FPA section 205 rate change34 because the filing parties used an


         order.”) (citation omitted).
                31
                     16 U.S.C. § 824d(g)(1)(A).
                32
                  See, e.g., Pub. Serv. Comm’n of N.Y. v. Fed. Power Comm’n, 543 F.2d at 776;
         see also Pub. Citizen, Inc. v. FERC, 839 F.3d at 1169.
                33
                  Glick Statement at P 17 n.20 (“Statutory filings are filings made pursuant to
         section 205 of the FPA, section 4 of the Natural Gas Act, and section 6 of the Interstate
         Commerce Act.”).
                34
                   Glick Statement at P 18 (“Here, four of the relevant 12 filings incorporated
         open-ended proposed effective dates. As a result, these four filings did not become
         effective on October 12, 2021, when the Commission failed to act within 61 days of the
         filing date.”).

                                                      - 10 -
Document Accession #: 20211020-4005             Filed Date: 10/20/2021




         effective date of 12/31/999835 and thus are excluded from the FPA 60-day clock. The
         effect of this exclusion, if it were lawful, would be to block the tariff revisions required to
         effectuate the Southeast EEM proposal and thus to prevent the now-accepted proposal
         from going into effect.

                 The argument goes as follows: the four dockets at issue, all of which update
         individual utilities’ tariffs in order to establish provisions effectuating the Southeast EEM
         proposal, were not, in fact, FPA section 205 filings because a Commission staff
         Implementation Guide required them to use the 12/31/9998 effective date. The staff
         Implementation Guide provides that “[i]f the effective date is not known at the time of
         the filing, such as the effective date is contingent on FERC approval, the closing of a
         plant sale, etc., the date of 12/31/9998 must be used.”36 Therefore, the filing parties do
         not enjoy the benefit of the 60-day time limit for Commission action. This, despite the
         fact that the filing parties have repeatedly stated that every one of the unconsolidated
         dockets are part of a single, unified filing and despite the fact that, upon inspection, it is
         evident that the tariff revisions contemplated in the four excluded dockets are necessary
         for the Southeast EEM proposal to function. The reason? Because the filing parties
         entered an effective date of 12/31/9998 on eTariff and despite the fact that this is the
         exact entry that the Commission staff Implementation Guide required them to use.37



                35
                   Cf. Glick Statement at P 18 (“[F]our of the relevant 12 filings incorporated
         open-ended proposed effective dates.”); Glick Statement at P 18 n.22 (“[T]he open-ended
         proposed effective date for their OATT filings [was] chosen by the filing parties at their
         discretion”); id. (“The applicants therefore followed the Commission’s eTariff rules
         exactly as expected, given their own request that the OATT revisions take effect at an
         unknown point after, not coincident with, the Southeast EEM Agreement.”). While it is
         correct to say the filing parties asked for a future effective date for the OATT filings,
         their transmittal letters clearly evidenced a requested acceptance date of their filings
         within the statutory 60-day period in both deficiency letter responses.
                36
                  Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 12
         n.36 (quoting Implementation Guide for Electronic Filing of Parts 35, 154, 284, 300, and
         341 Tariff Filings at 10 (last updated on Nov. 14, 2016) (emphasis added).
                37
                  Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 12
         n.36 (“See Implementation Guide for Electronic Filing of Parts 35, 154, 284, 300, and
         341 Tariff Filings at p. 10 (last updated on Nov. 14, 2016) (‘If the effective date is not
         known at the time of the filing, such as the effective date is contingent on FERC
         approval, the closing of a plant sale, etc., the date of 12/31/9998 must be used.’).”)
         (emphasis added).

                                                     - 11 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




               This cannot be correct. No precedent is, or to my knowledge can be, cited in
         support of this theory and that which38 is cited is inapposite.39 Regardless, the FPA
         governs, not a staff Implementation Guide. The FPA requires the Commission to act

                38
                   “In order for the Commission and the public to obtain a complete picture of a
         company’s tariff, these various provisions need to be integrated into a single system that
         will provide information as to the status of tariff provisions, permit the assembly of a
         complete tariff, and permit tariff related research. Indeed, for tariffs filed on paper, the
         Commission has managed these tariffs as a database by keeping tariff books . . . . The
         standards we are adopting in this Final Rule merely replace this paper system with a very
         similar electronic database that will similarly track the tariff submissions and tariff
         history, but in a form that will make tariff information more widely available over the
         Internet.” Electronic Tariff Filings, Order No. 714, 124 FERC ¶ 61,270, at P 10 (2008),
         clarified, Order No. 714-A, 147 FERC ¶ 61,115 (2014).

                 Step-by-step instructions explain how one must download and populate the .xml
         file with the tariff record and use the eTariff Filing Codes for inclusion of metadata.
         Then one must zip the .xml file but not the documents. One submits the .xml file to the
         FERC Sandbox Electronic Test Site in order to correct any errors received before
         resubmitting it to the sandbox and “[c]ontinue correcting any errors and resubmitting
         until no errors are reported.” Fed. Energy Regul. Comm’n, Electric and MBR Step-by-
         Step Filing, https://www.ferc.gov/industries-data/electric/overview/electric-market-
         based-rates/initial-applications/step-step-guide-filing-your-application-etariff-system (last
         updated Nov. 19, 2020). Then, one logs into FERC Online to submit the eFiling
         including the zip file that contains the .xml file. Two emails are sent by FERC verifying
         receipt of the filing. If errors are identified then one must amend the .xml file and
         resubmit it. If one receives warnings, this signals the filing was received but one must
         double-check that the correct information was submitted as warnings may indicate that
         what was submitted is different than what FERC normally receives. See id.
                39
                    Glick Statement at P 17 & nn.18-19. The cited regulations, 18 C.F.R. §§
         35.7(d) and 385.205(b), and cited orders, Designation of Electric Rate Schedule Sheets,
         Order No. 614, FERC Stats. & Regs. ¶ 31,096, at 31,504 (2000) (cross-referenced at 90
         FERC ¶ 61,352); Electronic Tariff Filings, Order No. 714, 124 FERC ¶ 61,270 (2008),
         clarified, Order No. 714-A, 147 FERC ¶ 61,115, at P 4 (2014); and, Pioneer
         Transmission, LLC, 169 FERC ¶ 61,265, at P 20 (2019). Neither the eTariff program nor
         a staff Implementation Guide can trump the FPA; to do so is unlawful. The cited case
         Ala. Power Co. v. FERC, 22 F.3d 270, 272-73 (11th Cir. 1994) is inapposite as the sole
         issue on appeal was whether the FERC may properly decide that when several utilities
         jointly file their respective rates in a single contract, the 60-day review period begins only
         when the filing is complete for every utility. Here, the filings were individually
         submitted and complete within the last 60-day statutory period.

                                                     - 12 -
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         within 60 days. We did not, for reasons I have already highlighted. The staff
         Implementation Guide, on the other hand, is nothing more than staff’s ministerial effort
         to provide “guidance” (that is why it is called a “Guide”) when rate proponents have an
         unknown future effective date. The 12/31/9998 date imposed (but really “guided”) by the
         Commission via a staff Implementation Guide in such cases obviously is a placeholder
         date and does not reflect the parties’ actual intended effective date. A good faith reading
         of neither the Implementation Guide nor the FPA would seriously contemplate
         empowering the Commission to provide itself up to 7,977 years to act on such a filing.40
         And such a reading of the FPA lacks majority support in any event.

                Apart from having no basis in law, this approach gives no effect to filing parties’
         repeatedly expressed, unambiguous intent for Commission acceptance within the
         statutory period.41 And to the extent to which any proposed solution relies upon a further
         submission and yet another 60 days to elapse before those filings must be accepted, that
         would deny the filing parties the very regulatory certainty they require to begin
         implementation. Refiling is unnecessary under the FPA, and—given the history of delay



                40
                  Under Chairman Glick’s logic, the only way the rate proposal at issue in these
         four dockets could go into effect by operation of law today would be if the Filing Parties’
         Neolithic ancestors had filed it circa 6,000 B.C.
                41
                  Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 3-4,
         12-13, 42, 44; Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal at 2 & n.6, 6-7, 8; LG&E, Docket No. ER21-1114-000, February 12, 2021
         Transmittal at 2 & n.6; 6-7, 8; KU, Docket No. ER21-1120-000, February 12, 2021
         Transmittal at 2 & n.6, 6-7; DEC, Docket No. ER21-1116-000, February 12, 2021
         Transmittal at 2 & n.6, 6-7,8; DEP, Docket No. ER21-1117-000, February 12, 2021
         Transmittal at 2 & n.6, 6-7, 8; Ga. Power, Docket No. ER21-1119-000, February 12,
         2021 Transmittal at 3; Miss. Power, Docket No. ER21-1121-000, February 12, 2021
         Transmittal at 3.

                “The Southeast EEM filings are a package.” Ala. Power, Docket No. ER21-
         1125-000, February 12, 2021 Transmittal at 3; see also Dominion Energy SC, Docket No.
         ER21-1128-000, February 12, 2021 Transmittal at 3 (same); Duke, Docket No. ER21-
         1115-000, February 12, 2021 Transmittal at 3 (same); LG&E, Docket No. ER21-1118-
         000, February 12, 2021 Transmittal at 3 (same). Ala. Power, Docket No. ER21-1125-
         000, February 12, 2021 Transmittal at 2 n.5, 3, 12, 14; Dominion Energy SC, Docket No.
         ER21-1128-000, February 12, 2021 Transmittal at 2-3, 12, 14; Duke, Docket No. ER21-
         1115-000, February 12, 2021 Transmittal at 2-3, 2 n.7, 13, 15; LG&E, Docket No. ER21-
         1118-000, February 12, 2021 Transmittal at 2-3, 2 n.5, 13, 15.

                                                    - 13 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         in this proceeding—would be difficult to view as anything but a further cynical attempt to
         stall the establishment of the Southeast EEM.

                All of which is to say, the entire filing package, including every associated docket,
         has been accepted. And, since the original version of the proposal that was filed with the
         Commission has not been superseded, the Mobile-Sierra public interest standard of
         review applies to the entire agreement, as requested in the initial submission.42 Due to
         the Commission’s failure to issue an order, no compliance filing is triggered as a result of
         the October 13, 2021 Notice. Rehearing rights as to the original filing are now perfected,
         paving the way for judicial review under FPA section 205(g).

         III.   Substantive Matters

               As to the merits of the case, I would have voted to approve the Southeast EEM
         proposal in full.

                 We must first understand what the Southeast EEM proposal is and what it is not.
         The filing parties clearly state that, “the Southeast EEM is not—and was never intended
         to be—a top-to-bottom reimagining of the Southeast energy market; rather, it reflects
         incremental improvement to the existing bilateral market.”43 This market does not offer
         joint dispatch, joint operation, or joint planning. And it is not an energy imbalance
         market.

                While some may have preferred that the utilities in the Southeast create a regional
         independent system operator (ISO) or regional transmission organization (RTO), that is
         not the filing the parties submitted. My colleagues detail a litany of objections44 to the

                42
                  Second Deficiency Response at 9 (“If the Commission finds these proposed
         changes acceptable and otherwise accepts the Southeast EEM Proposal as submitted, the
         Southeast EEM Members commit to subsequently submit a compliance filing to
         effectuate the proposed revisions within 30 days of acceptance.”).
                43
                     Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 9.
                44
                  Examples of these include: membership (Clements Statement at PP 3, 8 & n.8,
         Section III); governance (Clements Statement at PP 3, 7, 33-41); oversight and preference
         for independent market monitor to address market power and manipulation (Clements
         Statement at PP 3, 8 & n.8, 33, 42-51; Glick Statement at PP 3, 13, 14); “‘black box’
         algorithm” (Clements Statement at P 5); participation and access requirements (Clements
         Statement at PP 5, 8 & n.8, 9, 11-12, 16, 17, 19, 21, 40, 48); transparency (Clements
         Statement at PP 8, 9, 21, 33, 50); undue discrimination (Clements Statement at P 7). Cf.
         Glick Statement at P 3 (“I believe that the Commission’s monitoring capabilities,
         enforcement authority, and ability to institute an FPA section 206 action provide
         adequate protections should any Southeast EEM members or participants engage in any
                                                    - 14 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         Southeast EEM proposal that, I presume, stem from just such a preference45 since the
         establishment of an ISO or RTO would bring with it open access throughout the




         conduct that may transgress the FPA or Commission regulations.”).
                45
                    Glick Statement at P 1 (“I believe . . . [RTOs and ISOs] are, by far, the best way
         to achieve these benefits [i.e., save customers money, enhance reliability, and integrate
         intermittent resources most efficiently.]. That is also true for the Southeastern United
         States. From my perspective, utilities and other stakeholders in this region should be
         working to establish an RTO/ISO in the Southeast for the benefit of consumers and to
         promote grid reliability. But that is not the proposal presented to us in this docket.”); id.
         (“in my opinion there clearly is” a “better option for the region”); id. at P 8 (“A
         centralized and competitive wholesale market in the Southeast, or at least something
         closer to that model, is a step in the right direction.”); id. at P 12 (“the best available
         option . . . in my view is to establish an RTO”); Clements Statement at P 2 (the proposal
         “fails to abide by the bedrock principles of open access and non-discrimination that were
         crystallized in the Commission’s landmark Order No. 888”); Clements Statement,
         Section II, at PP 15-25 (“Access to the Southeast EEM is not open, violating Order No.
         888”); Clements Statement, Section III.A, at PP 28-32 (“The proposal’s membership
         restrictions violate Order No. 888); Clements Statement, Section III.B, at PP 33-41 (the
         membership provisions unduly discriminate by creating two unequal classes of market
         participants (Members and Non-Members) that create an impermissible barrier to
         transmission access and violate ‘the legal and policy cornerstone’ of Order No. 888).

                                                    - 15 -
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         Southeast in accordance with Order Nos. 888,46 71947 or 2000.48 But that decision is not
         ours to make.49 That choice is reserved wholly to the States and their utilities.50

                All we need decide here is whether the proposal meets the requirements of FPA
         section 205. Whether there might be a better arrangement that could have been
         requested, is absolutely irrelevant to our analysis.51 Arguments that the proposal

                46
                  Promoting Wholesale Competition Through Open Access Non-Discriminatory
         Transmission Services by Public Utilities; Recovery of Stranded Costs by Public Utilities
         and Transmitting Utilities, Order No. 888, FERC Stats. & Regs. ¶ 31,036, at 31,738
         (1996) (cross-referenced at 75 FERC ¶ 61,080), order on reh’g, Order No. 888-A, FERC
         Stats. & Regs. ¶ 31,048 (cross-referenced at 78 FERC ¶ 61,220), order on reh’g, Order
         No. 888-B, 81 FERC ¶ 61,248 (1997), order on reh’g, Order No. 888-C, 82 FERC ¶
         61,046 (1998), aff’d in relevant part sub nom. Transmission Access Pol’y Study Grp. v.
         FERC, 225 F.3d 667 (D.C. Cir. 2000), aff’d sub nom. New York v. FERC, 535 U.S. 1
         (2002).
                47
                  Wholesale Competition in Regions with Organized Electric Markets, Order No.
         719, 125 FERC ¶ 61,071 (2008), order on reh’g, Order No. 719-A, 128 FERC ¶ 61,059
         (2009), order on reh’g, Order No. 719-B, 129 FERC ¶ 61,252 (2009).
                48
                  Regional Transmission Organizations, Order No. 2000, FERC Stats. & Regs. ¶
         31,089 (1999) (cross-referenced at 89 FERC ¶ 61,285), order on reh’g, Order No. 2000-
         A, FERC Stats. & Regs. ¶ 31,092 (2000) (cross-referenced at 90 FERC ¶ 61,201), aff’d
         sub nom. Pub. Util. Dist. No. 1 of Snohomish Cty. v. FERC, 272 F.3d 607 (D.C. Cir.
         2001)).
                49
                   N.C. Waste Awareness & Reduction Network, Inc. v. Duke Energy Carolinas,
         LLC, 151 FERC ¶ 61,079, at P 64 (2015) (noting that “[t]he Commission’s longstanding
         policy is that RTO participation is voluntary”) (citations omitted)).
                50
                  See Order No. 2000, FERC Stats. & Regs. at 31,213 (“[M]ost states must
         approve a utility joining an RTO, and several states have required their utilities to turn
         over their transmission facilities to an independent transmission operator. Also, states
         must approve the siting of transmission facilities that are called for in an RTO expansion
         plan.”).
                51
                   Neb. Pub. Power Dist. v. FERC, 957 F.3d 932, 943 (8th Cir. 2020) (recognizing
         that the Commission “restricts itself to evaluating the confined proposal” and therefore
         “need only find the proposed rates to be just and reasonable.” (citations omitted)
         (emphasis in original)); Advanced Energy Mgmt. All. v. FERC, 860 F.3d 656, 662 (D.C.
         Cir. 2017) (stating “[w]hen acting on a public utility’s rate filing under section 205, the
         Commission undertakes ‘an essentially passive and reactive role’ and restricts itself to
                                                   - 16 -
Document Accession #: 20211020-4005               Filed Date: 10/20/2021




         establishes a multilateral construct in violation of the principles of Order No. 888 fail to
         persuade—this proposal, by its own terms, purports to be no more than an enhancement
         to an existing bilateral regime which is obviously permissible under the FPA.52 While
         recognizing that market-based rate authorities and safeguards are already in place for the
         existing bilateral market,53 my colleague argues that these are insufficient given the new
         market structure and footprint and argues a need for “quantitative analysis” about the
         ability “to exercise market power or manipulate the market” and for “safeguards to
         protect against these abuses.”54 I disagree. The filing parties have amply demonstrated
         how existing and new, additional mechanisms will guard against such concerns,
         including the establishment of an Administrator and Auditor.

                While occupied with cataloguing deficiencies, real or perceived, in the Southeast
         EEM proposal, we should not lose sight of the fact that Non-Firm Energy Exchange
         Transmission Service is available only if the existing transmission system is not fully
         employed. Entities may continue to use the existing transmission system in accordance
         with the Commission-approved OATTs in place today and may continue to engage in
         bilateral transactions under Commission-approved market-based tariffs that already


         evaluating the confined proposal.” (quoting City of Winnfield v. FERC, 774 F.2d 871,
         875-76 (D.C. Cir. 1984)); Cities of Bethany v. FERC, 727 F.2d 1131, 1136 (D.C. Cir.
         1984) (finding that the Commission did not adopt an incorrect legal standard when it did
         not determine “whether [one] method is more appropriate than a [another] method, but
         rather whether the [proposed] method is reasonable and adequate.”).
                52
                   The Commission has described the electric power market in the Southeast as
         follows: “The Southeast electricity market is a bilateral market . . . and virtually all the
         physical sales in the Southeast are done bilaterally.” Fed. Energy Regul. Comm’n,
         Electric Power Markets, https://www.ferc.gov/electric-power-markets (last updated
         July 20, 2021); see also Fed. Energy. Regul. Comm’n, Staff Report, Energy Primer: A
         Handbook of Energy Market Basics 61 (April 2020), https://www.ferc.gov/sites/default
         /files/2020-06/energy-primer-2020.pdf (explaining that in traditional wholesale electricity
         markets, which “exist primarily in the Southeast[,] . . . . [u]tilities . . . are frequently
         vertically integrated . . . [and] [w]holesale physical power trading typically occurs
         through bilateral transactions.”). Bilateral market wholesale sales of electric energy in
         interstate commerce and the transmission of electric energy in interstate commerce are
         subject to the Commission’s FPA section 205 authority. 16 U.S.C. §§ 824(a), 824d; Ala.
         Power Co. Docket No. ER17-514-001 (May 17, 2017) (delegated letter order) (accepting
         Southern Companies’ revised market-based rate tariff).
                53
                     Clements Statement at P 6.
                54
                     See, e.g., id.

                                                      - 17 -
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         impose market power mitigation restrictions. These same OATTs, as revised to provide
         the Non-Firm Energy Exchange Transmission Service, and the utilities’ market-based
         rate tariffs, will effectuate the Non-Firm Energy Exchange Transmission Service
         transactions only when there is unused transmission capacity.

                 While some of the opposition may stem from the preference to see RTOs and open
         access established as widely as possible, one of my colleagues voted against the proposal
         because he disagrees with the application of the Mobile-Sierra standard to protect the
         Southeast EEM agreements. That is an insufficient basis upon which to cast a vote to
         reject. The Commission’s recent precedent restricting Mobile-Sierra protections to only
         those contracts that bear particular hallmarks is in error. It violates the principles
         animating the Mobile-Sierra doctrine and deviates from the plain terms of the judicial
         precedent establishing and reinforcing it.

                 While recognizing that “much of the Southeast EEM proposal arguably satisfies
         the Section 205 standard”55 Chairman Glick stated that he “voted no in large part because
         the filing parties’ proposal to apply the Mobile-Sierra public interest presumption to the
         Southeast EEM Agreement violates well-established Commission precedent.”56 In fact,
         Chairman Glick objects not only to the application of the presumption to the entire
         agreement, which was what the originally-filed proposal called for, but he objects even to
         the presumption’s application to the smaller subset of enumerated provisions to which the
         filing parties conditionally agreed in their response to the First Deficiency Letter.57 In
         addition to stating that application of the Mobile-Sierra presumption would cause




               55
                    Glick Statement at P 2.
               56
                    Id.
               57
                   First Deficiency Response at 43. Chairman Glick’s claim that the filing parties
         conceded that certain provisions of their agreement did not qualify for the Mobile-Sierra
         presumption is inaccurate. Glick Statement at 10. The parties did not concede that they
         could not have Mobile-Sierra protection for the entire agreement. They agreed under the
         duress attendant to the delay caused by the first deficiency letter to reduce the scope of
         the Mobile-Sierra protection if the Commission were to accept the rest of the proposal in
         full. They agreed to do so after the Commission accepted the proposal. Because the
         Commission has discretion to apply Mobile-Sierra protection, the filing parties could not
         have conceded the entire agreement was ineligible for Mobile-Sierra protection in any
         event. See New Eng. Power Generators Ass’n, Inc. v. FERC, 707 F.3d 364, 370-71 (D.C.
         Cir. 2013) (holding Commission has considerable discretion to apply Mobile-Sierra to
         non-contract rates).

                                                   - 18 -
Document Accession #: 20211020-4005             Filed Date: 10/20/2021




         “considerable risk to the public,”58 he states that “the Mobile-Sierra presumption applies
         to a contract ‘only if the contract has certain characteristics that justify the
         presumption.’”59 He explains that it does not apply to generally applicable contractual
         provisions that bind any potential future signatories and no extraordinary or compelling
         circumstances apply that warrant application of Mobile-Sierra as a matter of agency
         discretion.60 I freely acknowledge that Chairman Glick has the weight of Commission
         precedent on his side. But the Commission’s excursion outside the bounds of Mobile-
         Sierra has yet to be addressed squarely by the courts and is based upon an incorrect
         reading of the case law.

                 The Commission has repeatedly held that the presumption of Mobile-Sierra
         protection applies only to those contracts that have certain characteristics. The
         Commission’s belief flows from the Supreme Court’s statement in Morgan Stanley,61 and
         quoted in NRG,62 that “[u]nder the Mobile-Sierra doctrine, the Federal Energy
         Regulatory Commission (FERC or Commission) must presume that the rate set out in a
         freely negotiated wholesale-energy contract meets the ‘just and reasonable’ requirement
         imposed by law.”63 The Court further held that “[t]he presumption may be overcome
         only if FERC concludes that the contract seriously harms the public interest.”64




                58
                     Glick Statement at 11; see also Clements Statement at P 7.
                59
                  Glick Statement at P 9 & n.4 (citing PJM Interconnection, L.L.C., 142 FERC ¶
         61,214, at P 182 (2013)).
                60
                     Glick Statement at PP 10-11.
                61
                  Morgan Stanley Capital Grp. Inc. v. Pub. Util. Dist. No. 1 of Snohomish Cty.,
         554 U.S. 527 (2008) (Morgan Stanley).
                62
                     NRG Power Mktg., LLC v. Me. Pub. Util. Comm’n, 558 U.S. 165, 167 (2010)
         (NRG).
                63
                 Morgan Stanley, 554 U.S. at 530 (emphasis added); accord NRG, 558 U.S. at
         167 (quoting, in part, Morgan Stanley, 554 U.S. at 530) (emphasis added).
                64
                    Morgan Stanley, 554 U.S. at 530. See PJM Interconnection, L.L.C., 142 FERC
         ¶ 61,214; cf. N.Y. Indep. Sys. Operator, Inc., 175 FERC ¶ 61,038 (2021) (granting
         petition for declaratory order that New York Transmission Owners have a federal right of
         first refusal under New York Independent System Operator, Inc.’s foundational
         agreements and OATT).

                                                     - 19 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




                 I cannot accept the Commission’s apparent reliance on the “freely negotiated”
         language in Morgan Stanley and NRG65 to hold that the presumption applies only to
         contracts with individualized rates, terms, or conditions, and not to contracts with
         standard rates, terms, or conditions entered into by multiple counterparties.66 The
         Commission has placed more weight on this one statement in Morgan Stanley than it can
         reasonably bear and, in inventing this requirement out of whole cloth, it has abandoned
         its obligations under the Mobile-Sierra doctrine.67


                65
                   Glick Statement at P 2 & n.1 (citing NRG, 558 U.S. at 174 (quoting Morgan
         Stanley, 554 U.S. at 530)).
                66
                   In ruling on whether the characteristics necessary to justify a Mobile-
         Sierra presumption are present, the Commission must determine whether the agreement
         at issue embodies either (1) individualized rates, terms, or conditions that apply only to
         sophisticated parties who negotiated them freely at arm’s length; or (2) rates, terms, or
         conditions that are generally applicable or that arose in circumstances that do not provide
         the assurance of justness and reasonableness associated with arm’s-length negotiations.
         Unlike the latter, the former constitute contract rates, terms, or conditions that necessarily
         qualify for a Mobile-Sierra presumption. See ISO New Eng. Inc., 150 FERC ¶ 61,209, at
         P 183 (2015) (declining to apply the Mobile-Sierra presumption but recognizing that the
         D.C. Circuit “has determined that the Commission is legally authorized to impose a more
         rigorous application of the statutory ‘just and reasonable’ standard of review on future
         changes to agreements that do not present contract rates.”); Sw. Power Pool, Inc., 149
         FERC ¶ 61,048, at P 94 (2014) (same); PJM Interconnection, L.L.C., 142 FERC ¶ 61,214
         at P 185 (permitting the Consolidated Transmission Owner Agreement to be subject to
         differing standards of review because it could not “be classified in its entirety as
         containing contract rates or tariff rates” and noting that the differing standards would
         “recognize the distinctions among its provisions.”); cf N.Y. Indep. Sys. Operator, Inc.,
         162 FERC ¶ 61,107, at PP 143-145 (2018) (approving public interest standard provisions
         in Non-Incumbent Transmission Owner Agreement in NYISO tariff to conform to
         NYISO-Transmission Owner Agreement); ISO New Eng. Inc. v. New Eng. Power Pool,
         106 FERC ¶ 61,280, at PP 126-131, reh’g granted in part, denied in part, 109 FERC ¶
         61,147, at P 84 (2004) (“We agree that the issues addressed by [section 9.01
         (indemnification requirements) and section 9.06 (assumption of liability)] affect primarily
         the rights and interests of the Filing Parties alone. Accordingly, we will accept the Filing
         Parties’ proposed Mobile-Sierra provision as it relates to these provisions.”).
                67
                   The D.C. Circuit described the Commission’s approach in Okla. Gas & Elec.
         Co. v. FERC, 827 F.3d 75, 78-80 (D.C. Cir. 2016). However, although the court went on
         to uphold the Commission’s determination that the Mobile-Sierra presumption does not
         apply to the right of first refusal provision in the Southwest Power Pool Membership
         Agreement, the court did not rule on the Commission’s approach. Instead, the court’s
                                                     - 20 -
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




                 It is worth taking a moment to explain why the case law does not reasonably allow
         the liberties the Commission has taken. In Morgan Stanley, the Court reversed the Ninth
         Circuit’s holding that the Mobile-Sierra presumption does not apply to market-based rate
         contracts not initially approved by the Commission. In so doing, the Court explained the
         important public policy benefits of this doctrine:

                The Ninth Circuit’s standard would give short shrift to the important role of
                contracts in the FPA, as reflected in our decision in Sierra, and would
                threaten to inject more volatility into the electricity market by undermining
                a key source of stability. The FPA recognizes that contract stability
                ultimately benefits consumers, even if short-term rates for a subset of the
                public might be high by historical standards—which is why it permits rates
                to be set by contract and not just by tariff. As the Commission has recently
                put it, its “first and foremost duty is to protect consumers from unjust and
                unreasonable rates; however, . . . uncertainties regarding rate stability and
                contract sanctity can have a chilling effect on investments and a seller’s
                willingness to enter into long-term contracts and this, in turn, can harm
                customers in the long run.”68

         Similarly, in NRG, the Court referenced “the essential role of contracts as a key factor
         fostering stability in the electricity market, to the long-run benefit of consumers.”69

                These benefits are conferred by all contracts, and I see no justification for
         depriving the parties of Mobile-Sierra here. In addition, fixation upon the phrase “freely
         negotiated” is unwarranted. Every contract entered into freely is, to one degree or
         another, negotiated. This is true even if the negotiation amounts to no more than an offer
         and a rejection, implicit or explicit. This Commission-created doctrine simply has no
         support in the case law. We cannot subject the Southeast EEM Agreement to scrutiny on
         matters not contemplated by the holdings that established the Supreme Court’s Mobile-
         Sierra doctrine, and thereby defeat the very purpose of the doctrine: to ensure that—



         ruling was based on its conclusion that “FERC did not err in determining that the doctrine
         does not extend to anti-competitive measures that were not arrived at through arms-length
         bargaining.” Id. at 79.
                68
                  Morgan Stanley, 554 U.S. at 551 (quoting Market–Based Rates for Wholesale
         Sales of Electric Energy, Capacity and Ancillary Services by Public Utilities, Order No.
         697, 72 Fed. Reg. 39,904, 119 FERC ¶ 61,295, at P 6 (2007)) (emphasis added).
                69
                 NRG, 558 U.S. at 174 (citing Morgan Stanley, 554 U.S. at 547-48, 551)
         (emphasis added).

                                                    - 21 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         absent extraordinary circumstances that would justify a public interest finding—contracts
         can be relied upon.

                 My colleague asserts that to support Mobile-Sierra would be to “undermine our
         ability to protect consumers under the Southeast EEM.”70 As I see it, denial of the
         Southeast EEM proposal would be to allow unused transmission capacity go unused,
         thereby denying consumers the “meaningful” benefits of the filing parties’ projection of
         “over $100 million per year in market-wide savings by 2037, assuming higher renewable
         and energy storage penetration, or $40 million per year compared to the current bilateral
         market under a more conservative estimate.”71 And to deny the filing parties the
         protection of the Mobile-Sierra presumption would be to make every aspect of this
         market construct more expensive and less certain. Neither of these results can be said to
         be in the public interest.

                 My colleagues’ objections are not properly within the narrow scope of our analysis
         under FPA section 205.72 There is only one question before us: whether the proposed
         tariff amendments are just and reasonable and not unduly discriminatory or preferential.73
         In reviewing a section 205 filing, the Commission makes a limited determination

               70
                    Glick Statement at P 20.
               71
                    Id. at P 12.
               72
                    In addition, Commissioner Clements contends that “In past similar
         circumstances, the Commission has taken the approach of rejecting initial proposals for
         new market constructs that fail to meet the requirements of section 205, and later
         approving revised proposals when those shortcomings were later addressed.” Clements
         Statement at P 3 n.5 (citing Pub. Serv. Co. of Colo., 151 FERC ¶ 61,248 (2015) (PSCo);
         Sw. Power Pool, Inc., 172 FERC ¶ 61,115 (2020) (SPP)). In PSCo, the filing entity did
         not have and was not seeking market-based rate authority, unlike the circumstances here;
         additionally, the Commission noted that it had accepted other joint dispatch agreements
         with varying payment structures, including those that split the savings equally among
         participants, which is the structure presented in the Southeast EEM filing. PSCo, 151
         FERC ¶ 61,248 at P 99. Unlike in PSCo, access to non-public information will be
         restricted. Id. at P 100. PSCo is inapposite. With respect to SPP, the Commission
         determined the filing was not clear regarding the “use of transmission and the role of the
         reliability coordinator” and provided guidance on “supply adequacy, marginal losses, and
         market power.” SPP, 172 FERC ¶ 61,115 at P 19. Here, it is clear that the purpose of the
         filing is to enhance the existing bilateral mechanism to use unused transmission, and
         existing approvals and safeguards, with enhancements thereto, will apply.
               73
                    16 U.S.C. § 824d.

                                                   - 22 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         “whether the rates proposed by a utility are reasonable—and [the analysis does not]
         extend to determining whether a proposed rate schedule is more or less reasonable than
         alternative rate designs.”74 The Commission has authority to accept, reject, or make only
         “minor deviations” from the filed provisions with the filer’s consent.75 The Commission
         is prohibited from requiring an “entirely different rate design” than the one submitted,
         and it cannot accept “only half of a proposed rate.”76 According to Chairman Glick,
         acceptance of only certain of the filings is not a prohibited modification under NRG, and
         he maintains that by expressly requesting that the Commission not consolidate their
         dockets they “foreclose[ed] the possibility that these filings are part of a single rate for
         purposes of NRG.”77 I disagree.

                 Chairman Glick’s reading of the Southeast EEM filings ignores other statements
         in the filings that the Southeast EEM proposal was a package and that regulatory
         certainty was required to proceed,78 the explanation of the filing parties that mandatory

                74
                   Cities of Bethany, 727 F.2d at 1136 (finding that, when determining whether a
         proposed rate was “just and reasonable,” as required by the FPA, the Commission
         properly did not consider “whether a proposed rate schedule is more or less reasonable
         than the alternative rate designs”).
                75
                  See W. Res., Inc. v. FERC, 9 F.3d 1568, 1579 (D.C. Cir. 1993) (W. Res.); City of
         Winnfield v. FERC, 744 F.2d. 871, 876.
                76
                  NRG Power Mktg., LLC v. FERC, 862 F.3d 108, 115 (D.C. Cir. 2017) (quoting
         W. Res., 9 F.3d at 1578-79).
                77
                     Glick Statement at P 16 & n.16.
                78
                    See, e.g., “The Southeast EEM filings are a package. Commission action on all
         filings is necessary so that Southern Companies and other Southeast EEM Members can
         have the regulatory certainty they need to move forward with any significant additional
         Southeast EEM financial commitments to bring this enhanced market to fruition for the
         benefit of customers as quickly as possible.” Ala. Power, Docket No. ER21-1125-000,
         February 12, 2021 Transmittal at 3; Dominion Energy SC, ER21-1128-000, February 12,
         2021 Transmittal at 3; Duke, ER21-1115-000, February 12, 2021 Transmittal at 3;
         LG&E, ER21-1118-000, February 12, 2021 Transmittal at 3. These are the four OATT
         dockets. See, e.g., Ala. Power, Docket No. ER21-1125-000, February 12, 2021
         Transmittal at 2 n.5 (“In addition to Southern Companies, Dominion Energy South
         Carolina, DEC, and LG&E are each filing amendments to their transmission tariffs, some
         of which are joint OATTs, to add Non-Firm Energy Exchange Transmission Service
         (‘Tariff Filings,’ together with the Agreement Filing and the Concurrence Filings, the
         ‘Southeast EEM Filings’).”); see also, e.g., Ala. Power, Docket No., ER21-1111-000,
         February 12, 2021 Transmittal at 3 (defining the Tariff Filings, Concurrence Filings, and
                                                       - 23 -
Document Accession #: 20211020-4005             Filed Date: 10/20/2021




         eTariff procedures required each of the filings to have its own docket but “the issues in
         the dockets are related . . . [and] use of a single pleading across all dockets will allow all
         concerned to focus on substance,”79 and it ignores the Commission’s own designation of
         the dockets as having been filed under FPA section 205(d).80 It also cannot be squared
         with NRG.

                 This submission is just and reasonable. The Southeast EEM would enhance the
         existing bilateral market by creating an automated, region-wide platform that facilitates
         sub-hourly bilateral transactions using otherwise unused transmission capacity to achieve
         cost savings throughout the region. It facilitates trades and more efficiently uses the
         transmission system in the existing market. It does so in reliance upon Commission
         approvals already granted to the filing parties and is designed in accordance with existing
         precedent. The provision that prices Non-Firm Energy Exchange Transmission Service
         at $0/MWh is just and reasonable because the Southeast EEM would make unused
         transmission capacity available only after all other transmission customers make their
         transmission reservations.81 This represents transmission capacity that would otherwise
         be left fallow. As such, there are no opportunity costs associated with Non-Firm Energy
         Exchange Transmission Service.82 In the face of all of the potential benefits that could be


         the Agreement Filings as the Southeast EEM Filings); id. at 4 (“the requested effective
         date, and the requested date for Commission action . . . will still provide the Commission
         60 days to act upon the Southeast EEM Filings”).
                79
                 See, e.g., Ala. Power, Docket No. ER21-1111-000, February 12, 2021
         Transmittal at 3.
                80
                   See, e.g., 86 Fed. Reg. 10,264, 10,264-10,265 (Feb. 19, 2021); 86 Fed. Reg.
         31,492, 31,493 (June 14, 2021); 86 Fed. Reg. 45,980, 45,980-45,981 (Aug. 17, 2021).
         Pioneer, 169 FERC ¶ 61,265 at P 24 (“Pioneer also had notice that its filing was not a
         statutory filing made pursuant to section 205(d), as the Commission’s Notice of Filing
         did not indicate that Pioneer made its filing pursuant to section 205(d) or that it had a
         proposed effective date.”); see also id. P 24 n.45 (“Compare Pioneer’s Notice of Filing,
         at 3 with Pacific Gas and Electric Company’s Notice of Filing, at 3 in Combined Notice
         of Filings #1, Docket No. ER18-2119-000, (August 1, 2018), . . . . (Pacific Gas and
         Electric Company’s Notice states that it is a § 205(d) Rate Filing with a proposed
         effective date while Pioneer’s does not). The Commission adds the § 205(d) Rate Filing
         and the proposed effective date to those filings with statutory action dates that are
         properly made through eTariff.” (emphasis added)).
                81
                     Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 24-
         25.
                82
                     See Pub. Serv. Co. of Colo., 154 FERC ¶ 61,107, at P 84 (2016) (finding that the
                                                     - 24 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         realized by the creation of the Southeast EEM, and the fact that there is virtually no
         downside to its implementation, there is simply no lawful basis upon which to reject this
         submission.

                While protestors raise concerns with various aspects of the Southeast EEM
         proposal, we should have found that the filing parties have satisfied their burden under
         FPA section 205, and we should have ruled on the proposal before us and not upon
         protestors’ alternatives.83

         IV.    Conclusion

                I voted to accept the Southeast EEM proposal and would have done so on August
         6, 2021, as just and reasonable.

                The Commission will get a second chance to issue a merits order in response to
         requests for rehearing. I sincerely hope that wisdom prevails, and that the Southeast
         EEM proposal is ultimately accepted.

                However, should this matter eventually come to the court under FPA section
         205(g), the court should remand it back to FERC for an order in the first instance.
         Failing that, if the court chooses to issue a decision on the merits, it should deny the
         petitions for review and remand with instructions that every aspect of the filers’
         submission—in all related dockets—be accepted.




         ________________________
         James P. Danly
         Commissioner




         zero-rate transmission service at issue would otherwise be unused and, therefore, there
         would be no associated opportunity costs).
                83
                  See, e.g., Cities of Bethany, 727 F.2d at 1136 (finding that, when determining
         whether a proposed rate was “just and reasonable,” as required by the FPA, the
         Commission properly did not consider “whether a proposed rate schedule is more or less
         reasonable than the alternative rate designs”).

                                                     - 25 -
Document Accession #: 20211020-4005               Filed Date: 10/20/2021




                                                ATTACHMENT A

            I.          Second Deficiency Response84

                “Given the limited nature of the second Deficiency Letter and response, the
         Southeast EEM Members request a shortened comment period of 10 days, or August 23,
         2021, and action within 30 days, or September 10. Additionally, the Members request an
         effective date (as to the Southeast EEM Agreement and concurrence filings) of October
         12, 2021, sixty days from the filing of this Response.”85

                “The Southeast EEM Members also respectfully request expedited Commission
         action on or before September 10, 2021—30 days after the filing date.”86

                “The Southeast EEM Members respectfully request that the Commission accept
         the Southeast EEM Agreement, and the related filings in these unconsolidated dockets,
         subject to the modifications proposed by the Members in previous filings, to become
         effective on October 12, 2021. If the Commission finds these proposed changes
         acceptable and otherwise accepts the Southeast EEM Proposal as submitted, the
         Southeast EEM Members commit to subsequently submit a compliance filing to
         effectuate the proposed revisions within 30 days of acceptance.”87

            II.         First Deficiency Response88

               “Because the evidence demonstrates that the Southeast EEM, as proposed to be
         modified here, will benefit customers, the Southeast EEM Members request that the
         Commission approve the Southeast EEM as soon as reasonably possible, but no later than
         August 6, 2021.”89
               “The Southeast EEM Members respectfully request that the Commission accept
         the Southeast EEM Agreement, and the related filings in these unconsolidated dockets,

                  84
                  Ala. Power, Docket Nos. ER21-1111-002, et al., Second Deficiency Response
         (Aug. 11, 2021).
                  85
                       Second Deficiency Response at 2
                  86
                       Second Deficiency Response at 8.
                  87
                       Second Deficiency Response at 9.
                  88
                   Ala. Power, Docket Nos. ER21-1111-001, et al., First Deficiency Response
         (June 6, 2021).
                  89
                       First Deficiency Response at 7.
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         subject to the modifications proposed herein, to become effective on August 6, 2021. If
         the Commission finds these proposed changes acceptable and otherwise accepts the
         Southeast EEM Proposal as submitted, the Southeast EEM Members commit to
         subsequently submit a compliance filing to effectuate the proposed revisions within 30
         days of acceptance.”90


            III.     Initial Filings

               A.       Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal

                  “Concurrently with this filing, each of the other Commission-jurisdictional
         Members (together with Southern Companies, the ‘FERC Jurisdictional Members’), is
         filing a Certificate of Concurrence (together, the ‘Concurrence Filings’). Additionally,
         each Member that is a transmission service provider with an open access transmission
         tariff (‘transmission tariff’ or OATT’) on file with the Commission, including Southern
         Companies, is filing amendments to its transmission tariff to offer zero-charge
         transmission service for Southeast Energy Exchange transactions (known as ‘Non-Firm
         Energy Exchange Transmission Service’ or ‘NFEETS’) (collectively, the ‘Tariff Filings,’
         together with the Concurrence Filings and this filing, the ‘Southeast EEM Filings’).”91

                “[T]he requested effective date, and the requested date for Commission
         action . . . will still provide the Commission 60 days to act upon the Southeast EEM
         Filings . . . .”92

                 “The Southeast EEM Members respectfully request that the Commission accept
         the Southeast EEM Agreement to become effective May 13, 2021, 90 days after this
         filing.”93

                 “In order to provide ample time to potential commenters who may wish to provide
         comments, we respectfully request that the Commission establish a comment period of
         thirty days, rather than the usual twenty-one, such that the comment date would be March
         15, 2021. As noted, the requested effective date, and the requested date for Commission
         action, is in 90 days. Accordingly, a 30-day period for comments will still provide the

               90
                    First Deficiency Response at 43.
               91
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 3.
               92
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 4.
               93
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 3.

                                                       -2-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         Commission 60 days to act upon the Southeast EEM Filings after comments are
         received.”94

                “If the Commission accepts the Southeast EEM Filings without material
         modification or condition within the requested 90 days, the Members anticipate the
         following schedule to implement the Southeast EEM: May 13, 2021: Proposed effective
         date of the Southeast EEM Agreement.”95

                 “Southern Company and the other Southeast EEM Members respectfully request
         that the Southeast EEM Agreement become effective on May 13, 2021, 90 days after
         filing. This requested effective date is consistent with 18 C.F.R. §§ 35.2(f) and
         35.3(a)(1).”96

                “However, to the extent a waiver is needed, good cause exists to grant it, because
         acceptance of the filing effective May 13, 2021 will permit customers in the Southeast to
         begin enjoying the benefits of the Southeast EEM at the earliest possible date.”97

                “Southern Company and the Southeast EEM Members respectfully request that the
         Commission accept the Southeast EEM Agreement, without modification, to become
         effective on May 13, 2021.”98




               94
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 3-4.
               95
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 12-
         13.
               96
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 42.
               97
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 42.
               98
                    Ala. Power, Docket No. ER21-1111-000, February 12, 2021 Transmittal at 44.

                                                   -3-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




                B.       Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
                         Transmittal


                 “[Dominion Energy SC] respectfully requests an effective date of May 13, 2021
         for its concurrence, the same effective date proposed by Southern Company in the related
         filing of the Southeast EEM Agreement, and 90 days after the date of this filing.”99

                “Each of the other Commission-jurisdictional Members (together with [Dominion
         Energy SC], the ‘FERC Jurisdictional Members’), is filing a Certificate of Concurrence
         (together, the ‘Concurrence Filings’). Additionally, each Member that is a transmission
         service provider with a transmission tariff on file with the Commission, is filing
         amendments to its transmission tariff to offer zero-cost transmission service for Southeast
         Energy Exchange transactions (collectively, the ‘Tariff Filings’). Each Southeast EEM
         Filing Filings (collectively, the ‘Southeast EEM Filings’) will have its own docket.
         There are a total of twelve Southeast EEM Filings.”100

                 “In addition, consistent with the request made regarding the Southeast EEM
         Agreement filing, [Dominion Energy SC] requests a 30-day comment period for this
         filing, such that comments would be due on March 15, 2021.”101

                [“Dominion Energy SC] respectfully requests that this Concurrence become
         effective on May 13, 2021, 90 days after filing and the same effective date requested in
         the Southeast EEM Agreement Filing.”102

                 “Granting an effective date of May 13, 2021 for this Concurrence Filing will allow
         it to synchronize with the effective date requested in the Southeast EEM Agreement
         Filing for a seamless implementation of the Southeast EEM.”103



                99
                 Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal at 2
                100
                  Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal at 2 n.6.
                101
                  Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal at 2.
                102
                  Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal at 6.
                103
                      Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
                                                    -4-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




                “However, to the extent a waiver is needed, good cause exists to grant it, because
         acceptance of the filing effective May 13, 2021 will permit customers in the Southeast to
         begin enjoying the benefits of the Southeast EEM at the earliest possible date.”104

               “[Dominion Energy SC] respectfully requests that the Commission establish a 30-
         day comment period for this filing and accept its concurrence to the Southeast EEM
         Agreement, without modification, to become effective on May 13, 2021.”105


                C.       LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal


                 “LG&E respectfully requests an effective date of May 13, 2021 for its
         concurrence, the same effective date proposed by Southern Companies in the related
         filing of the Southeast EEM Agreement, and 90 days after the date of this filing.”106

                 Each of the other Commission-jurisdictional Members (together with LG&E, the
         ‘FERC Jurisdictional Members’), is filing a Certificate of Concurrence (together, the
         ‘Concurrence Filings’). Additionally, each Member that is a transmission service
         provider with a transmission tariff on file with the Commission, is filing amendments to
         its transmission tariff to offer zero-cost transmission service for Southeast Energy
         Exchange transactions (collectively, the ‘Tariff Filings’). Each Southeast EEM Filing
         Filings (collectively, the ‘Southeast EEM Filings’) will have its own docket. There are a
         total of twelve Southeast EEM Filings.”107

                 “In order to provide ample time to potential commenters who may wish to provide
         comments, LG&E respectfully requests that the Commission establish a comment period
         of thirty days, rather than the usual twenty-one, such that the comment date would be
         March 15, 2021. As noted, the requested effective date, and the requested date for
         Commission action, is in 90 days. Accordingly, a 30-day period for comments will still

         Transmittal at 6.
                104
                  Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal at 7.
                105
                  Dominion Energy SC, Docket No. ER21-1112-000, February 12, 2021
         Transmittal at 8.
                106
                      LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal at 2.
                107
                      LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal at 2 n.6.

                                                    -5-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         provide the Commission 60 days to act upon the Southeast EEM Filings after comments
         are received.”108

                “LG&E respectfully requests that this Concurrence become effective on May 13,
         2021, 90 days after filing and the same effective date requested in the Southeast EEM
         Agreement Filing.”109

                 “Granting an effective date of May 13, 2021 for this Concurrence Filing will allow
         it to synchronize with the effective date requested in the Southeast EEM Agreement
         Filing for a seamless implementation of the Southeast EEM.”110

                “However, to the extent a waiver is needed, good cause exists to grant it, because
         acceptance of the filing effective May 13, 2021 will permit customers in the Southeast to
         begin enjoying the benefits of the Southeast EEM at the earliest possible date.”111

               “LG&E respectfully requests that the Commission accept its concurrence to the
         Southeast EEM Agreement, without modification, to become effective on May 13,
         2021.”112



               D.       DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal


                “DEC respectfully requests an effective date of May 13, 2021 for its concurrence,
         the same effective date proposed by Alabama Power Company in the related filing of the
         Southeast EEM Agreement, and 90 days after the date of this filing.”113

               “Each of the other Commission-jurisdictional Members (together with DEC, the
         ‘FERC Jurisdictional Members’), is filing a Certificate of Concurrence (together, the
         ‘Concurrence Filings’). Additionally, each Member that is a transmission service
         provider with a transmission tariff on file with the Commission, is filing amendments to

               108
                     LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal at 2.
               109
                     LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal at 6.
               110
                     LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal at 7.
               111
                     LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal at 7.
               112
                     LG&E, Docket No. ER21-1114-000, February 12, 2021 Transmittal at 8.
               113
                     DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal at 2.

                                                    -6-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




         its transmission tariff to offer zero-cost transmission service for Southeast Energy
         Exchange transactions (collectively, the ‘Tariff Filings’). Each Southeast EEM Filing
         Filings (collectively, the ‘Southeast EEM Filings’) will have its own docket. There are a
         total of twelve Southeast EEM Filings.”114

                 “In order to provide ample time to potential commenters who may wish to provide
         comments, DEC respectfully requests that the Commission establish a comment period of
         thirty days, rather than the usual twenty-one, such that the comment date would be March
         15, 2021. As noted, the requested effective date, and the requested date for Commission
         action, is in 90 days. Accordingly, a 30-day period for comments will still provide the
         Commission 60 days to act upon the Southeast EEM Filings after comments are
         received.”115

                “DEC respectfully requests that this Concurrence become effective on May 13,
         2021, 90 days after filing and the same effective date requested in the Southeast EEM
         Agreement Filing.”116

                 “Granting an effective date of May 13, 2021 for this Concurrence Filing will allow
         it to synchronize with the effective date requested in the Southeast EEM Agreement
         Filing for a seamless implementation of the Southeast EEM.”117

                “However, to the extent a waiver is needed, good cause exists to grant it, because
         acceptance of the filing effective May 13, 2021 will permit customers in the Southeast to
         begin enjoying the benefits of the Southeast EEM at the earliest possible date.”118

               “DEC respectfully request[s] that the Commission accept its concurrence to the
         Southeast EEM Agreement, without modification, to become effective on May 13,
         2021.”119




               114
                     DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal at 2 n.6.
               115
                     DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal at 2.
               116
                     DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal at 6.
               117
                     DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal at 7.
               118
                     DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal at 7.
               119
                     DEC, Docket No. ER21-1116-000, February 12, 2021 Transmittal at 8.

                                                    -7-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




               E.       DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal


                “DEP respectfully requests an effective date of May 13, 2021 for its concurrence,
         the same effective date proposed by Alabama Power Company in the related filing of the
         Southeast EEM Agreement, and 90 days after the date of this filing.”120

                 “Each of the other Commission-jurisdictional Members (together with DEP, the
         ‘FERC Jurisdictional Members’), is filing a Certificate of Concurrence (together, the
         ‘Concurrence Filings’). Additionally, each Member that is a transmission service
         provider with a transmission tariff on file with the Commission, is filing amendments to
         its transmission tariff to offer zero-cost transmission service for Southeast Energy
         Exchange transactions (collectively, the ‘Tariff Filings’). Each Southeast EEM Filing
         Filings (collectively, the ‘Southeast EEM Filings’) will have its own docket. There are a
         total of twelve Southeast EEM Filings.”121

                 “In order to provide ample time to potential commenters who may wish to provide
         comments, DEP respectfully requests that the Commission establish a comment period of
         thirty days, rather than the usual twenty-one, such that the comment date would be March
         15, 2021. As noted, the requested effective date, and the requested date for Commission
         action, is in 90 days. Accordingly, a 30-day period for comments will still provide the
         Commission 60 days to act upon the Southeast EEM Filings after comments are
         received.”122

                “DEP respectfully requests that this Concurrence become effective on May 13,
         2021, 90 days after filing and the same effective date requested in the Southeast EEM
         Agreement Filing.”123

                 “Granting an effective date of May 13, 2021 for this Concurrence Filing will allow
         it to synchronize with the effective date requested in the Southeast EEM Agreement
         Filing for a seamless implementation of the Southeast EEM.”124



               120
                     DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal at 2.
               121
                     DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal at 2 n.6.
               122
                     DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal at 2.
               123
                     DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal at 6.
               124
                     DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal at 6-7.

                                                    -8-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




                “However, to the extent a waiver is needed, good cause exists to grant it, because
         acceptance of the filing effective May 13, 2021 will permit customers in the Southeast to
         begin enjoying the benefits of the Southeast EEM at the earliest possible date.”125

               “DEP respectfully request[s] that the Commission accept its concurrence to the
         Southeast EEM Agreement, without modification, to become effective on May 13,
         2021.”126


               F.       Ga. Power, Docket No. ER21-1119-000 February 12, 2021 Transmittal

                “SCS respectfully requests the Commission make the attached tariff record
         effective as of May 13, 2021, consistent with the effective date requested in Alabama
         Power’s filing of the Southeast EEM Agreement.”127



               G.       KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal

                “KU respectfully requests an effective date of May 13, 2021 for its concurrence,
         the same effective date proposed by Southern Companies in the related filing of the
         Southeast EEM Agreement, and 90 days after the date of this filing.”128

                 “Each of the other Commission-jurisdictional Members (together with KU, the
         ‘FERC Jurisdictional Members’), is filing a Certificate of Concurrence (together, the
         ‘Concurrence Filings’). Additionally, each Member that is a transmission service
         provider with a transmission tariff on file with the Commission, is filing amendments to
         its transmission tariff to offer zero-cost transmission service for Southeast Energy
         Exchange transactions (collectively, the ‘Tariff Filings’). Each Southeast EEM Filing
         Filings (collectively, the ‘Southeast EEM Filings’) will have its own docket. There are a
         total of twelve Southeast EEM Filings.”129




               125
                     DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal at 7.
               126
                     DEP, Docket No. ER21-1117-000, February 12, 2021 Transmittal at 8.
               127
                     Ga. Power, Docket No. ER21-1119-000, February 12, 2021 Transmittal at 2.
               128
                     KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal at 2.
               129
                     KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal at 2 n.6.

                                                   -9-
Document Accession #: 20211020-4005           Filed Date: 10/20/2021




                 “In order to provide ample time to potential commenters who may wish to provide
         comments, KU respectfully requests that the Commission establish a comment period of
         thirty days, rather than the usual twenty-one, such that the comment date would be March
         15, 2021. As noted, the requested effective date, and the requested date for Commission
         action, is in 90 days. Accordingly, a 30-day period for comments will still provide the
         Commission 60 days to act upon the Southeast EEM Filings after comments are
         received.”130

                “KU respectfully requests that this Concurrence become effective on May 13,
         2021, 90 days after filing and the same effective date requested in the Southeast EEM
         Agreement Filing.”131

                 “Granting an effective date of May 13, 2021 for this Concurrence Filing will allow
         it to synchronize with the effective date requested in the Southeast EEM Agreement
         Filing for a seamless implementation of the Southeast EEM.”132

                “However, to the extent a waiver is needed, good cause exists to grant it, because
         acceptance of the filing effective May 13, 2021 will permit customers in the Southeast to
         begin enjoying the benefits of the Southeast EEM at the earliest possible date.”133



               H.       Miss. Power, Docket No. ER21-1121-000 February 12, 2021
                        Transmittal

                “SCS respectfully requests the Commission make the attached tariff record
         effective as of May 13, 2021, consistent with the effective date requested in Alabama
         Power’s filing of the Southeast EEM Agreement.”134




               130
                     KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal at 2.
               131
                     KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal at 6.
               132
                     KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal at 7.
               133
                     KU, Docket No. ER21-1120-000, February 12, 2021 Transmittal at 7.
               134
                     Miss. Power, Docket No. ER21-1121-000, February 12, 2021 Transmittal at 2.

                                                   - 10 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




                I.       Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal

               “eTariff requirements mandate that each of the Southeast EEM Filings have its
         own docket . . . the issues in the dockets are related . . . .”135

              “In addition to Southern Companies, Dominion Energy South Carolina, DEC, and
         LG&E are each filing amendments to their transmission tariffs, some of which are joint
         OATTs, to add NFEETS (‘Tariff Filings,’ together with the Agreement Filing and the
         Concurrence Filings, the ‘Southeast EEM Filings’).”136

                 “Southern Companies request that the Commission issue an order within 90 days,
         by May 13, 2021, accepting the proposed OATT changes included in this filing, effective
         as of the dates requested herein. The requested date for Commission action is the same
         date requested in the Agreement Filing. Also consistent with that filing, Southern
         Companies request that the Commission establish a comment period of 30 days in this
         docket, or March 15, 2021. The Southeast EEM filings are a package.”137

                “Accordingly, Southern Companies are using an open-ended effective date
         (12/31/9998), consistent with Commission guidelines.”138

                “Although Southern Companies are requesting a 12/31/9998 effective date, to be
         updated once the Southeast EEM Commencement Date is known, Southern Companies
         respectfully request that the Commission act on this filing within 90 days of filing, i.e.,
         no later than May 13, 2021, the same day as the proposed effective date of the Southeast
         EEM Agreement. As explained in the Agreement Filing, the Members desire regulatory
         certainty as to Commission acceptance of the package of filings that include this filing
         and the Agreement Filing before making significant additional investment in the
         Southeast EEM.”139




                135
                      Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 2-3.
                136
                      Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 2
         n.5
                137
                      Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 3.
                138
                      Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 12.
                139
                      Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 12.

                                                    - 11 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




                “Southern Companies ask the Commission to issue an order not later than May 13,
         2021 that accepts for filing the proposed OATT revisions included herewith with an
         effective date as discussed in Section III above.”140


                J.       Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021
                         Transmittal

                “eTariff requirements mandate that each of the twelve Southeast EEM Filings
         have its own docket . . . . the issues in the dockets are related . . . .”141

                “The Company requests that the Commission issue an order within 90 days, by
         May 13, 2021, accepting the proposed OATT changes included in this filing, effective as
         of the dates requested herein. The requested date for Commission action is the same date
         requested in the Southeast EEM Agreement Filing. Also consistent with that filing, the
         Company requests that the Commission establish a comment period of 30 days in this
         docket, or March 15, 2021. The Southeast EEM filings are a package.”142

                “Accordingly, the Company is using an open-ended effective date (12/31/9998),
         consistent with Commission guidelines.”143

                “Although the Company is requesting a 12/31/9998 effective date, the Company
         respectfully requests that the Commission act on this filing within 90 days of filing, i.e.,
         no later than May 13, 2021, the same day as the proposed effective date of the Southeast
         EEM Agreement. As explained in the Southeast EEM Agreement Filing, the Members
         desire regulatory certainty as to Commission acceptance of the package of filings that
         include this filing and the Southeast EEM Agreement Filing before making additional
         investment in the Southeast EEM.”144


                140
                      Ala. Power, Docket No. ER21-1125-000, February 12, 2021 Transmittal at 14.
                141
                  Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021
         Transmittal at 2.
                142
                  Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021
         Transmittal at 3.
                143
                  Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021
         Transmittal at 11.
                144
                  Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021
         Transmittal at 12.

                                                     - 12 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




                “[T]he Company asks the Commission to issue an order not later than May 13,
         2021 that accepts for filing the proposed OATT revisions included herewith with an
         effective date as discussed in Section IV above.”145


                K.       Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal

                “eTariff requirements mandate that each of the twelve Southeast EEM Filings
         have its own docket . . . the issues in the dockets are related . . . .”146

              “Those twelve filings are Southern Companies’ filing of the Southeast EEM
         Agreement, the seven Concurrence Filings, and the four OATT filings to implement
         NFEETS, including this one (‘Tariff Filings,’ together with the Agreement Filing and the
         Concurrence Filing, the ‘Southeast EEM Filings’).”147

                  “The Filing Parties request that the Commission issue an order within 90 days of
         this filing, i.e., by May 13, 2021, accepting the proposed OATT changes included in this
         filing, effective as of the dates requested herein. The requested date for Commission
         action is the same date requested in the Agreement Filing. Also consistent with that
         filing, the Filing Parties request that the Commission establish a comment period of 30
         days in this docket, i.e., March 15, 2021. The Southeast EEM filings are a package.”148

                “Accordingly, the Filing Parties are using an open-ended effective date
         (12/31/9998), consistent with Commission guidelines.”149

                “Although the Filing Parties are requesting a 12/31/9998 effective date, to be
         updated once the Southeast EEM Commencement Date is known, the Filing Parties
         respectfully request that the Commission act on this filing within 90 days of filing, i.e.,
         no later than May 13, 2021, the same day as the proposed effective date of the Southeast
         EEM Agreement. As explained in the Southeast EEM Agreement Filing, the Members
         desire regulatory certainty as to Commission acceptance of the package of filings that

                145
                  Dominion Energy SC, Docket No. ER21-1128-000, February 12, 2021
         Transmittal at 14.
                146
                      Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 2-3.
                147
                      Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 2 n.7.
                148
                      Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 3.
                149
                      Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 12.

                                                    - 13 -
Document Accession #: 20211020-4005            Filed Date: 10/20/2021




         include this filing and the Southeast EEM Agreement Filing before making significant
         additional investment in the Southeast EEM.”150

                “[T]he Filing Parties ask the Commission to issue an order not later than May 13,
         2021 that accepts for filing the proposed OATT revisions included herewith with an
         effective date as discussed in Section IV above.”151


                L.       LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal

                “eTariff requirements mandate that each of the twelve Southeast EEM Filings
         have its own docket . . . the issues in the dockets are related.”152

                “In addition to LG&E/KU, Southern Companies, Dominion Energy South
         Carolina, DEC are each filing amendments to their transmission tariffs, some of which
         are joint OATTs to add NFEETS (‘Tariff Filings,’ together with the Agreement Filing
         and the Concurrence Filings, the ‘Southeast EEM Filings’).”153
                “LG&E/KU request that the Commission issue an order within 90 days, by
         May 13, 2021, accepting the proposed OATT changes included in this filing, effective as
         of the dates requested herein. The requested date for Commission action is the same date
         requested in the Southeast EEM Agreement Filing. Also consistent with that filing,
         LG&E/KU request that the Commission establish a comment period of 30 days in this
         docket, or March 15, 2021. The Southeast EEM filings are a package.”154

                “Accordingly, the LG&E/KU are using an open-ended effective date
         (12/31/9998), consistent with Commission guidelines.”155

                “Although the LG&E/KU are requesting a 12/31/9998 effective date, to be
         updated once the Southeast EEM Commencement Date is known, the LG&E/KU
         respectfully request that the Commission act on this filing within 90 days of filing, i.e.,
         no later than May 13, 2021, the same day as the proposed effective date of the Southeast

                150
                      Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 13.
                151
                      Duke, Docket No. ER21-1115-000, February 12, 2021 Transmittal at 15.
                152
                      LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal at 2-3.
                153
                      LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal at 2 n.5.
                154
                      LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal at 3.
                155
                      LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal at 12.

                                                    - 14 -
Document Accession #: 20211020-4005          Filed Date: 10/20/2021




         EEM Agreement. As explained in the Southeast EEM Agreement Filing, the Members
         desire regulatory certainty as to Commission acceptance of the package of filings that
         include this filing and the Southeast EEM Agreement Filing before making significant
         additional investment in the Southeast EEM.”156

                “LG&E/KU ask the Commission to issue an order not later than May 13, 2021 that
         accepts for filing the proposed OATT revisions included herewith with an effective date
         as discussed in Section IV above.”157




               156
                     LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal at 13.
               157
                     LG&E, Docket No. ER21-1118-000, February 12, 2021 Transmittal at 15.

                                                  - 15 -
Document Accession #: 20211020-4005   Filed Date: 10/20/2021

   Document Content(s)
   10202021 FINAL -- SEEM -- Danly Fair RATES Act Statement.docx ............1
Document Accession #: 20211020-4004           Filed Date: 10/20/2021




                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Alabama Power Company                                   Docket No.    ER21-1111-002

         Dominion Energy South Carolina, Inc.                                  ER21-1112-002

         Louisville Gas and Electric Company                                   ER21-1114-002

         Duke Energy Progress, LLC                                             ER21-1115-000
         Duke Energy Carolinas, LLC                                            ER21-1115-001
                                                                               ER21-1115-002

         Duke Energy Carolinas, LLC                                            ER21-1116-002

         Duke Energy Progress, LLC                                             ER21-1117-002

         Louisville Gas and Electric Company                                   ER21-1118-002

         Georgia Power Company                                                 ER21-1119-002

         Kentucky Utilities Company                                            ER21-1120-002

         Mississippi Power Company                                             ER21-1121-002

         Alabama Power Company                                                 ER21-1125-000
                                                                               ER21-1125-001
                                                                               ER21-1125-002

         Dominion Energy South Carolina, Inc.                                  ER21-1128-002


                             STATEMENT OF COMMISSIONER CHRISTIE

                                         (Issued October 20, 2021)


         1.     The Southeast Energy Exchange Market (Southeast EEM or SEEM) proposal
         meets the standard for approval under section 205 of the Federal Power Act (FPA).1 The

               1
                   16 U.S.C. § 824d (2018).
Document Accession #: 20211020-4004           Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                       -2-


         opposition to this proposal stems from one core issue: the goal of many interest groups to
         force the Southeastern states into a Regional Transmission Organization (RTO) or at least
         into a halfway-house to an RTO now, with full submission later.2 The decision whether
         these states should join an RTO, however, is for their own elected policy-makers to
         make, not this Commission. All that we are asked to do in this case is determine whether
         the SEEM proposal meets the section 205 standard. For the reasons set forth below, it
         does and I would have voted to approve.

         2.    On February 12, 2021, as amended on June 7, 20213 and August 11, 2021,4
         Southern Company Services, Inc., as agent for Alabama Power Company, filed the

                2
                   Chairman Glick shares the goal of creating a Southeastern RTO: “From my
         perspective, utilities and other stakeholders in this region should be working to establish
         an RTO/ISO in the Southeast for the benefit of consumers and to promote grid
         reliability.” Statement of Chairman Glick regarding Southeast EEM at P 1. Nonetheless,
         he acknowledges that “I believe that much of the Southeast EEM proposal arguably
         satisfies the Section 205 standard.” Id. at P 2. Chairman Glick would have voted against
         the Southeast EEM proposal based on the Mobile-Sierra issue. Id. at P 2; contra infra at
         P 20. Commissioner Clements would use this proceeding to impose RTO-type
         governance structures on the Southeast EEM. Statement of Comm’r Clements regarding
         Southeast EEM at P 41 (“For example, the Filing Parties could remedy these infirmities
         by: (1) creating the option for non-LSE Participants to become Members if they make the
         necessary financial commitment, like in the WEIS; and (2) creating a process for non-
         Member Participants and other stakeholders, such as states or consumer groups, to
         provide complaints and concerns on Southeast EEM proposals, also like in the WEIS.”
         (emphasis added)). I note that states are not just “stakeholders” but are sovereign
         authorities which have long exercised regulatory power over the utilities in the Southeast
         and would be stripped of much of their regulatory authority if the Southeastern states
         were forced into a federally-regulated RTO. Being allowed to attend stakeholder
         meetings and make complaints to RTO management is small consolation to the states for
         losing much of their regulatory ability to ensure their consumers receive reliable power at
         the lowest practical cost. As noted below, not a single state utility commission filed in
         opposition to the SEEM proposal. See infra at P 19.
                3
                 On May 4, 2021, Commission staff issued a deficiency letter to Filing Parties
         informing them that the February 12, 2021 Filings were deficient and requesting
         additional information (May 4 Deficiency Letter). On June 7, 2021, Filing Parties
         submitted a response to that letter (June 7 Deficiency Response), amending the February
         12, 2021 Filings.
                4
                 On August 6, 2021, Commission staff issued a deficiency letter to Filing Parties
         informing them that the February 12, 2021 Filings, as amended in the June 7 Deficiency
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                      -3-


         Southeast EEM Agreement on behalf of itself and the other prospective Members
         (collectively, Filing Parties) of the Southeast EEM,5 pursuant to section 205 of the FPA
         and section 35.12 of the Commission’s regulations.6 Also on February 12, 2021, as
         amended on June 7, 2021 and August 11, 2021, seven prospective Southeast EEM
         Members submitted certificates of concurrence to the Southeast EEM Agreement and
         four prospective Participating Transmission Providers in the Southeast EEM filed
         revisions to their respective open access transmission tariffs (OATTs) to incorporate
         Non-Firm Energy Exchange Transmission Service (NFEETS).7




         Response, were deficient and requesting further information (August 6 Deficiency
         Letter). On August 11, 2021, Filing Parties submitted a response to the August 6
         Deficiency Letter (August 11 Deficiency Response), further amending the February 12,
         2021 Filings.
               5
                 As of February 12, 2021, the following entities constitute the prospective
         Members of the Southeast EEM: Alabama Power Company, Georgia Power Company,
         and Mississippi Power Company (collectively, Southern Companies); Associated Electric
         Cooperative, Inc.; Dalton Utilities; Dominion Energy South Carolina, Inc.; Duke Energy
         Carolinas, LLC and Duke Energy Progress, LLC (collectively, Duke Energy); Louisville
         Gas and Electric Company and Kentucky Utilities Company (collectively, LG&E/KU);
         North Carolina Municipal Power Agency Number 1; PowerSouth Energy Cooperative;
         North Carolina Electric Membership Corporation; and Tennessee Valley Authority (each
         a Member and collectively, the Members). See, e.g., Southern Companies, Docket No.
         ER21-1111, February 12, 2021 Transmittal (Southeast EEM Transmittal) at 1 and n.1. In
         addition, the following entities participated in the creation of the Southeast EEM and, as
         of February 12, 2021, are in the process of or are contemplating seeking the necessary
         approvals to execute the Southeast EEM Agreement and become Members: Georgia
         System Operations Corporation; Georgia Transmission Corporation; Municipal Electric
         Authority of Georgia; Oglethorpe Power Corporation; and South Carolina Public Service
         Authority. See, e.g., id.
               6
                   18 C.F.R. § 35.12 (2020).
               7
                 See Duke Energy, Tariff Filing, Docket Nos. ER21-1115-000 (filed Feb. 12,
         2021), ER21-1115-001 (filed June 7, 2021), and ER21-1115-002 (filed Aug. 11, 2021);
         LG&E/KU, Tariff Filing, Docket Nos. ER21-1118-000 (filed Feb. 12, 2021), ER21-
         1118-001 (filed June 8, 2021); ER21-1118-002 (filed Aug. 11, 2021); Southern
         Companies, Tariff Filing, Docket Nos. ER21-1125-000 (filed Feb. 12, 2021), ER21-
         1125-001 (filed June 7, 2021), and ER21-1115-002 (filed Aug. 11, 2021); Dominion
         Energy SC, Tariff Filing, Docket Nos. ER21-1128-000 (file Feb. 12, 2021), ER21-1128-
Document Accession #: 20211020-4004             Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                          -4-


         3.     In the event the Commission does not act on a filing made pursuant to FPA section
         205 within the 60-day period established therein “because the Commissioners are divided
         two against two as to the lawfulness of the change, as a result of vacancy, incapacity, or
         recusal on the Commission, or if the Commission lacks a quorum,” FPA section
         205(g)(1)(B) requires each Commissioner to “add to the record of the Commission a
         written statement explaining the views of the Commissioner with respect to the change.”8
         This statement complies with the statute.9

         4.     In sum, I would have voted to accept the Southeast EEM proposal as a package.
         As I set forth in greater detail below, the filings unquestionably meet the statutory criteria
         for acceptance under section 205 and should have been approved by majority vote of this
         Commission. In fact, I would have voted to approve the Southeast EEM proposal as a
         package within the deadline of August 6, 2021 created by the May 4 Deficiency Letter.10

                                                    * * *
         5.      The Southeast EEM proposal facilitates and enhances interaction among entities in
         the purchase and sale of energy across a 10-state footprint involving 160,000 MW of
         generating capacity and approximately 640 TWh of load.11 The algorithm proposed by
         the Southeast EEM to be run by an independent administrator, will match 15-minute
         “split-the-savings” energy exchanges, subject to available transmission. Moreover, the
         proposal for the NFEETS transmission service will, subject to availability, provide zero-
         cost, non-firm transmission by using otherwise unused transmission capacity. NFEETS
         will also encourage transactions between geographically distant trading partners that may
         otherwise have been uneconomic.12


         001 (filed June 8, 2021), ER21-1128-002 (filed Aug. 11, 2021).
                8
                    16 U.S.C. § 824d.
                9
                    Id.
                10
                  The Commission does not vote on whether to issue a deficiency letter.
         Accordingly, no vote of the Commission was taken on whether to issue the August 6
         Deficiency Letter – issued on the deadline for an order to be issued for the Southeast
         EEM proposal or for the proposal to go into effect by operation of law – and which, in
         my view, sought information that was already in the record or unnecessary to making a
         decision on the proposal.
                11
                     See, e.g., Southeast EEM Transmittal at 4.
                12
                     See generally Southeast EEM Transmittal, attach. D, Pope Aff. ¶ 22 (explaining
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                      -5-


         6.     The proposal acts to enhance the existing bilateral market in the Southeast and
         benefits the participants. It will increase efficiency, liquidity, transparency, and
         competition in the Southeast bilateral market and better utilize existing transmission
         capacity in the region. The filing estimates that the benefit will be approximately $40
         million in market-wide savings per year relative to the status quo bilateral market.13
         Importantly, benefits of the proposal will flow to consumers. I would have found that the
         proposal package meets the standards for the Commission’s acceptance of them under
         FPA section 205 as they are just and reasonable and not unduly discriminatory or
         preferential.

         7.      In reaching this conclusion, I have considered the various protests and comments
         in these dockets. Specifically, I have considered that certain protestors and commenters
         criticize and express concern with different elements and aspects of the Southeast EEM
         proposal. I do not agree with them. Indeed, as set forth below, it is obvious that many of
         the criticisms and complaints are direct or veiled attacks on this Southeast EEM proposal
         not because of what it is, but because of what it is not: an RTO or a halfway-house to an
         RTO, which is what many of the critics clearly want.14

         8.      For purposes of this statement, I touch generally on certain of the briefed
         criticisms. For example, certain protestors argue that the Southeast EEM will unjustly
         exclude entities like public interest organizations, independent power producers, and
         large-scale commercial and industrial customers from becoming Members and engaging
         in governance15 and assert that the Southeast EEM’s management authority will be


         that the Southeast EEM matching tool will lead to lower transaction costs by arranging
         15-minute trades across a broad geographic area).
               13
                   See, e.g., Southeast EEM Transmittal at 11 (citing Southeast EEM Transmittal,
         attach. E-1); id. at 32-33.
               14
                    See infra at PP 17-18 and n.32.
               15
                   See, e.g., Advanced Energy Economy, Advanced Energy Buyers Group,
         Renewable Energy Buyers Alliance, and Solar Energy Industries Association
         (collectively “Clean Energy Coalition”) March 15, 2021 Comments (Clean Energy
         Coalition March 15 Comments) at 15-24; Energy Alabama, Sierra Club, South Carolina
         Coastal Conservation League, GASP, Southern Alliance for Clean Energy, Southface
         Energy Institute, Inc., Vote Solar, Georgia Interfaith Power and Light, Georgia
         Conservation Voters, Partnership for Southern Equity, North Carolina Sustainable
         Energy Association, Sustainable FERC Project, and Natural Resources Defense Council
         (collectively “PIOs”) March 15, 2021 Limited Protest and Comments at 30-32 (PIO’s
         March 15 Limited Protest); Public Citizen March 15, 2021 Protest (Public Citizen March
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                        -6-


         concentrated only among load serving entities (LSEs) creating a lack of independent
         governance, imbalanced decision-making and uncompetitive outcomes.16 They further
         allege that the decision-making authority will be in the hands of the three largest utilities
         and that together these allegations create a lack of independence in governance from the
         proposed market participants that is unjust, unreasonable, and unduly discriminatory.17 I
         would have found that Southeast EEM is designed to enhance, not modify, the existing
         bilateral nature of energy transactions in the Southeast. Much of the criticism raised here
         appears to reflect disappointment that this proposal does not create an RTO. As I set
         forth herein, such criticism is misplaced and any expectation that RTO or RTO-esque
         structures can or should be forced on this region through FERC action has no basis in law
         or policy. I therefore would have found these aspects of the Southeast EEM meet section
         205 standards and I would have accepted them.

         9.     The arguments that the Southeast EEM should be required to have an independent
         market monitor suffer from the same infirmity.18 While I certainly agree that an
         independent market monitor is essential to oversee more complex and multi-faceted RTO
         markets, once again, this is not a proposal to create a new RTO market nor should FERC
         force these applicants into an RTO or RTO-type construct. Thus, the lack of a market
         monitor in the Southeast EEM not only does not make this proposal unjust and
         unreasonable, but the request for the imposition of a market monitor in the Southeast
         EEM again reflects an agenda of forcing these states into an RTO or RTO-type construct,
         despite the obvious benefits to consumers of the enhancement of the bilateral trading
         construct that is proposed in the Southeast EEM. Moreover, the monitoring and auditing


         15 Protest)at 2-3; Southern Renewable Energy Association (SREA) March 15, 2021
         Comments (SREA March 15 Comments) at 3-5; Voltus, Inc. March 15, 2021 Protest
         (Voltus March 15 Protest) at 3-4.
                16
                   See, e.g., PIOs March 15 Limited Protest at 31-32; Public Citizen March 15
         Protest at 2-3.
                17
                   See, e.g., Carolinas Clean Energy Business Association (CCEBA) March 15,
         2021 Comments (CCEBA March 15 Comments) at 2; Clean Energy Coalition March 15
         Comments at 17-20; PIOs March 15 Limited Protest at 28-32, 39; Advanced Energy
         Economy, Advanced Energy Buyers Group, and the Solar Energy Industries Association
         (collectively, “Clean Energy Coalition II”) June 28, 2021 Response to June 2021
         Response to Delinquency Letter (Clean Energy Coalition II June 28 Response to
         Delinquency Letter) at 5-6.
                18
                  See, e.g., SREA March 15 Comments at 5; PIOs March 15 Limited Protest at
         32-34; Clean Energy Coalition March 15 Comments at 7-8.
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                        -7-


         proposed in these filings and the combined roles of the Auditor and the Administrator
         make for a just and reasonable proposal under section 205 that facilitates bilateral trading
         which already can and does occur in the current market.

         10.     Again, related to the same agenda of imposing an RTO on the Southeast,
         protestors argue that the benefits of the Southeast EEM have been misstated, overstated
         or unproven.19 First, any claim in this record that an RTO would provide “more” benefits
         than those offered by the Southeast EEM is purely speculative and unpersuasive. The
         issue of RTO benefits versus costs and disadvantages, in terms of both reliability and
         consumer protection, are complex and multi-faceted. Second, the only proposal before
         the Commission is the Southeast EEM and under section 205 the Commission’s analysis
         is limited to whether this proposal is just and reasonable and not whether some other
         proposal is more just or more reasonable.20 That said, I would have voted that the
         proposal meets section 205 standards.

         11.     There is also disagreement over the application of the Mobile-Sierra21 public
         interest presumption as the standard of review.22 In response to the May 4 Deficiency
         Letter, the Filing Parties suggested that they would limit application of the Mobile-Sierra
         presumption to provisions, including: membership criteria; governance; roles,
         responsibilities, and scope of the Agent; budgeting and cost allocation; severability;
         withdrawal; release and liability; equitable relief; reliability obligations; dispute
         resolution; defaults; confidentiality; public utility status of Members; no reliance on
         NFEETS; no dedication of facilities; amendments; and the agreement for new Members




                19
                See, e.g., PIOs March 15 Limited Protest at 42; Clean Energy Coalition March
         15 Comments at 8, 27-34; American Forest & Paper Association March 15, 2021
         Comments at 13-14.
                20
                   See, e.g., City of Bethany v. FERC, 727 F.2d 1131, 1136 (D.C. Cir. 1984)
         (finding that, when determining whether a proposed rate was “just and reasonable,” as
         required by the FPA, the Commission properly did not consider “whether a proposed rate
         schedule is more or less reasonable than the alternative rate designs”).
                21
                  United Gas Pipe Line Co. v. Mobile Sierra Gas Service Corp., 350 U.S. 332
         (1956) and Federal Power Commission v. Sierra Pacific Power Co., 350 U.S. 348
         (1956).
                22
                 See, e.g., Clean Energy Coalition June 28 Delinquency Letter Response at 7-9;
         Solar Energy Industries Association August 23, 2021 Protest at 3-6.
Document Accession #: 20211020-4004             Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                           -8-


         to join.23 As set forth more fully below, I would have found application of the Mobile-
         Sierra standard appropriate under the standard itself.

         12.    Several protestors raise concerns regarding the (i) public availability and quality of
         data related to the energy exchange as it relates to the ability to monitor the Southeast
         EEM for exercises of market power and market manipulation24 and (ii) the independence
         and transparency of the Administrator and Auditor roles and the Membership Board’s
         control over those roles.25 I would have found, however, that the Southeast EEM
         proposal strikes a balance between (i) providing the Commission with appropriate
         information to monitor the Southeast EEM for the exercise of market power and market
         manipulation and providing the public with sufficient information to understand the
         Southeast EEM’s performance and (ii) protecting confidential and commercially sensitive
         information. In addition, under the proposal, the roles and responsibilities of the
         Administrator and Auditor are set forth clearly and, as I noted above, their combined
         roles add to a just and reasonable proposal. As a result, I again would have found the
         proposal to be just and reasonable and not unduly discriminatory or preferential on these
         points as well.

         13.     A number of protestors claim that a high barrier is created to participation in
         Southeast EEM by its participation requirements and that those barriers may limit the
         services Participants can offer or access to NFEETS.26 Among the concerns expressed in
         this regard are the limitation of participation to entities within the territory defined by the
         Southeast EEM and the three-counterparty rule regarding enabling agreements. Once
         again, I would have found the proposal to be just and reasonable and not unduly
         discriminatory and preferential as to these issues. For example, as the Filing Parties
         explain, these requirements are necessary to ensure the technical feasibility of the
         Southeast EEM. The Filing Parties note that it is not technically feasible at this time to

                23
                     June 7 Deficiency Response at 40-41.
                24
                   See, e.g., Voltus March 15 Protest at 5; CCEBA March 15 Comments at 2
         (citing Clean Energy Coalition March 15 Comments at 18-22); PIOs March 15 Limited
         Protest at 36-37.
                25
                  See, e.g., PIOs March 15 Limited Protest at 37-38, 40-41; Public Citizen March
         15 Protest at 3; Clean Energy Coalition March 15 Comments at 24-25; R Street Institute
         March 15, 2021 Comments at 5.
                26
                   See, e.g., Voltus March 15 Protest at 4-5; SREA March 15 Comments at 4;
         Environmental Defense Fund March 15, 2021 Comments at 7-8; PIOs March 15 Limited
         Protest at 50.
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                       -9-


         allow entities outside the territory to participate in the Southeast EEM, for example,
         because “transactions involving the use of transmission outside of the Territory. . . would
         require the coordination of e-Tags with non-NFEETS providers in the less-than-20
         minute timeframe required, which is not possible at this time.”27 Moreover, as I have
         noted, this proposal represents an enhancement to a bilateral system in which enabling
         agreements are not unusual and therefore represent the continued use of an existing
         mechanism.

         14.    Some commenters claim that a lack of a market power analysis of the Southeast
         EEM is a concern and, for example, makes the Southeast EEM proposal incomplete.28 I
         similarly would have found the proposal just and reasonable as to this point because there
         is no new product introduced which would require a new market power analysis.

         15.     In addition, concerns are expressed over NFEETS, including the potential of
         undue discrimination to entities with firm transmission rights and that NFEETS acts as a
         discount to transmission. Further, some protestors argue that the Southeast EEM creates
         a loose power pool and therefore must allow open membership to comply with the
         Commission’s open access requirements established in Order Nos. 888 and 888-A.29
         Again, I would have found the proposal just and reasonable and not unduly
         discriminatory or preferential. First, there is no discount to transmission; otherwise
         unused non-firm transmission is to be used in NFEETS and it is made available only after
         all other transmission customers make their transmission reservations.30 Second, the
         proposal does not meet the requirements for creating a loose power pool established by
         Order No. 888-A.31

         16.    The Commission is obligated to rule on only the proposal before it, not some
         hypothetical version that some may claim would have been better in some ways, in effect,
         more just and reasonable. It is a truism that to meet the 205 standard, a proposal does not
         have to be the best of all conceivable proposals, only good enough to meet the 205

                27
                     Filing Parties March 30 Answer at 44.
                28
                     See, e.g., Clean Energy Coalition March 15 Comment at 27.
                29
                See, e.g., id. at 9-14; PIOs March 15 Limited Protest at 6-13; CCEBA March 15
         Comments at 2; see also Advanced Energy Economy, Advanced Energy Buyers Group,
         Renewable Energy Buyers Alliance (collectively, Clean Energy Customers) August 23,
         2021 Comments at 4-5.
                30
                     Southeast EEM Transmittal at 24-25.
                31
                     Order No. 888-A, FERC Stats. & Regs. ¶ 31,048 at 31,235.
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                       - 10 -


         standard; the Southeast EEM proposal clearly is and I would have accepted that proposal
         under section 205 as it meets the applicable legal standard.

         17.    As I noted above, much of the opposition to and criticism of the Southeast EEM
         Agreement follows a common theme: that the Southeast EEM Agreement falls short of
         creating a new Southeastern RTO or falls short of laying the foundation that would lead
         to such a new Southeastern RTO.32 Many of the comments or protests to this proposal
         seek to force RTO-type governance structures and procedures on the SEEM proposal.


                32
                   See, e.g., PIOs March 15 Limited Protest at 63-64 (encouraging the Commission
         to engage in a technical conference to determine, inter alia, the benefits of RTOs and
         ISOs over the Southeast EEM and whether instituting the Southeast EEM would “impede
         or delay” market reform in the Southeast and concluding “The Commission has an
         opportunity to exercise its authority to establish a foundation for wholesale market reform
         in the Southeast. This foundation, instead of being fashioned by the self-interest of the
         long-time monopoly utilities in the region, would enable the competitive procurement of
         clean energy and hold down costs for customers in a manner that reflects the views of the
         many public and private entities that have so much at stake in how the Southeast’s
         electricity system evolves.”); Voltus Protest March 15 at 6 (“Part of the question is
         whether utilities can set up a bilateral trading structure that largely benefits themselves –
         with only pass through consumer benefits – without even discussing an RTO structure.
         Given this – and the CLEAN Future Act’s proposal that all public utilities place their
         transmission under the control of an RTO or ISO – Voltus proposes FERC convene a
         joint conference with the relevant electric retail regulatory authorities (RERRAs) in the
         involved states to explore the benefits and costs of establishing an RTO/ISO in the
         Southeastern U.S.” (footnote omitted)); SREA March 15 Comments at 2 (SREA
         “supports the development of an independent organized energy market in the South.
         While the Southeastern Energy Exchange Market. . .is a step towards better market
         efficiency, we are concerned that this step will become a stumbling block on the longer
         journey towards true market reform”); Clean Energy Coalition March 15 Comments at
         32-33 (“If only one state in the SEEM footprint were to participate in an RTO, that
         decision alone is projected to have greater customer benefit than all of the utilities’
         participation in SEEM is claimed to have. If the Southeast were to band together to
         create a new RTO, the potential benefits could total in the hundreds of billions by 2040.
         The Clean Energy Coalition encourages the SEEM Filing Entities and the Commission to
         think more ambitiously than the proposal offered in these proceedings, given the
         tremendous upside to true regional market integration.” (footnotes omitted)); Clean
         Energy Coalition II June 28 Response Delinquency Letter at 4-5 (“Evidence is mounting
         that a robust and economically efficient competitive regional wholesale market in the
         Southeast would provide significant benefits to the region, well above the benefits
         projected by the SEEM Members to be realized through the SEEM Proposal. In addition
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                       - 11 -


         18.     The advocacy by various intervening interest groups for FERC to use this
         proceeding to impose an RTO or proto-RTO structures misses a key point: the decision
         whether to form a new RTO in the states covered by this proposal is a policy decision
         that is ultimately for the elected policy-makers in those states to make, not for FERC to
         impose. If some want to claim that consumers would do better in an RTO than in the
         state-regulated models prevalent in these Southeastern states – an open question, to say
         the least – we can certainly have that debate, but it is for another forum. This proceeding
         is about one question only: whether the Southeast EEM proposal meets the section 205
         standard. Answer, as set forth above: it does.

         19.    Claims that the Southeast EEM proposal will actually harm consumers are
         specious – part of the campaign to force these states into an RTO-type structure –
         particularly in view of data indicating that consumers in the states represented in the
         Southeast EEM footprint33 already enjoy average retail rates lower than the national
         average retail rate under their existing state regulatory frameworks.34 Notably, not a
         single state utility commission expressed opposition to this proposal.


         to the joint section 209 hearing proposed above, the Commission should convene a
         technical conference amongst itself, its staff, SEEM members, and stakeholders to
         facilitate a moderate discussion regarding comprehensive market reform in the Southeast.
         The Clean Energy Coalition is confident that such a technical conference would reveal
         that the benefits associated with establishing a true electricity market in the Southeast (be
         they economic, reliability-based, or environmental) far outweigh the costs. The
         Commission should not let this be the end of the matter.” (footnotes omitted)); Clean
         Energy Customers Comments August 23 at 5-6 (“[T]he Commission can, and should, do
         more to encourage an inclusive conversation about the future of wholesale markets
         developments in the Southeast. Now is the time to convene a forum by which
         stakeholders, including state regulators and policy makers, can begin establishing a
         collaborative process to consider the costs and benefits of more robust competitive
         markets in the Southeast. By broadly soliciting input from stakeholders and establishing
         a technical conference separate and apart from this docket the Commission can allow
         consideration of all relevant facts and circumstances, including by stakeholders most
         impacted. The Commission has an important role to play in ensuring that this
         conversation moves forward and can use its convening tools to ensure that the views of
         states and consumers on the future of the region’s wholesale market are heard and
         considered.”).
                33
                     Southeast EEM Transmittal at 5.
                34
                  See https://www.eia.gov/electricity/state/ . Information compiled by the Energy
         Information Administration (EIA), the statistical and analytical agency within the U.S.
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                       - 12 -


         20.     The Mobile-Sierra issue provides no basis to vote against the Southeast EEM. A
         grant of Mobile-Sierra status to the provisions remaining after the Filing Parties
         voluntarily withdrew their request for such status from the majority of the Agreement’s
         provisions, as was proffered in response to the May 4 Deficiency Letter,35 should have
         been approved. So, all the provisions, including those withdrawn in the Response to the
         May 4 Deficiency Letter, will now receive Mobile-Sierra protection as requested in the
         original filings. While I was prepared to vote on August 6 to approve the filings with the
         proffered Mobile-Sierra withdrawals, I see no reason or basis to differentiate among them
         at this point. The real issue here, however, is not hidden in the weeds of legal minutiae
         over how to interpret our past precedent concerning application of Mobile-Sierra, which
         is muddled at best even before considering the question of how those precedents line up
         with judicial opinions. The Mobile-Sierra issue does not exist in a hermetically sealed
         vacuum in this case, and it is unrealistic to pretend that it does. Refusal to grant any
         Mobile-Sierra protection even to the remaining provisions after the proffered withdrawal
         – when we could have – empowers those interests opposing the Southeast EEM by
         making it easier for these opponents to attack and undermine the Southeast EEM in a
         later section 206 proceeding at this Commission.36 The Filing Parties’ request for


         Department of Energy, exists concerning average retail rates in the various states. I
         consulted EIA’s figures for 2019, the last full year before the pandemic may have had
         some impact on data. While I understand that adjustments can be made to the average
         retail rates published in EIA’s reports, I accept the data for what they are, averages both
         national and state-specific. The average retail rate for the United States in 2019 was
         10.54 cents/kWh. Id. The 2019 average retail rate for each of the states reflected in the
         Southeast EEM proposal’s footprint is lower. See id.; see also, Southeast EEM
         Transmittal at 5.
                35
                  See, e.g., June 7 Deficiency Response at 41 (noting that “[m]ost of the Southeast
         EEM Agreement” would not have been subject to the Mobile-Sierra presumption under
         the June 7 Deficiency Letter Response, including the Market Rules).
                36
                    Commissioner Clements foresees future section 206 complaints against SEEM,
         and lists the potential allegations: “Applying the Mobile-Sierra standard would therefore
         inappropriately make any future challenge to the justness and reasonableness of the
         Southeast EEM Agreement more difficult. This is particularly problematic here given the
         concerns with undue discrimination, governance, market power, and manipulation that
         the proposal presents.” Comm’r Clements Southeast EEM Statement at P 7 (emphasis
         added). Chairman Glick also raises the prospect of just such future attacks: “Applying
         the Mobile-Sierra presumption in these circumstances will make it more difficult for third
         parties or even the Commission to mount legitimate challenges in the future to the
         justness and reasonableness of the Southeast EEM.” Chairman Glick Southeast EEM
Document Accession #: 20211020-4004              Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                      - 13 -


         Mobile-Sierra protection against such future attacks on the contractual provisions should
         have been granted because – once again – this is not an RTO, not a halfway-house to an
         RTO, but simply a contractual arrangement for utilities in the Southeast to engage in
         bilateral trading.

         21.    In sum, the Southeast EEM application clearly meets the standard to be approved
         under section 205 and I would have voted to approve. It is sad that this proposal, which
         offers undeniable benefits to consumers both in terms of reliability and lower costs, could
         not command at least three votes.

         22.     Now to turn to a procedural issue. On October 13, 2021, a Notice was issued in
         eight of the above-referenced dockets as the Commission could not issue an order due to
         a 2-to-2 division among the Commissioners. In that Notice, the filings related directly to
         Southeast EEM Agreement – but not those four related to the OATT revisions which
         were always part of the Southeast EEM proposal package – were confirmed to have gone
         into effect by operation of law.

         23.     Regardless of legal arguments related to the Notice’s exclusion of the four OATT
         filings from approval by operation of law, as a matter of procedural fairness the OATT
         revisions could and should have been accepted with a simple order issued by this
         Commission. I would have voted for such an order, which I strongly believe would have
         been appropriate given the way the Southeast EEM proposal has been managed and
         handled by the Commission.37

         24.    The Filing Parties stated that the filings across these dockets were made as a
         package.38 After changes in the effective date necessitated by two deficiency letters, the
         Filing Parties selected October 12, 2021 as an effective date for all of the filings.39 The

         Statement at P 11 (emphasis added).
                37
                     See, e.g., supra at n.10.
                38
                    See Southern Companies, Docket No. ER21-1125, February 12, 2021
         Transmittal at 3 (“The Southeast EEM filings are a package. Commission action on all
         filings is necessary so that Southern Companies and other Southeast EEM Members can
         have the regulatory certainty they need to move forward with any significant additional
         Southeast EEM financial commitments to bring this enhanced market to fruition for the
         benefit of customers as quickly as possible.”); see, e.g., Dominion South Carolina,
         Docket No. ER21-1128, February 12, 2021 Transmittal at 3; Duke Progress & Duke
         Carolinas, Docket No. ER21-1115, February 12, 2021 Transmittal at 3; LG&E/KU,
         Docket No. ER21-1118, February 12, 2021 Transmittal at 3.
                39
                     Southern Companies, Docket No. ER21-1111, August 11 Deficiency Response
Document Accession #: 20211020-4004            Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                        - 14 -


         Secretary issued a Combined Notice that reflected that each of the filings was made under
         section 205(d) and again confirming a 60 day clock.40 Southern Companies noted that
         they followed guidance that the filings needed to be made in multiple dockets41 and that
         the OATT revisions should bear a date in eTariff of 12/31/9998 as the transmission
         revisions should only go into effect at a later date when the service was established under
         the market structure approved by the Commission.42 In sum, the Filing Parties spoke
         clearly through their filings about their intentions, the reasons the filings were made
         through multiple dockets, what sources they relied on to make their filings and that these
         multiple filings were all related and part of the same package.

         25.     There can be no credible argument that the Filing Parties did not at all times act in
         good faith as they navigated the Commission rules, protocols and technical requirements
         for making all of these filings. This is especially true since neither of the two deficiency
         letters noted any issue or potential concern with respect to the manner in which the
         OATT filings were made and given that they were all part of the same package. It
         follows that inaction by the Commission on these filings due to a lack of a majority
         should have resulted in all dockets being treated as a package by publishing a Notice that
         the entire package was effective by operation of law or, and preferably, simply issuing
         the necessary order accepting the OATT filings as of October 12, 2021, the date the rest
         of the filings went into effect by operation of law.




         at 9.
                 40
                February 12, 2021 Combined Notice of Filing #1 and February 12, 2021
         Combined Notice of Filing #2 describing each docket as filed under 205(d).
                 41
                   See Southeast EEM Transmittal at 3 (defining the Tariff Filings, Concurrence
         Filings and the Agreement Filings collectively as the Southeast EEM Filings and stating
         that “eTariff requirements mandate that each of the Southeast EEM Filings have its own
         docket. . . .”)
                 42
                   See, e.g., Southern Companies, Docket No. ER21-1125, February 12, 2021
         Transmittal at 12, n.39 (citing Implementation Guide for Electronic Filing of Parts 35,
         154, 284, 300, and 341 Tariff Filings at 10 (last updated on Nov. 14, 2016) (“If the
         effective date is not known at the time of the filing, such as the effective date is
         contingent on FERC approval, the closing of a plant sale, etc., the date of 12/31/9998
         must be used.”)).
Document Accession #: 20211020-4004           Filed Date: 10/20/2021

         Docket No. ER21-1111-001, et al.                                                      - 15 -




         26.    As I stated, regardless of the arguments both legal and equitable, however, there is
         a readily available cure. We can and should issue the appropriate technical order
         accepting the OATT revision filings, and we should do so promptly. I would have voted
         for such an order.




         ______________________________

         Mark C. Christie
         Commissioner
Document Accession #: 20211020-4004   Filed Date: 10/20/2021

   Document Content(s)
   FINAL 10-20-21 CHRISTIE SEEM STATEMENT.docx...............................1
                        UNITED STATES OF AMERICA
                 FEDERAL ENERGY REGULATORY COMMISSION

Alabama Power Company                                      Docket Nos.     ER21-1111-002

Dominion Energy South Carolina, Inc.                                       ER21-1112-002

Louisville Gas and Electric Company                                        ER21-1114-002

Duke Energy Carolinas, LLC                                                 ER21-1116-002

Duke Energy Progress, LLC                                                  ER21-1117-002

Georgia Power Company                                                      ER21-1119-002

Kentucky Utilities Company                                                 ER21-1120-002

Mississippi Power Company                                                  ER21-1121-002



                           STATEMENT OF CHAIRMAN GLICK
                                 (Issued October 20, 2021)

        Expanding regional electricity markets is one of the single most important steps
that the Commission can take to save customers money, enhance reliability, and integrate
intermittent resources most efficiently. I believe regional transmission organizations
(RTOs) and independent system operators (ISOs) are, by far, the best way to achieve
these benefits. That is also true for the Southeastern United States. From my
perspective, utilities and other stakeholders in this region should be working to establish
an RTO/ISO in the Southeast for the benefit of consumers and to promote grid reliability.
But that is not the proposal presented to us in this docket. Instead, the parties submitted a
filing pursuant to section 205 of the Federal Power Act (FPA) proposing to establish the
Southeast Energy Exchange Market (Southeast EEM) to facilitate bilateral trading in the
Southeast. And we were called upon to determine whether this proposal is just and
reasonable and not unduly discriminatory or preferential, not whether there is a better
option for the region—in my opinion, there clearly is.

       I believe that much of the Southeast EEM proposal arguably satisfies the Section
205 standard. However, I voted no in large part because the filing parties’ proposal to
apply the Mobile-Sierra public interest presumption to the Southeast EEM Agreement
violates well-established Commission precedent. When Mobile-Sierra applies, the

                                              1
Commission must presume that the relevant agreement meets the statutory just-and-
reasonable standard, so the agreement can only be changed if it seriously harms the
“public interest,” a significantly higher evidentiary hurdle.1

       That is important here because I share some of Commissioner Clements’s
concerns over transparency and the potential for the exercise of market power and
manipulation in the Southeast EEM. But I believe that the Commission’s monitoring
capabilities, enforcement authority, and ability to institute an FPA section 206 action
provide adequate protections should any Southeast EEM members or participants engage
in any conduct that may transgress the FPA or Commission regulations.

       That is true, however, only if the Commission’s section 206 authority is not
hamstrung, for instance, by the improper application of the Mobile-Sierra presumption.
And because the Southeast EEM proposal would apply Mobile-Sierra in a manner
inconsistent with our precedent—I voted no. In the balance of this statement, I lay out
my “views . . . with respect to the change” submitted by the Southeast EEM parties in the
above-captioned dockets, as section 205(g) of the FPA requires when a filing goes into
effect by operation of law after a 2-2 vote of the Commission.2

                                      *      *      *

        Currently, the Southeast region operates as a traditional wholesale electricity
market. Trading occurs bilaterally under wholesale power sales contracts. Trades
generally occur on an hourly basis as the shortest increment, and usually only amongst
entities in the same or directly interconnected balancing authority areas. Parties must use
phone or electronic communication tools to negotiate terms of sale, arrange for
transmission service, and schedule delivery.

       The Southeast EEM represents a step toward modernizing this antiquated
approach. The proposal will establish a new automated electronic trading platform
designed to facilitate bilateral trading in the Southeast region. The platform will use an
algorithm to match willing buyers and sellers for 15-minute transactions, facilitated by a

       1
         See NRG Power Mktg., LLC v. Me. Pub. Utils. Comm’n, 558 U.S. 165, 174
(2010) (“In unmistakably plain language, Morgan Stanley restated Mobile–Sierra’s
instruction to the Commission: FERC ‘must presume that the rate set out in a freely
negotiated wholesale-energy contract meets the ‘just and reasonable’ requirement
imposed by law. The presumption may be overcome only if FERC concludes that the
contract seriously harms the public interest.’”) (quoting Morgan Stanley Capital Grp. Inc.
v. Pub. Util. Dist. No. 1, 554 U.S. 527, 530 (2008)).
       2
         16 U.S.C. § 824d(g); Alabama Power Co., et al., Notice, Docket Nos. ER21-
1111, et al. (issued Oct. 13, 2021) (taking effect by operation of law).

                                             2
zero-charge transmission service (Non-Firm Energy Exchange Transmission Service or
NFEETS) offered by participating transmission providers. Under the Agreement,
NFEETS will be available to all participants on the same terms. The Agreement covers a
substantial geographic footprint spanning ten states. The founding entities of the
Southeast EEM collectively own 160,000 MW of generating capacity and serve
approximately 640 TWh of load across ten balancing authority areas and two time zones.3
According to the filing parties, their proposal will produce approximately $40 million in
market-wide savings each year relative to the existing bilateral market; and, assuming
increased penetration of renewable resources, those savings are projected at $100 million
per year.

       To buy or sell energy through the Southeast EEM, an entity must join as a
participant. To become a participant, an entity must execute a participant agreement,
arrange to take NFEETS from each participating transmission provider, and enter into
“Enabling Agreements” with at least three other participants. The 14 entities that
executed the Southeast EEM Agreement are designated as members. To become a
member, an entity must be a load serving entity located in the Southeast EEM territory or
an association or governmental utility created for the purpose of providing energy to a
cooperative or governmental load serving entity in the territory. Under the Agreement,
members share the costs of developing and operating the Southeast EEM system. Each
member will have a seat on the membership board, responsible for all significant
decisions, while a revolving group of members will sit on the operating committee,
responsible for day-to-day operations.

        Considering the history of entrenched resistance to organized markets in the
Southeast, the Southeast EEM represents at least a positive step forward. Currently,
several large incumbent utilities serve most of the consumers in the Southeast as bundled
retail customers. Delivering power across multiple balancing authority areas in the
region requires multiple transmission reservations and payment of pancaked transmission
rates. A centralized and competitive wholesale market in the Southeast, or at least
something closer to that model, is a step in the right direction.

       But finding a proposal just and reasonable and not unduly discriminatory or
preferential under Section 205 of the FPA requires that it be more than just a step in the
right direction. The filing parties initially proposed to apply Mobile-Sierra to the entire
Southeast EEM Agreement and later narrowed that to a smaller subset of “enumerated
provisions.” I cannot support this part of the proposal because I believe that application
of the Mobile-Sierra presumption here violates Commission precedent. Under that well-



       3
        Alabama Power Company, Tariff Filing, Docket No. ER21-1111-000, at 4 (filed
Feb. 12, 2021) (Southeast EEM Transmittal).

                                             3
settled precedent, the Mobile-Sierra presumption applies to a contract “only if the
contract has certain characteristics that justify the presumption.”4

       The Southeast EEM Agreement fails this test. We have consistently held that
Mobile-Sierra does not apply to “generally applicable” contractual provisions, including
those that bind not just the parties to the contract but also would apply to any potential
future signatories with limited, if any, room for negotiation.5 The filing parties have
already conceded that the Mobile-Sierra presumption should not apply to the entire
Agreement: when they narrowed their proposal to apply Mobile-Sierra to just the
enumerated provisions, they acknowledged that “certain portions of the Southeast EEM
Agreement . . . may be perceived as being generally applicable in nature.” 6 Our prior
holdings require that we reject the imposition of Mobile-Sierra on even the enumerated
provisions of the Southeast EEM Agreement. Entities that may later seek to join the
Southeast EEM would need to accept the enumerated provisions “as is,” with limited
room for negotiation. New signatories thus would be placed in a position “that differs
fundamentally from that of parties who are able to negotiate freely like buyers and sellers
entering into a typical power sales contract that would be entitled to a Mobile-Sierra
presumption.”7 And the Southeast EEM filing parties have not shown “extraordinary” or
“compelling” circumstances that, under Commission precedent, would merit application
of Mobile-Sierra here as a matter of agency discretion.8 For these reasons, applying the

       4
           PJM Interconnection, L.L.C., 142 FERC ¶ 61,214, at P 182 (2013).
       5
         See, e.g., Arizona Pub. Serv. Co., 148 FERC ¶ 61,012, at P 4 (2014) (contrasting
settlement rates that apply only to parties to the settlement with another settlement
involving generally applicable rate schedules that apply to any entity for open access
service); PJM Interconnection, L.L.C., 142 FERC ¶ 61,214, at P 187 (2013) (stating that
the Commission’s conclusion that right of first refusal provisions at issue created
generally applicable requirements was “bolstered by the fact that any new PJM
Transmission Owner would have to accept these provisions as-is, with limited room for
negotiation”); ISO New England Inc., 150 FERC ¶ 61,209, at P 185 (2015); Sw. Power
Pool, Inc., 145 FERC ¶ 61,137, at P 9 (2013). Commissioner Danly concedes that my
position “has the weight of Commission precedent” on my side. Comm’r Danly
Statement at P 25. And while he cites broad statements in Supreme Court cases on
Mobile-Sierra extolling the public policy benefits of contractual stability as a general
matter, he offers no case—indeed, there is none—that contradicts either my position
against applying Mobile-Sierra under the circumstances of this proceeding or the
extensive Commission precedent on which I rely.
       6
           See June 7 Deficiency Response at 40.
       7
           ISO New England Inc., 150 FERC ¶ 61,209, at P 185.
       8
           See, e.g., High Island Offshore Sys., LLC, 135 FERC ¶ 61,105, at PP 23-25
                                              4
Mobile-Sierra public interest presumption to at least the enumerated provisions of the
Southeast EEM Agreement departs from our precedent without justification.9 I am
disappointed that a majority of the Commission did not reach this conclusion.

       We must always tread cautiously when determining whether a presumption that an
agreement satisfies the statutory “just and reasonable” standard is applicable. Had the
Commission been able to reach agreement on the Mobile-Sierra issue discussed above, I
believe that our existing statutory protections against undue discrimination would have
been sufficient to address protestors’ concerns about the Southeast EEM and to protect
consumers and market participants in the region. Applying the Mobile-Sierra
presumption in these circumstances will make it more difficult for third parties or even
the Commission to mount legitimate challenges in the future to the justness and
reasonableness of the Southeast EEM. Put simply, there is no need (and no basis) to
apply the Mobile-Sierra presumption here—and there is considerable risk to the public in
doing so.

       Aside from my disagreement on the Mobile-Sierra issue, I was willing to support
the Southeast EEM proposal—as modified by the filing parties’ June 7 and August 11
responses10 to Commission deficiency letters—because I believe the modified proposal
otherwise meets the “just and reasonable” standard of section 205 of the Federal Power
Act. Our role here is to decide only whether the proposal before us meets that standard—
not whether the filing parties have chosen the best available option, which in my view is
to establish an RTO.11 The Southeast EEM filing parties have proposed essentially a

(2011); Devon Power, 137 FERC ¶ 61,073, at P 37 (2011).
      9
         The Mobile-Sierra question is not “weeds of legal minutiae.” Comm’r Christie
Statement at P 20. The doctrine, which has been repeatedly addressed by the U.S.
Supreme Court, establishes the standard for Commission modifications to the agreements
at issue here, implicating both our statutory authority and our duty to protect consumers.
See NRG Power Mktg., 558 U.S. at 172 (noting origins of the doctrine in Supreme Court
decisions from 1956).
      10
         See, e.g., June 7 Deficiency Response at 17-18 (committing to providing
additional transaction data in response to concerns about opportunities for market
manipulation under the Southeast EEM Agreement); August 11 Deficiency Response at
3-4 (committing to additional restrictions on sharing of non-public market information
received through the Southeast EEM).
      11
          See, e.g., PJM Interconnection, L.L.C., 170 FERC ¶ 61,243, at P 57 (2020)
(citing Petal Gas Storage, L.L.C. v. FERC, 496 F.3d 695, 703 (D.C. Cir. 2007); City of
Bethany v. FERC, 727 F.2d 1131, 1136 (D.C. Cir. 1984); Cal. Indep. Sys. Operator
Corp., 128 FERC ¶ 61,282, at P 31 (2009)).

                                            5
matching platform for bilateral transactions. The intent of this platform, as these parties
have stated, is to augment the existing bilateral nature of energy transactions in the
region. And the stated benefits of this platform, though unverified, appear to be
meaningful: The filing parties project over $100 million per year in market-wide savings
by 2037 assuming higher renewable and energy storage penetration across the region, or
$40 million per year relative to the current bilateral market under a more conservative
estimate.

       For customers to realize such benefits, however, market outcomes must be the
product of genuine competition, not market manipulation. For this reason, I share the
concern of many that the Southeast EEM Agreement may present opportunities for the
participants to engage in manipulation.12 The Southeast EEM parties made
commitments, in their responses to deficiency letters, to provide additional transparency
safeguards.13 While the original filings, not those subsequent responses, go into effect by
operation of law, I urge the parties to stand by their additional commitments on
transparency.

       Indeed, without those commitments embodied in the filing parties’ responses to
the deficiency letters, the Southeast EEM may be unjust and unreasonable under section
206 of the Federal Power Act. These added safeguards are necessary to protect
consumers and market participants from anticompetitive conduct. For example, the filing
parties’ commitment to providing extensive transaction data on a weekly basis will
enable the Commission to be aware of any abusive conduct. The filing parties also
offered critical transparency measures to protect market participants and consumers: by
publicly posting, with appropriate confidentiality limitations, any information requests
from regulators and the Southeast EEM Auditor’s responses to such requests. Beyond
what the parties have offered, the Commission has the tools—and stands ready—to
investigate any potential fraudulent or manipulative conduct and take any corrective
action as needed, including imposing civil penalties. As I have often stated, guarding
against market manipulation remains one of the core obligations vested in this agency by
Congress. I intend for the Commission to continue to remain vigilant on this front.

       I believe the parties’ Southeast EEM proposal, while admittedly not perfect, is a
positive first step on the road to regionalization. The better outcome here, in my view, is
for markets like the Southeast to move toward organized wholesale electricity markets.
RTOs and ISOs have led to significant benefits for consumers across the country,
including more efficient coordination and dispatch of generation, enhanced reliability,


       12
         See, e.g., Comments of Advanced Energy Economy, et al., at 23-24 (Mar. 15,
2021); Protest of Public Interest Organizations, at 24-26 (Mar. 15, 2021).
       13
            June 7 Deficiency Response at 17-19; Filing Parties July 14 Answer at 8-15.

                                              6
and more effective integration of renewable resources.14 As the generation mix
transforms rapidly before our eyes,15 the benefits of organized wholesale markets will
continue to accrue in the future—particularly when it comes to both meeting our nation’s
critical need to rapidly integrate massive amounts of new renewable resources at
relatively low costs and minimizing disruptions to energy markets from extreme weather
events.

       Finally, both Commissioners Danly and Christie raise objections to the omission
of the parties’ open access transmission tariff filings from the Secretary’s October 13,
2021 notice of the filings that went into effect by operation of law effective October 12,
2021. In their view, all twelve dockets related to the Southeast EEM proposal should
have gone into effect by operation of law, rather than only the eight that were included in
the notice. Their preferred result would unsettle established Commission precedent and
introduce significant uncertainty into Commission proceedings.16

       In enacting the FPA, “Congress did not set forth any filing procedures. Rather, it
expressly authorized the FERC to prescribe rules and regulations pertaining to rate filings
and to designate the form of such filings.”17 Under that authority, the Commission has

       14
         See, e.g., Pac. Gas & Elec. Co., 168 FERC ¶ 61,038 (2019) (Glick, Comm’r,
concurring at P 4); Regional Transmission Organizations, Order No. 2000, 89 FERC
¶ 61,285, 1999 WL 33505505, at *37-38 (2000).
       15
         Building for the Future Through Electric Regional Transmission Planning and
Cost Allocation and Generator Interconnection, 176 FERC ¶ 61,024 (2021) (Glick,
Chairman, and Clements, Comm’r, concurring at P 4).
       16
           Separately, Commissioner Danly calls for a remand based on his suggestion that
the Commission has “accept[ed]” only “half of a proposed rate” in violation of the D.C.
Circuit’s NRG Power Marketing decision. Comm’r Danly Statement at P 31 & n.76. But
NRG is inapt. NRG Power Mktg., LLC v. FERC, 862 F.3d 108, 115 (D.C. Cir. 2017).
There, the court held that the Commission could not “suggest modifications that result in
an ‘entirely different rate design’ than the utility’s original proposal or the utility’s prior
rate scheme.” Id. (emphasis added). Here, the Commission, as a result of a 2-2 split, has
merely let filings go into effect on their proposed effective date, as required by section
205 of the FPA. It has not “modified” a rate in any respect. Moreover, Commissioner
Danly’s theory is undercut by the filing parties themselves, who expressly asked the
Commission not to consolidate their filings, foreclosing the possibility that these filings
are part of a single rate for the purposes of NRG. Southeast EEM Members, Answer,
Docket Nos. ER21-1111, at 54 (filed Mar. 30, 2021) (“Notwithstanding the common
nexus of facts, the filings are by different entities who retain their individual Section 205
rights.”).
       17
            Ala. Power Co. v. FERC, 22 F.3d 270, 272-73 (11th Cir. 1994) (citing 16 U.S.C.
                                               7
adopted regulations, by notice-and-comment rulemaking, regarding the electronic filing
of tariffs, including the rules governing the use of proposed effective dates. Pursuant to
these regulations, only filings with statutory action dates become effective in the absence
of Commission action.18 And it is longstanding Commission practice even before the
emergence of electronic tariff filing—again, codified through notice-and-comment
rulemaking—to determine the effective dates of section 205 filings based on the effective
dates proposed by the filing parties in their tariff sheets.19 Since the advent of the
Commission’s eTariff filing system in 2010, parties have relied on those rules when filing
nearly 1,200 statutory filings with open-ended effective dates.20

      Here, four of the relevant 12 filings incorporated open-ended proposed effective
      21
dates. As a result, these four filings did not become effective on October 12, 2021,

§ 824d(c)).
       18
          18 C.F.R. § 35.7(d) (“Only filings filed and designated as filings with statutory
action dates in accordance with these electronic filing requirements and formats will be
considered to have statutory action dates.”); see also 18 C.F.R. § 385.205(b) (filings
without statutory action dates “will not become effective should the Commission not act
by the requested action date”); Electronic Tariff Filings, Order No. 714-A, 147 FERC
¶ 61,115, at P 4 (2014) (“The regulations now will provide explicitly that only tariff
filings properly filed as and designated as statutory filings according to the Commission’s
eTariff requirements will be considered to have statutory action dates, and that tariff
filings not properly filed and designated as statutory filings will not become effective in
the absence of Commission action.”); Pioneer Transmission, LLC, 169 FERC ¶ 61,265,
at P 20 (2019) (“Any filer who desires to have its section 205 filing subject to the
statutory clock must follow the prescribed eTariff filing format.”).
       19
          See Designation of Electric Rate Schedule Sheets, Order No. 614, FERC Stats.
& Regs. ¶ 31,096, at 31,504 (2000) (“It is thus incumbent upon utilities to
unambiguously identify their proposed changes in a manner conforming to the
Commission’s regulations including properly formatting and designating their proposed
tariff sheets. . . . It is not the function of this Commission to speculate on the nature of an
applicant’s filing (for example, what a utility intends as the effective date) nor is it our
function to, on our own, perfect a utility’s application.”).
       20
         Statutory filings are filings made pursuant to section 205 of the FPA, section 4
of the Natural Gas Act, and section 6 of the Interstate Commerce Act.
       21
          See Alabama Power Co., Transmittal, Docket No. ER21-1125, at 12 & n.36
(filed Feb. 12, 2021) (“While the Southeast EEM Commencement Date is anticipated to
occur sometime in the first quarter of 2022, the exact date is unknown at this time. The
Southeast EEM Commencement Date will be determined by the Members in accordance
with the provisions of Section 4.1.9(a)(v) of the Southeast EEM Agreement.
                                               8
when the Commission failed to act within 61 days of the filing date. Despite
Commissioner Christie’s statements to the contrary, the record shows that the applicants
understood these rules,22 expressly sought an open-ended effective date,23 and opposed
consolidation.24 As the filing parties also recognized, their use of an open-ended
effective date requires action by the Commission in the form of a waiver of agency
regulations.25 The Secretary’s October 13 notice fully complies with the statute as well
as with the Commission’s regulations and precedent, and is consistent with the filing

Accordingly, Southern Companies are using an open-ended effective date (12/31/9998),
consistent with Commission guidelines.”) (emphases added).
       22
          Commissioner Christie implies that the applicants might have been confused by
the Commission’s eTariff rules, but he also concedes that the applicants intended that
“the transmission revisions should only go into effect at a later date when the service
was established under the market structure approved by the Commission,” and he cites
applicants’ own statement that they used a 12/31/9998 effective date for that reason.
Comm’r Christie Statement at P 24 (emphasis added). The applicants therefore followed
the Commission’s eTariff rules exactly as expected, given their own request that the
OATT revisions take effect at an unknown point after, not coincident with, the Southeast
EEM Agreement. Commissioner Christie’s criticism of Commission staff for not raising
such eTariff issues in the deficiency letters is unfounded. Those letters sought additional
information in light of deficiencies in the filings—but the open-ended proposed effective
date for their OATT filings, chosen by the filing parties at their discretion, was not a
deficiency.
       23
          Alabama Power Co., Transmittal, Docket No. ER21-1125, at 12 (filed Feb. 12,
2021) (“An effective date prior to the Southeast EEM Commencement Date would be
inconsistent with current non-Southeast EEM operations and illogical because NFEETS
can be taken only in conjunction with Energy Exchanges. . . . Southern Companies
respectfully request that the Commission act on this filing within 90 days of filing.”)
(emphasis added); Duke Energy Carolinas, LLC and Duke Energy Progress, LLC,
Transmittal, Docket No. ER21-1115, at 12-13 (filed Feb. 12, 2021) (same); Dominion
Energy South Carolina, Inc., Transmittal, Docket No. ER21-1128, at 11-12 (filed Feb. 12,
2021) (same); Louisville Gas & Elec. Co., Transmittal Letter, Docket No. ER21-1118, at
12-13 (filed Feb. 12, 2021) (same).
       24
         Southeast EEM Members, Answer, Docket Nos. ER21-1111, at 54 (filed Mar.
30, 2021).
       25
         See, e.g., Alabama Power Co., Transmittal, Docket No. ER21-1125, at 12 (filed
Feb. 12, 2021) (“In addition, because the requested effective date may be more than 120
days after the date these OATT revisions are filed with the Commission, Southern
Companies seek waiver of Section 35.3(a)(1) of the Commission’s regulations.”).

                                             9
parties’ discretionary choice to include effective dates on some—but not all—of their
submissions.

       Still, there remains an easy solution for the filing parties: In the event that the
Commission has not acted on their filings, when they know the implementation date for
the Southeast EEM, they can establish an effective date by submitting an amended filing
with the proposed date on which their OATTs will become effective; in the absence of
Commission action, this filing will go into effect on the later of their proposed effective
date or 61 days from the date of filing.26

                                       *      *       *

       Under FPA section 205, our role is to evaluate whether the proposal before us is
just and reasonable and not unduly discriminatory or preferential. As described above,
while on balance I believe the proposal comes close to meeting that standard, I cannot
support application of the Mobile-Sierra presumption in these circumstances. To do so
would run contrary to Commission precedent and undermine our ability to protect
consumers under the Southeast EEM.



________________________
Richard Glick
Chairman




       26
          Notice of Procedures for Making Statutory Filings when Authorization for New
or Revised Tariff Provisions is Not Required, Docket No. RM01-5, at 5 (June 3, 2020)
(the effective date on which a public utility filing goes into effect in the absence of
Commission action is “the later of either the 61st day after the date of filing or the earliest
of the proposed tariff record effective dates that is after the 61st day”).

                                              10
Document Accession #: 20211020-4003           Filed Date: 10/20/2021




                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Alabama Power Company                                        Docket Nos. ER21-1111-002
         Dominion Energy South Carolina, Inc.                                     ER21-1112-002
         Louisville Gas and Electric Company                                      ER21-1114-002
         Duke Energy Carolinas, LLC                                               ER21-1116-002
         Duke Energy Progress, LLC                                                ER21-1117-002
         Georgia Power Company                                                    ER21-1119-002
         Kentucky Utilities Company                                               ER21-1120-002
         Mississippi Power Company                                                ER21-1121-002

                              STATEMENT OF COMMISSIONER CLEMENTS

                                          (Issued October 20, 2021)


                 The proposed Southeast Energy Exchange Market (Southeast EEM) Agreement,
         filed in this proceeding pursuant to section 205 of the Federal Power Act (FPA),1 by
         Southern Company Services, Inc. as agent for Alabama Power Company, and on behalf
         of itself and the other prospective Members, went into effect by operation of law because
         the Commissioners are divided two against two as to the lawfulness of the market. That
         means that the Commission did not determine whether the proposed market is just and
         reasonable and not unduly discriminatory or preferential. When this happens, section
         205(g) of the FPA2 requires each Commissioner to issue a “written statement explaining
         the views of the Commissioner with respect to the change[s].”3

                 While I am an ardent supporter of market formation across the electricity sector as
         a means of harnessing competition to ensure better outcomes for customers, market
         formation cannot be blessed at the expense of compromising the Commission’s bedrock
         principles of ensuring open access to non-discriminatory rates and service, and applying
         adequate protections to markets to ensure just and reasonable rates. The cost and
         reliability benefits that all sorts of organized market structures have provided to
         customers, utilities, and regions—whether from tight power pools, RTOs, the more recent
         Western imbalance markets, or other constructs—are clear and compelling. While I
         appreciate the efforts of the Filing Parties in this proceeding toward increasing the

                1
                    16 U.S.C. § 824(d).
                2
                    Id. § 824d(g).
                3
                    Id.
Document Accession #: 20211020-4003            Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                          -2-

         efficiency of the existing Southeastern bilateral markets, I would have voted against the
         Southeast EEM as proposed by the Filing Parties. I believe the Southeast EEM, as
         proposed by the Filing Parties, fails to abide by the bedrock principles of open access and
         non-discrimination that were crystallized in the Commission’s landmark Order No. 888,
         and fails to ensure just and reasonable rates.

                 To be very clear, my lack of support for the instant proposal is not because I
         would prefer a different market structure or that I fail to appreciate the parameters of the
         legal inquiry that Section 205 prescribes. I am cognizant of Section 205’s requirements
         that we not let perfect be the enemy of the good and that we can only review the proposal
         in front of us.4 But legal insufficiency must foreclose Commission approval. In my
         view, the Southeast EEM, as proposed, contains infirmities that compel the Commission
         to find that the Filing Parties have not satisfied their legal burden. That is not to say that
         the Southeast EEM, or a similar market structure, has no path to legal sufficiency.
         Rather, as I discuss below, my concerns with this market could be addressed with some
         discrete changes to the membership and governance provisions, as well as a superior
         approach to market power and manipulation concerns.5

                  The Filing Parties’ proposal rests on two legally and factually flawed contentions:
         first, that the Southeast EEM is nothing more than an enhancement to the existing
         bilateral markets that currently exist in the Southeastern United States; and second, that
         no new evidence, analysis, or safeguards are required to reach the conclusion that there
         exists no opportunity for market power or manipulation across the proposal’s exchange
         platform.

                As I describe in more detail below, the proposed Southeast EEM is far from the
         existing bilateral market regime. The Southeast EEM is a multilateral market, with a
         unique (and large) footprint, designed to allocate limited rights to a new, desirable

                4
                  See, e.g., PJM Interconnection, L.L.C., Docket No. ER21-2582-000, Statement
         of Chairman Glick and Comm’r Clements, Oct. 19, 2021, at P 32 (“Under section 205, a
         utility does not need to show that the existing tariff is unjust and unreasonable, nor must
         it demonstrate that its proposal is the best option. Rather it must show only that its
         proposed tariff is just and reasonable [and not unduly discriminatory].”) (citing Emera
         Maine v. FERC, 854 F.3d 9, 21 (D.C. Cir. 2017); PJM Interconnection, L.L.C., 170
         FERC ¶ 61,243, at P 57 (2020); City of Winfield v. FERC, 744 F.2d 871, 874-75 (D.C.
         Cir. 1984)).
                5
                  In past similar circumstances, the Commission has taken the approach of
         rejecting initial proposals for new market constructs that fail to meet the requirements of
         section 205, and later approving revised proposals when those shortcomings were later
         addressed. See, e.g., Pub. Serv. Co. of Colorado, 151 FERC ¶ 61,248 (2015); Sw. Power
         Pool, Inc., 172 FERC ¶ 61,115 (2020).
Document Accession #: 20211020-4003           Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       -3-

         transmission product and match electric power supply and demand offers across a suite of
         potential exchange matches using a complex “black box” algorithm.6 The transmission
         product and matching service are accessible only to Southeast EEM market Participants
         that sign and obtain countersigned participation agreements and acquiesce to the
         platform’s governing rules, which are controlled by a coterie of preferred Members.
         None of these characteristics are features of a bilateral market.

                I am concerned that the Southeast EEM may expose Participants to unjust and
         unreasonable rates. The Filing Parties proposed the Southeast EEM with neither any
         quantitative analysis demonstrating an inability by Participants to exercise market power
         or manipulate the market, nor adequate safeguards to protect against these abuses on a
         going-forward basis. It is insufficient to rely on Participants’ existing market-based rate
         authorities given the new market structure and new market footprint of the Southeast
         EEM. Yet the Filing Parties suggest that despite these clear differences, the Commission
         should rely on analysis conducted for the existing bilateral market, and safeguards put in
         place for a bilateral, not multi-lateral market structure.

                 I also agree with Chairman Glick’s conclusion that applying the Mobile-Sierra
         standard to the generally applicable Southeast EEM Agreement provisions, even the
         “enumerated provisions” identified in the response to the First Deficiency Letter, would
         violate Commission precedent. As he ably explains, the Southeast EEM provisions are
         tariff rates for which Mobile-Sierra protection does not lie.7 Applying the Mobile-Sierra
         standard would therefore inappropriately make any future challenge to the justness and
         reasonableness of the Southeast EEM Agreement more difficult. This is particularly
         problematic here given the concerns with undue discrimination, governance, market
         power, and manipulation that the proposal presents.

                While Filing Parties made some relevant additional commitments to provide data
         in response to the Commission’s May 4, 2021 deficiency letter,8 they still wave off most

                6
                 The Territory will span 10 states, feature 160,000 MW of generating capacity,
         and serve about 640 TWh of load. Transmittal Letter at 4.
                7
                    Chairman Glick Statement at PP 9-10.
                8
                  Among other things, the Filing Parties committed to: provide Order No. 760-
         style data to the Commission; require the Administrator, Auditor, and Participants to
         respond to inquiries from the Commission and other regulators; post reports, analysis,
         and Participant complaints on the Southeast EEM website; post the network map and
         information on binding transmission paths and the marginal value of transmission
         constraints; and make transparency improvements (e.g. making Membership Board
         meeting minutes public and allowing non-Members to observe Membership Board
         meetings). While this would have provided more transparency than the tariff provisions
         that have gone into effect by operation of law, these concessions do not eliminate the
Document Accession #: 20211020-4003               Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       -4-

         of protestors’ concerns about the Southeast EEM’s barriers to participation, restrictions
         on membership, preferential structure for load-serving entity Members, lack of
         transparency or oversight, and potential for the exercises of market power and
         manipulation. These concerns, however, constitute legal grounds on which the
         Commission should have rejected the current proposal. To be clear, there is no
         insurmountable barrier to the formation of a market like the Southeast EEM. In fact,
         straightforward revisions to the platform’s participation and membership rules, and
         common approaches to protection against the exercise of market power and manipulation
         would cure most, if not all, of the statutory violations that impair the current proposal.

                By failing to reject the Southeast EEM as proposed, despite its demonstrable
         flaws, the Commission compromises its fundamental principles of transparency,
         oversight and fair and open market access. Failing to apply these principles to this
         market is dangerous not only because of the discriminatory and unjust rate impacts it may
         impart in the region, but because it may inhibit the Commission’s ability to ensure that
         other organized markets, existing or forthcoming, are just and reasonable and not unduly
         discriminatory. Failing to reject the instant proposal is likely to invite future attacks on
         the Commission’s fundamental market design safeguards in existing and future markets
         across the country.

         I.     The Southeast EEM is a multi-lateral market construct

                 First, it is necessary to understand what the Southeast EEM is and is not. The
         Filing Parties take the position that the Southeast EEM is merely an enhancement of the
         bilateral markets that currently exist in the Southeastern United States. They argue that
         the introduction of the Southeast EEM algorithm, which will automatically match buyers
         and sellers for Energy Exchanges, and NFEETS, a zero-cost transmission product, are
         merely improvements on the existing bilateral structure.9 This position requires an
         insurmountable strain on logic that lacks any compelling rationale.

                Bilateral electric power supply transactions involve two known parties engaging in
         a negotiated exchange of electricity and related services. They involve the parties
         participating in a back-and-forth regarding terms of the sale including the price, quantity,
         transmission path, tenor, performance expectations, and other terms and conditions.
         While market data may influence agreed-upon prices or other terms, any given bilateral
         transaction is defined by the four corners of the deal struck by the engaging parties.

         impermissible barriers to access, cure the unduly discriminatory membership and
         participation structure, or remedy the failure to carry out market power analysis or
         provide for an independent market monitor whose institutional role is to independently
         protect the Southeast EEM from manipulation or the exercise of market power.
                9
                    Transmittal Letter at 9-11.
Document Accession #: 20211020-4003             Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                        -5-

         Bilateral transaction prices are not influenced in real-time by various other bid and buy
         offer levels, nor are they optimized across a set of various buyer and seller matches.
         Bilateral electric power supply transactions are not automatically combined with
         transmission service and do not require access to a participant-only transmission product.
         Bilateral transactions do not involve a members committee, an administrator, an auditor,
         or satisfaction of a set of participation requirements as a condition to execution.

                While the Southeast EEM relies on bilaterally arranged enabling agreements, the
         structure hinges upon a complex multi-lateral optimization engine that replaces the
         bilateral negotiation of key terms, including price and quantity. This engine, operated by
         the Southeast EEM Administrator, is responsible for (1) selecting which transactions
         should be consummated from among many potential buy and sell offers from many
         participants in order to optimize dispatch over the Southeast EEM footprint, and (2)
         allocating the NFEETS, which is an exclusive transmission service reserved for
         participants in the Southeast EEM, in order to consummate those transactions.10 The
         multi-lateral engine is so complex that the Filing Parties assert that simply providing a
         “mathematical statement of the optimization problem solved by the Algorithm (i.e., the
         software platform implementing the Southeast EEM)” would be a “significant
         undertaking and possibly an additional material Southeast EEM Member expense in
         addition to the planned cost of hiring a software vendor.”11 Necessarily, the Southeast
         EEM also has its own set of rules, a governance structure, and participation requirements,
         each of which further distinguish it from traditional bilateral markets.

                My colleagues disagree with this assessment, but offer no rationale whatsoever
         regarding how these plainly multi-lateral market features represent a mere immaterial
         “enhancement” to the bilateral market and do not transform it into a multi-lateral
         construct. Rather than engage with these arguments on the merits, their positions amount
         to credulously accepting the Filing Parties’ assertions that the market will be bilateral in
         nature without examining the ample evidence to the contrary.12


                10
                  The existence of NFEETS is in itself an important distinction between the
         Southeast EEM and traditional bilateral markets. In true bilateral transactions arranging
         and paying for transmission is a part of effectuating any trade. NFEETS, which is only
         obtainable by joining the Southeast EEM, is factored into the market’s optimization.
                11
                     Response to First Deficiency Letter at 38.
                12
                   See Comm’r Danly Statement at P 20 (“The filing parties clearly state that, ‘the
         Southeast EEM is not—and was never intended to be—a top-to-bottom reimagining of
         the Southeast energy market; rather it reflects incremental improvement to the existing
         bilateral market.’”) (quoting Transmittal Letter at 9); Comm’r Christie Statement at PP 6,
         8 (stating in conclusory fashion that the proposal enhances rather than modifies the
         existing bilateral market). While Commissioner Danly observes that “[t]his market does
Document Accession #: 20211020-4003            Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       -6-

                But closing our eyes, clicking our heels three times, and wishing “the Southeast
         will remain a purely bilateral market” will not make that so. Given its features, the
         Southeast EEM is clearly more than an enhancement of the status quo. It is an entirely
         new market construct, with its own set of rules and a unique footprint. As such, it is the
         Commission’s obligation to go beyond taking the Filing Parties’ word for it and to review
         the Southeast EEM proposal to ensure that it meets basic principles of non-discrimination
         and protects against the exercise of market power and manipulation.

         II.    Access to the Southeast EEM is not open, violating Order No. 888

                Order No. 888 compels open “access to the monopoly owned transmission wires
         that control whether and to whom electricity can be transported in interstate
         commerce,”13 and requires public utilities to “remove preferential transmission access
         and pricing provisions from agreements governing their transactions.”14 The Southeast
         EEM contravenes these bedrock requirements by restricting access to NFEETS.

                In order to join and obtain the ability to access NFEETS, a prospective Participant
         is required: (1) to obtain the countersignature of the Southeast EEM Agent at the
         direction of the Operating Committee, a body controlled entirely by Members,15 and (2)
         to execute Enabling Agreements with at least three other Participants. These provisions
         give Southeast EEM Members and existing Participants leverage they may use to block
         market access to transmission service.16 In addition, to participate, an entity must be
         registered as a Source or Sink within the Southeast EEM footprint.




         not offer joint dispatch, joint operation, or joint planning,” these are arguments that the
         Southeast EEM is an RTO, not a rebuttal to any of the logic I have set forth regarding
         why the Southeast EEM platform is multi-lateral, not bilateral. Comm’r Danly Statement
         at P 20.
                13
                     Order No. 888, 61 Fed. Reg. 21,540, 21,541 (1996).
                14
                     Id.
                15
                See Southeast EEM Agreement § 5.1 (describing Operating Committee
         membership).
                16
                   Southeast EEM Market Rules § III.B.3. A prospective Participant must also (3)
         own or otherwise control a Source within the Territory and/or be contractually obligated
         to serve a Sink; and (4) arrange to take NFEETS from each Participating Transmission
         Provider, either through execution of a service agreement under the Participating
         Transmission Provider’s tariff or by otherwise making arrangements for such service.
Document Accession #: 20211020-4003             Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                      -7-

                While the Filing Parties argue that Members and Participants have economic
         incentives to execute participation and enabling agreements, they neglect that Members
         and Participants also have economic incentives to block access, and the reality is that the
         proposal erects substantial barriers to participation. Although the Filing Parties observe
         that “enabling agreements are used today in the Southeast bilateral market “to facilitate
         regular bilateral energy transactions”17 this fact is beside the point. While transmission
         service is not governed by enabling agreements in the existing bilateral market, the
         question the Commission must ask here is whether these requirements serve as an unduly
         discriminatory barrier to entry to Southeast EEM and the NFEETS transmission service it
         provides. Order No. 888 establishes a firm requirement of open access, not a
         demonstration that economic incentives might create conditions where utilities choose of
         their own accord to permit open competition.18

                As protestors persuasively argue, the Three Counterparty Rule and Participant
         Agreement requirements may prevent a prospective Participant from accessing the
         market because current Participants may “collude to exclude prospective Participants by
         refusing to enter into Enabling Agreements,” or the Operating Committee could direct the
         Agent to block access by declining to sign the Participant Agreement with a given
         counterparty.19 The Filing Parties contend that the Commission need not worry about
         such abuse of the Three Counterparty Rule and Participant Agreement because the
         benefits of the Southeast EEM “will be at their greatest with eligible counterparties
         maximized,” arguing that if they had incentive to block market access for any individual
         prospective participant they would not have proposed the Southeast EEM at all.20 To
         accept this simplistic logic is naïve.

                While it is true that retail customer benefits would be maximized if Participants
         entered into as many matches as possible, incentives for load serving entity shareholder

                17
                     Response to First Deficiency Letter at 19-20.
                18
                   See Order No. 888, 61 Fed. Reg. at 21,541 (“The legal and policy cornerstone of
         these rules is to remedy undue discrimination in access to the monopoly owned
         transmission wires that control whether and to whom electricity can be transported in
         interstate commerce.”). Order No. 888 targets denials of open access “whether they are
         blatant or subtle,” and also targets “the potential for future denials of access.” Id. at
         21,550 (emphasis added).
                19
                  The proposal appears not to contain any provision requiring the Agent to not
         unreasonably withhold its signature, in contrast to other market arrangements. See, e.g.,
         Public Service Company of Colorado, Transmission and Service Agreements Tariff, Joint
         Dispatch Trans Svc, Section 43.
                20
                     Filing Parties March 30 Answer at 37.
Document Accession #: 20211020-4003           Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       -8-

         profits do not neatly align with retail customer benefits in the Southeast EEM as
         proposed. Indeed, while some Members may indirectly have an incentive to lower costs,
         many of the Filing Parties earn more return on equity by spending more capital.
         Shareholder profits for Southeast EEM Members may go up if they retain a larger market
         share by blocking access for competitors and thereby increase the megawatt-hours served
         by generation owned by Members.21

                Even if it does not choose to block access outright, the Southeast EEM Operating
         Committee could seek to use Participant Agreements as an opportunity to exercise
         leverage over prospective Participants.22 The Commission’s regulations require that a
         market-based rate seller demonstrate that “the seller cannot erect any barriers to entry
         against potential competitors.”23 It is hard to imagine a more direct and problematic
         barrier than granting a subset of market participants veto power over whether others may
         access transmission service, as the Participant Agreement requirement does.24 While it is
         common for organized markets to require some sort of participation agreement, such


                21
                   Monopoly regulation of vertically integrated, investor-owned utilities exists
         because of the structural misalignment of economic incentives that fail to ensure the
         maximization of consumer benefits. Here, protections are necessary not as a speculative
         assumption of bad faith on the part of Filing Parties, but as part of the Commission’s
         statutory obligation. In no situation can one simply assume that monopoly entities will
         work to adequately protect customers without regulation to require it.
                22
                  Contrary to the Filing Parties’ response, such abuse is perfectly consistent with a
         broader desire by the Filing Parties to utilize the Southeast EEM construct. While
         seeking to deliver consumer savings facilitated by the Southeast EEM, the Filing Parties
         may nevertheless seek to administer the platform in a manner that locks out certain
         competitors who they determine might pose a threat to their market positions, or who
         they can secure concessions from in other market contexts by exerting leverage in
         agreeing to permit access to SEEM. See March 30 Answer at 36 (“If utilities in the
         Southeast were driven, when it came to consideration of the Southeast EEM, by the idea
         that ‘competition and the availability of lower cost suppliers erodes the potential profits
         that come from a monopoly’s main source of revenue: building additional generation,’ . .
         . there would be no Southeast EEM proposal.”).
                23
                  Public Citizen v. FERC, No. 20-1156, 2021 WL 3438374, at *3 (D.C. Cir. Aug.
         6, 2021) (citing 18 C.F.R. § 35.37 (2020)).
                24
                  See PIOs March 24 Protest at 13 (“[B]y exercising unmitigated authority over
         who is permitted to execute Enabling Agreements and become a SEEM Participant, the
         Applicants cement their control over the transmission system and all but guarantee that
         competitors will be provided inferior transmission service.”).
Document Accession #: 20211020-4003           Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       -9-

         agreements should have clear application procedures and must not allow for other
         participants to reject the agreement without cause.25

                 Further, by failing to act, the Commission approves a market construct by which
         prospective Participants do not have adequate means of detecting or seeking redress
         regarding abuse in restricting market access. Prospective Participants appear not to have
         a right to bring complaints to the Auditor (with such complaints limited to Participants).26
         And while prospective Participants could in theory bring a complaint directly to the
         Commission, the absence of market transparency provides them with scant ability to
         gather the evidence that would be necessary to support such a complaint. Further, several
         Southeast EEM Members are unregulated transmitting utilities, over whom the
         Commission likely would not have jurisdiction for such a complaint. The upshot is that
         to the extent that abuse occurs, the Commission may never find out. Something as
         fundamental as open access to transmission services must not rely on speculation.
         Rather, a basic tenet of Order No. 888 is that transmission providers must file tariff terms
         that provide open access without giving themselves an opportunity to exercise discretion
         to block access.27



                25
                   Such barriers to transmission access were the express focus of Order 888. Order
         No. 888, 61 Fed. Reg. at 21,541-42. See, e.g., Public Service Company of Colorado,
         Transmission and Service Agreements Tariff, Joint Dispatch Trans Svc, Section 43 (an
         example of an agreement with clearer application features that do not permit unjustified
         rejection).
                26
                   Transmittal Letter at 31 (“The Auditor may also receive complaints from
         Participants, which it will refer to the Membership Board and investigate at the
         Membership Board’s discretion.”). Further, even if prospective Participants did have a
         right to bring complaints to the Auditor, complaints to the Auditor about undue
         discrimination via the Enabling Agreements are submitted to the Membership Board,
         which can choose not to act and to not submit such complaints to the Commission.
                27
                   Order No. 888, 61 Fed. Reg. at 21, 552 (“We conclude that functional
         unbundling of wholesale services is necessary to implement non-discriminatory open
         access transmission and that corporate unbundling should not now be required. As we
         explained in the NOPR, functional unbundling means three things: (1) a public utility
         must take transmission services (including ancillary services) for all of its new wholesale
         sales and purchases of energy under the same tariff of general applicability as do others;
         (2) a public utility must state separate rates for wholesale generation, transmission, and
         ancillary services; (3) a public utility must rely on the same electronic information
         network that its transmission customers rely on to obtain information about its
         transmission system when buying or selling power.”).
Document Accession #: 20211020-4003              Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                         - 10 -

                 The proposal further restricts participation by requiring Participants to own or
         otherwise control a Source within the Territory and/or be contractually obligated to serve
         a Sink within the Territory.28 Public Interest Organizations (PIOs) assert that this
         restriction will exclude “an estimated 65 trading partners that border the SEEM territory .
         . . because they do not have resources located in the territory.”29 Excluding these trading
         partners from the Southeast EEM closes their access to a valuable transmission service
         offered by each Transmission Owner, and is demonstrably more restrictive than the
         required Open Access Transmission Tariffs (OATTs) of the participating jurisdictional
         Transmission Owners. As PIOs explain, the Commission’s “open access rules require
         that transmission service is offered under each public utility’s OATT to all transmission
         customers in a comparable, non-discriminatory manner, including existing trading
         partners.”30

                The Filing Parties rationalize the proposed geographic restriction as permissible
         because it “is not currently technically feasible to allow entities outside the Territory to
         participate in the Southeast SEEM because ‘transactions involving the use of
         transmission outside of the Territory . . . would require the coordination of e-Tags with
         non-NFEETS providers in the less-than-20 minute timeframe required, which is not
         possible at this time.’”31

                 This reasoning is circular: open access is not technically feasible because the
         Filing Parties have not designed the market in a manner that facilitates a workable
         solution, and have not invested in the software or other analytical capabilities necessary
         to facilitate access under their chosen design. Permitting transmission providers to evade
         open access requirements via their own market design choices and investment decisions
         would fundamentally undermine open access. Filing Parties have done nothing to
         demonstrate why, in the abstract, e-Tags for external resources could not be coordinated
         on the timeframe necessary, or why another solution, such as requiring external resources
         to secure firm service to the border of the Southeast EEM Territory, is not feasible.
         Rather, they have designed the market and chosen a scope of work for the relevant
         vendors that accomplishes coordination for their own purposes without facilitating access
         for competitors outside the Territory. Such undue exclusion is not permitted by Order
         No. 888.32


                28
                     Transmittal Letter at 16.
                29
                     PIOs July 29 Answer at 10-11.
                30
                     Id. at 11.
                31
                     Filing Parties March 30 Answer at 44.
                32
                     Order No. 888, 61 Fed. Reg. at 21,594 (“[M]embership provision[s] must allow
Document Accession #: 20211020-4003            Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                        - 11 -

                The basic unavoidable fact is that NFEETS is transmission service, and thus must
         be provided by each of the Southeast EEM Members on an open and non-discriminatory
         basis. That NFEETS is last priority service does not change this analysis,33 nor does it
         make a whit of difference that NFEETS will technically be accessed via the relevant
         Southeast EEM Member’s OATT. While the service will technically be administered via
         the OATT, it can only be accessed by Southeast EEM participants, pursuant to the
         discriminatory terms set forth in the Southeast EEM Agreement and other relevant
         documents. None of my colleagues reckons with how the proposal’s blatant barriers to
         open access—manifested by the participation agreement provisions, Three Counterparty
         Rule, and source/sink requirements—pass muster under Order No. 888.34

         III.   Southeast EEM’s membership structure, market rules and governance are
                unduly discriminatory

                 Beyond violating Order No. 888 by providing for unlawful barriers to accessing
         NFEETS, the Southeast EEM proposal also unlawfully limits access to transmission
         service via its restrictive membership provisions, and by forcing prospective non-
         Member Participants into a choice between either (i) agreeing to a set of discriminatory
         rules that may only be amended or otherwise influenced by a small cohort of Members in

         any bulk power market participant to join, regardless of the type of entity, affiliation, or
         geographic location.”).
                33
                  Were it material that “NFEETS service is available only if the existing
         transmission system is not fully employed,” as Commissioner Danly suggests, then non-
         firm service could likewise skirt the basic requirements of Order No. 888. Comm’r
         Danly Statement at P 23 (emphasis in original). Nothing in that order suggests or has
         been understood to apply only to firm service.
                34
                   For example, Commissioner Christie asserts that the Three Counterparty Rule
         and source/sink requirements are “necessary to ensure technical feasibility,” and repeats
         his conclusion that “this proposal represents an enhancement to a bilateral system in
         which enabling agreements are not unusual,” but does not address the obvious distinction
         that, unlike in this existing bilateral market, such requirements in this context inhibit open
         access to transmission service. Comm’r Christie Statement at P 13. The Filing Parties
         suggest that open membership requirements do not apply because the Southeast EEM
         will not establish a loose power pool. See Filing Parties March 30 Answer at 9. While I
         disagree with this conclusion, it is irrelevant with regard to the barriers to participation
         imposed by the participation agreement provisions, Three Counterparty Rule, and
         source/sink requirements. Such barriers implicate Order No. 888’s requirement that
         transmission providers provide open access to transmission service; requirements for
         loose power pools are layered on top of this floor set for all jurisdictional transmission
         providers.
Document Accession #: 20211020-4003            Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                    - 12 -

         order to access NFEETS and the Southeast EEM’s matching service, or (ii) forgoing
         service altogether.

                 A key defect of the Southeast EEM is that, except for one narrow exception, an
         entity must be an LSE in the Southeast EEM footprint to be a Member.35 This restrictive
         provision, standing alone, violates the express terms of Order No. 888. But even if such
         Membership restrictions were permissible, as discussed below, they constitute an
         impermissible barrier to transmission service when considered together with the
         combination of features in the proposal that discriminate in favor of Members.

               A.         The proposal’s membership restrictions violate Order No. 888

                 The proposed restrictions on membership for the Southeast EEM violate Order
         No. 888, which requires open, non-discriminatory membership for “‘loose’ power pools”
         or “other coordination arrangements.”36 Contrary to the conclusion of my colleagues, the
         proposed arrangement constitutes a loose power pool, for which Order No. 888 requires
         “open, non-discriminatory membership provisions” and mandates modification of “any
         provisions that are unduly discriminatory or preferential.”37 Order No. 888 specifically
         requires open membership for loose power pools to extend beyond transmission owning
         utilities: “membership provision[s] must allow any bulk power market participant to join,
         regardless of the type of entity, affiliation, or geographic location.”38

                The Southeast EEM fits comfortably within Order No. 888-A’s definition for
         loose power pools, which is “(1) any multi-lateral arrangement, other than a tight power
         pool or a holding company arrangement, that (2) explicitly or implicitly contains
         discounted and/or special transmission arrangements, that is, rates, terms, or
         conditions.”39 NFEETS is a “discounted and/or special transmission arrangement”
         because it provides a service not otherwise available under relevant Participants’ OATTs:
         $0/MWh transmission service with no associated Schedule 1 or Schedule 2 ancillary
         service charges, and financial losses only. While Filing Parties contend that NFEETS is

               35
                   A Member must either be “(1) an LSE located in the Territory; (2) an
         association, Cooperative, or Governmental Entity that is an LSE located in the Territory;
         or (3) an association, Cooperative, or Governmental Utility created for the purpose of
         providing Energy to a Cooperative or Governmental LSEs.” Transmittal Letter at 13.
               36
                    Order No. 888, 61 Fed. Reg. at 21, 593.
               37
                    Id. at 21,594.
               38
                    Id.
               39
                    Order No. 888-A, 62 Fed. Reg. 12,274, 12,313 (1997).
Document Accession #: 20211020-4003             Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       - 13 -

         not a discounted service because it relies on otherwise unused capacity, providing service
         at zero cost is not something typically done by the relevant transmission providers, who
         generally charge for non-firm service.40

                The Commission’s recent decision in PSCo fails to support a finding that the
         Southeast EEM will not establish a loose power pool. PSCO merely stated in conclusory
         fashion that the arrangement at issue was not a loose power pool, without justifying that
         conclusion.41 Further, PSCo’s conclusion ran counter to Order No. 888’s express terms,
         despite the fact that PSCo was an order on a proceeding contested by a single party, not a
         rulemaking that would be required to reverse Order No. 888. In addition, PSCo
         addressed circumstances that entailed a far simpler arrangement across only a single
         balancing authority, and was inconsistent with the Commission’s prior conclusion in
         Wolverine Power Supply, where the Commission explained that Order No. 888, “in
         seeking to eliminate undue discrimination in pooling arrangements, . . . defined pooling
         arrangements in the broadest terms possible.”42

                While NFEETS schedules transmission on infrastructure that would otherwise go
         unused, PSCo fails to address the fact that the service is discounted insofar as NFEETS
         does not include any ancillary service charges and does not entail any charges for
         operating the platform to arrange service. Moreover, PSCo never considered whether
         such service was “special.”43 Here, in addition to the special terms described above, the
         elimination of rate pancaking across the broad Southeastern EEM service territory is a
         demonstrably special service delivered by NFEETS, sparing Participants from the
         multiplicity of charges that could otherwise be incurred in the existing bilateral markets.
         Further, in a significant distinction from PSCo, this case entails a complex multi-lateral
         optimization engine that coordinates the apportionment of the zero-cost transmission
         service among a wide array of participating entities across at least several balancing
         authority areas.

                Even if the Southeast EEM were not classified as a loose power pool, the same
         need for non-discriminatory membership provisions applies in order to avoid triggering

                40
                     See PIOs April 12 Answer at 3-5 (citing Filing Parties March 30 Answer at 8-9).
                41
                  PSCo, 154 FERC ¶ 61,107, at P 85 (2016) (“PSCo is not proposing the
         establishment of a loose power pool and as such the requirements cited to are not
         required of the arrangement proposed by PSCo.”).
                42
                     Wolverine Power Supply, 85 FERC ¶ 61,099, 61,355 (1998).
                43
                  PSCo, 154 FERC ¶ 61,107, at P 84 (2016) (“Therefore, Joint Dispatch
         Transmission Service does not represent a discount of non-firm transmission service, and
         does not serve as a substitute for that service.”).
Document Accession #: 20211020-4003                 Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                      - 14 -

         the FPA’s bar on undue discrimination. Indeed, in speaking more broadly about “power
         pools or other coordination arrangements,” or “certain bilateral arrangements that allow
         preferential transmission pricing or access,” Order No. 888 states that “[t]he filing of
         open access tariffs by the public utility members . . . is not enough to cure undue
         discrimination in transmission if those public utilities can continue to trade with a
         selective group within a power pool that discriminatorily excludes others from becoming
         a member and that provides preferential intra-pool transmission rights and rates.”44 The
         Filing Parties’ proposal violates this requirement because it establishes a select group of
         Members with exclusive transmission-related rights: namely, the ability to participate in
         controlling and overseeing the platform for administering service across a footprint
         comprised of many different transmission owners.45 The heart of the proposal’s
         deficiency in this regard stems from the Southeast EEM’s exclusion of non-LSEs from
         the opportunity to fund the platform in exchange for Membership rights.

                B.       Further, the proposal’s membership restrictions act in conjunction
                         with its asymmetric market and governance structure to provide
                         discriminatory access to transmission service

                 Beyond directly violating Order No. 888’s requirements for loose power pools or
         other coordination arrangements, the Southeast EEM’s restrictive membership provisions
         act in concert with other aspects of the Southeast EEM proposal to violate the FPA’s
         prohibition on undue discrimination by creating two unequal classes of market
         participants. The proposal gives preferential treatment to the small coterie of Members,
         granting them operational control of the complex and important market platform that
         allocates transmission service, as well as unique auditing and oversight abilities not
         shared with other Participants, and exclusive control over all meaningful governance
         decisions.46 Non-Member Participants, on the other hand, face a Hobson’s choice: agree
         to participate in a market that is controlled in all substantive respects by preferred
         Members and risk exposure to market flaws, potential exercises of market power, or other
         abuses that may not be detected due to skewed and inadequate oversight, transparency
         and fair governance; or forgo access to a valuable transmission service altogether.
         Taken, together, these provisions amount to an impermissible barrier to transmission
         access and thereby violate “the legal and policy cornerstone” of Order No. 888.47

                44
                     Order No. 888, 61 Fed. Reg. at 21,594 (emphasis added).
                45
                 These preferential rights include Members’ ability to effectively control the
         Southeast EEM Agent, Administrator, and Auditor, and to dictate the Southeast EEM’s
         governance.
                46
                     Transmittal Letter at 21-23.
                47
                     Order No. 888, 61 Fed. Reg. at 21,541.
Document Accession #: 20211020-4003              Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                        - 15 -

         Prospective Participants confirm that these discriminatory features may cause them to
         choose not to participate in the Southeast EEM.48

                Member control over operations is provided via their exclusive ability to
         participate in both the Southeast EEM Membership Board and Operating Committee,
         which are vested with near total control over the structure and operation of the market.
         The Membership Board will have sole responsibility and input into the operation and
         oversight of the Southeast EEM platform, including the hiring and firing of the
         Administrator, who operates the platform.49 The Membership Board also chooses the
         Auditor, who oversees the platform, and determines how often, if ever, the Auditor
         performs its function.50 Together, the Auditor and Administrator are responsible for
         ensuring that the Southeast EEM’s multi-lateral optimization platform functions as
         intended.

                Allowing operational control and oversight to be conducted by a small sub-class of
         Participants is particularly troubling in the context of the Southeast EEM proposal
         because of the extreme complexity of the optimization platform. Given the platform’s
         complexity, it is unsurprising that Members provided a mechanism for themselves to
         ensure that it functions as intended. The Auditor is to “monitor the functionality of the
         Southeast EEM System to ensure that it is operating correctly and in accordance with the
         Market Rules outlined in the Southeast EEM Agreement.”51 But in providing the



                48
                   See Clean Energy Coalition March 15 Comments at 22 (“Without more
         transparency that offers some assurance of fairness and proper market function,
         independent sellers and buyers of power may severely limit their participation in
         SEEM.”). While Order No. 888’s open access requirement does not speak directly to
         terms and conditions by which transmission service is accessed, it stands to reason that
         conditioning access on acceding to undesirable terms and conditions must at some point
         constitute an impermissible bar to access. A large monetary fee imposed only on non-
         Members, for example, would clearly constitute undue discrimination. Here, as
         confirmed by the Clean Energy Coalition’s declaration that its members are hesitant to
         participate in the Southeast EEM, the discriminatory administration, oversight, and
         governance provisions acting in concert rise to the level of a clear barrier to participation
         that can reasonably be expected to inhibit non-Members’ access to transmission services.
                49
                  The Administrator will oversee and operating the Southeast EEM System and
         submit e-Tags to reserve and schedule NFEETS. Transmittal Letter at 17.
                50
                     Transmittal Letter at 17; Operations Affidavit at P 52.
                51
                     Transmittal Letter at 17.
Document Accession #: 20211020-4003            Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                     - 16 -

         Members alone with control over the Auditor’s actions, the proposal gives non-Member
         Participants no such assurance.

                 The proposal also vests Members alone with power to meaningfully weigh in on
         any potential changes to the Market Rules, providing no meaningful opportunity for non-
         Members, including other Southeast EEM market participants, states, or customers, to
         have a voice. While the Filing Parties propose to provide limited opportunities for non-
         Member engagement, such as an “Annual Meeting of Participants and Stakeholders,”52
         these opportunities equate to no more than a chance to provide a perspective. The
         proposal does not include any requirements for or process by which these perspectives
         will be incorporated or acted upon. These opportunities fail to provide non-Member
         Participants with any real ability or leverage to shape decisions, or to participate in
         market administration and oversight.

                 The Filing Parties rationalize this blatantly preferential treatment with a theory
         that superior rights for Members are appropriate because the Members financed the
         Southeast EEM platform.53 This argument neglects the fact that non-LSE Participants are
         not offered the opportunity to become Members or otherwise participate in the funding of
         the platform. The exclusive opportunity to fund a market platform that organizes market
         activity and allocates transmission service across several utilities’ footprints, and enjoy
         special rights granted in exchange for that funding, is unduly discriminatory because no
         reason has been given why LSEs alone should enjoy this right in exchange for
         preferential terms and conditions. Although the Filing Parties reference the recently
         accepted governance structure of SPP WEIS’ market as support,54 such reliance is
         inappropriate for three reasons: (1) although representation on WEIS’ WMEC is similarly
         exclusive to WEIS Participants, there are no restrictions on who can become a WEIS
         Participant; (2) there are meaningful avenues for non-WEIS Participants to provide input
         on WEIS decisions (i.e., through the WEIS Revision Request Process); and (3) the
         WMEC is overseen by the independent SPP Board of Directors, with any decisions by
         WMEC appealable up to the SPP Board of Directors.

                The Commission has on prior occasions disapproved of transmission service
         arrangements that give preference to a certain class of Members, even where that
         preference is less marked than the combination of factors present here. For example, in
         evaluating the “governance rules for the Management Committee and the Regional
         Reliability Committee” of the Mid-Continent Area Power Pool, the Commission
         determined that the rules “do not satisfy Order No. 888” because they provided for

                52
                     Southeast EEM Agreement § 4.4.
                53
                     Filing Parties March 30 Answer at 37.
                54
                     Id.
Document Accession #: 20211020-4003             Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                        - 17 -

         “voting on the basis of Electric Revenues, which . . . gives too much influence to the
         vertically integrated utility members that own the transmission system.”55 Similarly, the
         D.C. Circuit upheld a Commission order rejecting the membership criteria of a loose
         power pooling arrangement that provided for two classes of Participants, with one class
         enjoying substantially better rights to govern the pool’s market rules and control
         operation of the pool.56 In that case, the relevant filing parties had proposed an
         arrangement that included “Participants,” who enjoyed full membership rights, and
         “Associate Participants,” who were entitled only to “representation on certain pool
         committees and participation in pool planning functions.”57 The Commission found this
         distinction “discriminatory on its face under sections 205 and 206 of [the Federal Power
         Act]”, and its determination was specifically approved by the D.C. Circuit.58 While the
         names of the two classes diverge, the difference between Participants and Associate
         Participants in many respects mirrors the Southeast EEM proposal’s distinction of rights
         between Member Participants and non-Member Participants.

                Commissioners Danly and Christie dismiss these discriminatory features of the
         Southeast EEM, suggesting that they would only be problematic if the Southeast EEM
         were an RTO. In doing so, they ignore the fact that, together, the preference for
         Members built into the Southeast EEM agreement, these features are a clear barrier to
         access for prospective non-Member Participants. My colleagues fail to set forth any
         theory for why forcing potential Participants to choose between accepting these
         discriminatory market rules or forgoing access to this valuable transmission service is not
         a violation of Order No. 888 and the underlying requirement of the FPA that service not
         be unduly discriminatory.

                Allowing the Southeast EEM to go into effect with the existing governance
         structure and market participation requirements may have a significant effect on the
         Southeast energy market. For one, it will decrease volume and liquidity of non-firm
         point-to-point service within or across the Southeast EEM territory,59 making it more
         difficult and expensive for anyone who continues to engage bilaterally in the Southeast

                  55
                  Mid-Continent Area Power Pool, 87 FERC ¶ 61,075 at 61,317 (1999), petitions
         for review denied, Alliant Energy Corp. v. FERC, 253 F.3d 748 (D.C. Cir. 2001).
                  56
                       See Central Iowa Power Cooperative v. FERC, 606 F.2d 1156, 1170 (D.C. Cir.
         1979).
                  57
                       Id.
                  58
                       Id. at 1170, 1171.
                  59
                 Filing Parties predict this effect, citing it in their benefits analysis. See
         Transmittal Letter at 36-37 (citing Benefits Analysis at 8, 19).
Document Accession #: 20211020-4003              Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       - 18 -

         EEM footprint. The Filing Parties acknowledge this potential cost impact on non-
         Participants.60 The FPA does not permit requiring non-Participants to subsidize benefits
         for Participants, especially for Participants with valid concerns that joining the Southeast
         EEM may subject them to discriminatory treatment.

                There are clear and straightforward solutions here, which would not derail the
         Filing Parties goal of an efficient Southeast EEM platform. For example, the Filing
         Parties could remedy these infirmities by: (1) creating the option for non-LSE
         Participants to become Members if they make the necessary financial commitment, like
         in the WEIS; and (2) creating a process for non-Member Participants, states and other
         stakeholders, such as consumer groups, to provide complaints and concerns on Southeast
         EEM proposals, also like in the WEIS.

         IV.     Southeast EEM’s lack of adequate market protections may result in unjust
                 and unreasonable rates

                I am also concerned that the Southeast EEM, as proposed, could result in unjust
         and unreasonable rates. The Filing Parties failed to provide sufficient analysis
         demonstrating a lack of potential by Southeast EEM Participants for the exercise of
         market power or manipulation of the market, or adequate safeguards to protect against
         these potential abuses on a going forward basis.

                 The Filing Parties dismiss market power concerns raised by protestors and argue
         that no market power analysis or other market power protection is needed for the
         Southeast EEM because the core functioning of the Southeast bilateral market is not
         being changed by the Southeast EEM and the market presents no new opportunities for
         the exercise of market power.61 In other words, the Filing Parties propose to rely on the
         jurisdictional Southeast EEM Participants’ existing market-based rate authorities as proof
         that Participants in the Southeast EEM will not be able to exercise market power. This
         reliance depends on the false premise that the Southeast EEM is nothing more than an
         enhancement on the existing bilateral markets in the Southeast.62 Such cursory analysis

                 60
                  See Pope Aff. ¶ 67. The Filing Parties justify the potential increase in
         transmission service costs to native load customers as permissible because native load
         customers may receive greater benefits via the relevant utilities’ participation in the
         Southeast EEM. Id. But this argument neglects that non-native load customers can
         likewise expect increased transmission service costs and will receive no corresponding
         benefits where they are not Participants in the Southeast EEM.
                 61
                      See Filing Parties March 30 Answer at 29; Response to First Deficiency Letter
         at 2.
                 62
                      See supra at PP 10-12.
Document Accession #: 20211020-4003            Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       - 19 -

         violates the Commission’s duty to ensure that participants in the Southeast EEM “either
         lack, or have adequately mitigated, any horizontal or vertical market power.”63

                First, as discussed above, the Southeast EEM is a new market footprint. To the
         extent that the Commission has granted jurisdictional Southeast EEM Participants the
         authority to transact in the Southeast, it has done so based on the results of market power
         analyses of each Participant’s ability to exercise market power in the balancing authority
         areas in which they own generation and transmission assets. Those analyses assume that
         each balancing authority is essentially its own unique market, and require a number of
         inputs that are specific to the market being studied.64 Given its expanded footprint,
         voluntary nature, and introduction of NFEETS, all of these inputs would necessarily be
         different for the Southeast EEM.

                Furthermore, traditional market power analyses assume that all uncommitted
         capacity located within the market footprint is available to compete. However, given the
         participation requirements, and the voluntary nature of the market, it is unclear who will
         participate in the market and how many resources they will make available. The Filing
         Parties admit that they do not know the level of participation in the Southeast EEM.65 If
         participation levels are lower than the Filing Parties anticipate, it is very possible that
         Participants the Commission found to not have market power as studied in individual
         balancing authority areas could have the ability to exercise market power in the Southeast
         EEM.

                The failure to provide market-specific market power analyses contradicts the
         Commission’s decisions in the Western EIM. In PacifiCorp, the Commission found that
         the EIM will be a new relevant geographic market for market power purposes, and
         required PacifiCorp (and all subsequent market members) to study the EIM when joining,
         as well as study it as part of their triennial market power updates.66 This helped ensure

                63
                     Public Citizen v. FERC, No. 20-1156, 2021 WL 3438374, at *3.
                64
                   For example, the amount of generation located in the balancing authority area,
         the average amount of load, the number of potential competitors, and the amount of
         potential competing transfers that can be imported from neighboring balancing authority
         areas.
                65
                  In the first Deficiency Letter, Commission staff inquired about the number of
         companies that are expected to participate in the Southeast EEM, as well as their
         expected supply and demand offers. The Filing Parties declined to offer any specifics,
         instead arguing that “forward looking estimates . . . are difficult to make with any
         precision or certainty” and they expect “that the market will attract robust participation.”
         See Response to First Deficiency Letter at 13-14.
                66
                     PacifiCorp, 147 FERC ¶ 61,227, at P 206 (2014) (“[B]ecause the EIM will be a
Document Accession #: 20211020-4003           Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                     - 20 -

         that PacifiCorp, which had market-based rate authority in all balancing areas that
         comprised the EIM at the time it joined the market, would not be able to exercise market
         power.

                 Without a market power analysis that looks specifically at the Southeast EEM, the
         Commission is flying blind. The risk of market power abuse created by the Southeast
         EEM going into effect without adequate market power analysis is exacerbated by the fact
         that the market has no independent market monitor. Other organized market proposals
         recently approved by the Commission, like the WEIS and EIM, include independent
         market monitors that work to prevent the exercise of market power, by constantly
         analyzing the market and enforcing market power mitigation measures when they detect
         that conditions are such that a market participant will be able to exercise market power –
         even when those participants have received authorization to transact at market-based
         rates. The Commission relied on the presence of the market monitors in approving the
         design of the Western EIM and SPP’s WEIS.67 While the Commission is equipped to



         new relevant geographic market for market power purposes, PacifiCorp is required to
         make a market-based rate change of status filing within nine months of the launch of the
         EIM market so that the Commission can assess whether PacifiCorp has market power in
         the EIM.”).
               67
                   See e.g., Cal. Indep. Sys. Operator Corp., 147 FERC ¶ 61,231, at P 226 (2014)
         (“With regard to Neighboring Systems’ request that market power analyses be performed
         on an ongoing basis and that the Department of Market Monitoring publish quarterly
         reports on the performance of the EIM, we note that CAISO has proposed that the
         Department of Market Monitoring will monitor markets administered by CAISO, which
         include the EIM. In addition, CAISO’s tariff requires the Department of Market
         Monitoring to report on wholesale market trends on a quarterly basis.”); Sw. Power Pool,
         Inc., 173 FERC ¶ 61,267, at P 81 (2020) (“Instead, SPP and the SPP MMU will evaluate
         the mitigation thresholds over time, and SPP will file with the Commission to implement
         changes as needed. We find that this approach is just and reasonable and addresses the
         Commission’s concern in the July Order regarding automatic increases of mitigation
         thresholds.”); id. at P 83 (“Furthermore, the SPP MMU is obligated to recommend
         frequently constrained areas prior to the start of the WEIS Market”); id. at P 99 (“In
         addition, to the extent that market participants are consistently short due to physical
         withholding, they face potential referral to the Commission’s Office of Enforcement if
         the SPP MMU suspects physical withholding behavior based on credible evidence.”).
         SPP’s market monitor also completed a Market Power Study several months prior to
         Commission approval of the proposed WEIS market, found that a single supplier could
         possess structural market power at the system level, and recommended that the SPP
         develop a system-wide market power mitigation measure. Id. at P 69.
Document Accession #: 20211020-4003              Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       - 21 -

         provide some ex post monitoring of the Southeast EEM, that is not a replacement for
         active monitoring that will prevent the exercise of market power.

                 I am also concerned that the Southeast EEM’s design will create avenues for
         manipulation. The Southeast EEM permits Participants to “select Counterparty Specific
         Constraints for any reason.”68 Given this lack of any need for justification,69 as well as
         the absence of market monitoring, such “toggling” presents a risk of abuse. The Filing
         Parties argue that such toggling “is just a manifestation of a decision that any market
         participant can make today.”70 This argument neglects the fact that that the risk is
         materially different in the Southeast EEM context. Under the proposal, actions by one
         participant not only impact that participant and its counterparties, but also automatically
         flow through the multi-lateral algorithm, impacting other potential buyers and sellers at
         the same time. Prices of various transactions that emerge from the algorithm depend
         upon the multi-lateral landscape of bids, not just on that party’s own conduct. Further,
         the Filing Parties glaze over the fact that the Southeast EEM is a mechanism to allocate
         finite transmission rights. The ability to toggle off competitors, or entire balancing
         authority areas, creates the opportunity for participating Southeast EEM Members to
         secure NFEETS transmission rights for themselves while denying their competitors
         access.71 The bilateral market, by contrast, subjects all bilateral transactions to equal
         transmission opportunities.

               Using the Three Eligible Counterparty Rule72 as a safeguard against collusive
         schemes is a recognition that such schemes may occur. There has been no demonstration

                68
                     Transmittal Letter at 25.
                69
                   While Filing Parties explain that Counterparty Specific Constraints can be used
         to allow Participants to comply with limits on their market-based rate authority (“toggling
         off” in regions where they are not permitted to market-based sales), nothing obligates
         them to use Counterparty Specific Constraints only for this purpose, and they need not
         give any justification for imposing constraints. Id.
                70
                     Filing Parties March 30 Answer at 33.
                71
                  The Filing Parties list 180 counterparties to existing enabling agreements as
         evidence that they are widely used in the Southeast. However, these agreements have
         never been used as a gating mechanism for participation in a multilateral market
         construct. Prospective Southeast EEM Participants must enter into enabling agreements
         with existing Southeast EEM Participants to gain entry into the market.
                72
                  The Three Eligible Counterparty Rule is “the requirement that all Participants
         have ‘toggled on’ at least three unaffiliated potential counterparties each time they bid or
         offer.” Transmittal Letter at 40.
Document Accession #: 20211020-4003              Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                       - 22 -

         that this requirement will act as an effective safeguard to prevent such schemes. The
         Filing Parties state that the number of required counterparties renders it difficult for
         Participants to engage in anticompetitive conduct,73 but do not provide any analysis,
         evidence, or rationale why three is the right number to protect the integrity of the market.
         This amounts to acknowledgment that anticompetitive conduct is a valid concern, without
         any demonstration that such concern has been properly mitigated.

                 The Southeast EEM algorithm’s complexity and lack of transparency expose the
         market to manipulation, particularly in the absence of a market monitor to observe its
         operation and investigate anomalies. The Commission’s enforcement docket is full of
         examples of market participants using superior knowledge of, and experience with,
         vulnerabilities in optimization algorithms or other features of complex markets to
         manipulate prices or collect unjustified payments.74 That the algorithm is too complex
         for Filing Parties even to describe in a mathematical formula evinces a high risk of design
         flaws for manipulators to exploit.

                  The lack of analysis specific to Southeast EEM’s unique characteristics,
         demonstrating that Participants will not be able to exercise market power, as well as the
         unchecked potential avenues for manipulation, means that Filing Parties have failed to
         demonstrate that rates in the Southeast EEM will be just and reasonable. Like earlier
         concerns about undue discrimination, these issues are not insurmountable. The Filing
         Parties could easily address these deficiencies by submitting a Southeast EEM-specific
         market power analysis and by closing some of these potential avenues for manipulation
         (e.g. instituting protections to avoid toggling off abuse). Of course, adding an
         independent market monitor would also go a long way to address both the market power
         and market manipulation concerns. These are legitimate issues with straightforward
         solutions that the Commission could have provided as guidance to Filing Parties in a
         rejection order.



                73
                     Transmittal Letter at 41.
                74
                   See, e.g., Vitol Inc. and Federico Corteggiano, 169 FERC ¶ 61,0170 (2019)
         (order assessing penalties for market manipulation where knowledgeable market
         participants used feature of CAISO’s marginal cost of congestion formula to manipulate
         physical energy prices for benefit of participants’ related financial positions); Coaltrain
         Energy, L.P., 155 FERC ¶ 61,204 (2016) (market participants manipulate market by
         placing economically meaningless ‘Up to Congestion’ bids at nodes with small or no
         price spreads for sole purpose of collecting unjustified marginal loss surplus allocation
         credits, rather than for legitimate arbitrage purposes); City Power Marketing, LLC, 152
         FERC ¶ 61,012 (2015) (manipulative ‘Up to Congestion’ bids); Houlian Chen, 151
         FERC ¶ 61,179 (2015) (manipulative ‘Up to Congestion’ bids).
Document Accession #: 20211020-4003             Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                         - 23 -

         V.     Conclusion: Creation of this market puts non-Members at a permanent
                disadvantage in the Southeast

                The Commission’s responsibility under section 205 of the FPA is to evaluate
         proposals to determine whether they will result in just and reasonable rates that are not
         unduly discriminatory or preferential. As my colleagues have emphasized, the Filing
         Parties have not put forth an RTO proposal, so in the context of this proceeding it is not
         the Commission’s role to evaluate whether an RTO would deliver greater benefits than
         the proposal before us. By the same token, we cannot dismiss a failure of this proposal to
         abide by the Commission’s bedrock principles necessary to guarantee just and reasonable
         and non-discriminatory rates simply because opponents of the proposal may prefer an
         RTO. We have an obligation under the Administrative Procedure Act to articulate a
         “rational connection between the facts found and the choice made.”75 (Here, the choice
         being to allow the tariff to go into effect by operation of law via split vote.) My
         colleagues’ failure to explain why they would have rejected protestors’ detailed
         arguments that the proposal imposes unduly discriminatory barriers to transmission
         access and fails to safeguard the market against just and reasonable rates violates this
         obligation.76

                Engaging on the merits of the actual filing under consideration, it is clear that the
         Southeast EEM proposal, whether accepted by operation of law or with the commitments
         offered in the response to the first deficiency letter, fails to meet the standard set forth in
         section 205. I therefore cannot support the market platform as proposed.

                A well-designed Southeast EEM has the potential to provide valuable benefits to
         the Southeast energy markets. An order rejecting the proposal could easily have set the
         stage for a future proposal complying with the FPA’s requirements, thereby providing a
         pathway for the promise of benefits to bear fruit. It is disappointing that, perhaps in
         search of near-term incremental cost savings, the Commission has compromised its
         fundamental responsibilities to guarantee non-discriminatory service and safeguard the
         market from abuse. Allowing this tariff to go into effect by operation of law puts at risk
         the Commission’s long-running and largely unified commitment to steadily expanding


                75
                  Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 52
         (1983) (quoting Burlington Truck Lines v. U.S., 371 U.S. 156, 168 (1962)).
                76
                  TransCanada Power Mktg. Ltd. v. FERC, 811 F.3d 1, 12 (D.C. Cir. 2015) (“It is
         well established that the Commission must ‘respond meaningfully to the arguments
         raised before it.’”) (quoting Pub. Serv. Comm'n v. FERC, 397 F.3d 1004, 1008 (D.C. Cir.
         2005)).
Document Accession #: 20211020-4003          Filed Date: 10/20/2021

         Docket No. ER21-1111-002, et al.                                                  - 24 -

         non-discriminatory open access, a legal tradition exemplified by one of the Commission’s
         proudest actions, Order No. 888.


         ________________________
         Allison Clements
         Commissioner
Document Accession #: 20211020-4003   Filed Date: 10/20/2021

   Document Content(s)
   Southeast EEM Fair Rates Act Statement - Clements.docx....................1
EXHIBIT B
            Primary Person or
Party       Counsel                      Other Contact to be Served
            of Record to be Served
                                         Caitlin Marquis
                                         Advanced Energy United
                                         1010 VERMONT AVE NW STE
Advanced
                                         1050
Energy
                                         WASHINGTON, DISTRICT OF
United
                                         COLUMBIA 20005
                                         cmarquis@advancedenergyunit
                                         ed.org
            Cynthia Bogorad
            Spiegel & McDiarmid LLP    Lauren Springett
            1875 Eye Street, NW        Counsel
Alabama
            Suite 700                  PO Box NA
Municipal
            Washington, DISTRICT OF    Washington,DISTRICT OF
Electric
            COLUMBIA 20006             COLUMBIA 20006
Authority
            UNITED STATES              lauren.springett@spiegelmcd.c
            cynthia.bogorad@spiegelmcd om
            .com
                                         E Service
                                         Spiegel & McDiarmid LLP
Alabama
                                         1875 Eye St, NW
Municipal
                                         Suite 700
Electric
                                         Washington, DISTRICT OF
Authority
                                         COLUMBIA 20006
                                         eService@spiegelmcd.com
                                         G. Alan Williford
Alabama                                  Executive Vice President and C
Municipal                                80 TechnaCenter Drive, Suite
Electric                                 200
Authority                                Montgomery, ALABAMA 36117
                                         alanw@amea.com
            Christopher Demko            Julia D English, ESQ
            Southern Company Services,   Partner
Alabama     Inc.                         McGuire Woods LLP
Power       30 Ivan Allen Jr. Blvd, NW   888 16TH ST NW STE 500
Company     Atlanta, GEORGIA 30308       WASHINGTON, DISTRICT OF
            UNITED STATES                COLUMBIA 20006
            chdemko@southernco.com       jenglish@mcguirewoods.com
            Noel Symons
            Attorney
            McGuireWoods LLP           Katlyn A Farrell
            888 16TH ST NW STE 500     McGuire Woods LLP
Alabama
            BLACK LIVES MATTER PLAZA   888 16TH ST NW STE 500
Power
            WASHINGTON, DISTRICT OF    WASHINGTON, DISTRICT OF
Company
            COLUMBIA 20006             COLUMBIA 20006
            UNITED STATES              kfarrell@mcguirewoods.com
            nsymons@mcguirewoods.co
            m
                                       Carrie A Mobley
                                       McGuireWoods LLP
Alabama                                888 16th St. NW, Suite 500
Power                                  Black Lives Matter Plaza
Company                                Washington, DISTRICT OF
                                       COLUMBIA 20006
                                       cmobley@mcguirewoods.com
                                       Andrew W. Tunnell
                                       Balch & Bingham LLP
Alabama
                                       Balch & Bingham LLP
Power
                                       1710 6TH AVE N
Company
                                       BIRMINGHAM, ALABAMA 35203
                                       atunnell@balch.com
                                       Kevin A. McNamee
                                       Balch & Bingham LLP
                                       1901 Sixth Ave North, Ste
Alabama
                                       1500
Power
                                       Suite 1500
Company
                                       Birmingham, ALABAMA 35203-
                                       4642
                                       kmcnamee@balch.com
            Gabriel Tabak
            Counsel
            American Clean Power
American    Association
Clean Power 1501 M St NW
Association Washington, DISTRICT OF
            COLUMBIA 20005
            UNITED STATES
            gtabak@cleanpower.org
American    Stacey Burbure             Kate Daley
Electric    American Electric Power    1 Riverside Plaza

                                  2
Power         Company                       Columbus, OHIO 43215
Service       801 Pennsylvania Avenue,      kbdaley@aep.com
Corporation   NW
              Washington DC, DISTRICT
              OF COLUMBIA 20004
              UNITED STATES
              slburbure@aep.com
              Robert Weishaar
              McNees Wallace & Nurick LLC
American      1200 G Street, NW
Forest &      Suite 800
Paper         Washington, DISTRICT OF
Association   COLUMBIA 20005
              UNITED STATES
              bweishaar@mcneeslaw.com
             Nicole Allen
             Partner                   Brian Prestwood
             Thompson Coburn LLP       SVP General Counsel and CCO
Associated
             1909 K Street NW          Associated Electric
Electric
             Suite 600                 Cooperative, Inc.
Cooperative,
             Washington, DISTRICT OF   2814 S. Golden Ave.
Inc.
             COLUMBIA 20006            Springfield, MISSOURI 65807
             UNITED STATES             bprestwood@aeci.org
             nallen@thompsoncoburn.com
              Lisa McAlister
              Deputy General Counsel -
                                            Gerit F. Hull
              FERC/
                                            Deputy General Counsel -
              American Municipal Power,
American                                    Regul
              Inc.
Municipal                                   American Municipal Power, Inc.
              1111 Schrock Road
Power, Inc.                                 1111 SCHROCK RD STE 100
              Suite 100
                                            COLUMBUS, OHIO 43229
              Columbus, OHIO 43229
                                            ghull@amppartners.org
              UNITED STATES
              lmcalister@amppartners.org
                                            Christopher J Norton
                                            Director of Market Regulatory
American                                    American Municipal Power, Inc.
Municipal                                   1111 Schrock Road
Power, Inc.                                 Suite 100
                                            Columbus, OHIO 43229
                                            cnorton@amppartners.org



                                   3
             Nicole Allen
             Partner                   Brian Prestwood
Associated
             Thompson Coburn LLP       SVP General Counsel and CCO
Electric     1909 K Street NW          Associated Electric
Cooperative, Suite 600                 Cooperative, Inc.
Inc.         Washington, DISTRICT OF   2814 S. Golden Ave.
             COLUMBIA 20006            Springfield, MISSOURI 65807
             UNITED STATES             bprestwood@aeci.org
             nallen@thompsoncoburn.com
              Elaine Johns
              President/CEO
              EnerVision, Inc., Tailored
              Energy Solutions
Athens        4170 Ashford Dunwoody
Utilities     Road
Board         Suite 550
              Atlanta, GEORGIA 30319
              UNITED STATES
              elaine.johns@enervision-
              inc.com
              John Burns
              General Counsel - Carolinas
              Cl
Carolinas     Carolinas Clean Energy
Clean         Business Association
Energy        811 Ninth Street
Business      Suite 120-158
Association   Durham, NORTH CAROLINA
              27705
              UNITED STATES
              counsel@carolinasceba.com
              John Burns
              General Counsel - Carolinas
              Cl
Carolinas     Carolinas Clean Energy
Clean         Business Association
Energy        811 Ninth Street
Business      Suite 120-158
Association   Durham, NORTH CAROLINA
              27705
              UNITED STATES
              counsel@carolinasceba.com


                                      4
               Patrick Buffkin
               Bailey & Dixon, LLP
Carolinas
               Bailey & Dixon, L.L.P.
Industrial
               434 Fayetteville St.
Group for
               Suite 2500
Fair Utility
               Raleigh, NORTH CAROLINA
Rates
               27601
(CIGFUR)
               UNITED STATES
               pbuffkin@bdixon.com
            James Horwood
            Partner
                                      E Service
            Spiegel & McDiarmid LLP
                                      Spiegel & McDiarmid LLP
City of     1875 Eye Street, N.W.
                                      1875 Eye St, NW
Orangeburg, Suite 700
                                      Suite 700
South       Washington, DISTRICT OF
                                      Washington, DISTRICT OF
Carolina    COLUMBIA 20006
                                      COLUMBIA 20006
            UNITED STATES
                                      eService@spiegelmcd.com
            james.horwood@spiegelmcd.
            com
            Anree Little
            Associate                     Warren Harley
            Spiegel & McDiarmid LLP       Manager
City of
            Spiegel & McDiarmid LLP       City of Orangeburg DPU
Orangeburg,
            1875 Eye St NW Ste 700        1016 Russell Street
South
            Washington, DISTRICT OF       Orangeburg, SOUTH CAROLINA
Carolina
            COLUMBIA 20006                29115
            UNITED STATES                 wharley@orbgdpu.com
            Anree.little@spiegelmcd.com
                                          Wade Holmes
                                          Electric Division Director
City of
                                          City of Orangeburg DPU
Orangeburg,
                                          1016 Russell Street
South
                                          Orangeburg, SOUTH CAROLINA
Carolina
                                          29115
                                          wholmes@orbgdpu.com
               Bryn Baker
Clean          Clean Energy Buyers
Energy         Associatio
Buyers         1425 K ST NW STE 1100
Association    WASHINGTON, DISTRICT OF
               COLUMBIA 20005



                                   5
             UNITED STATES
             bbaker@cebuyers.org
            Matthew Rudolphi
            Attorney
            Thompson Coburn LLP
            55 E MONROE ST
Cooperative
            37TH FLOOR
Energy
            CHICAGO, ILLINOIS 60603
            UNITED STATES
            mrudolphi@thompsoncoburn.
            com
                                        Nathan T Bellville
            Joshua Adrian
                                        Regulatory Affairs Specialist
            Thompson Coburn LLP
                                        South Mississippi Electric Power
            1909 K ST NW STE 600
                                        Association
Cooperative WASHINGTON, DISTRICT OF
                                        P.O. Box 15849
Energy      COLUMBIA 20006
                                        Hattiesburg, MISSISSIPPI
            UNITED STATES
                                        39404-5849
            jadrian@thompsoncoburn.co
                                        nbellville@cooperativeenergy.c
            m
                                        om
             Rick Caster
                                        Dan Cranston
             Cushaw Hydro, LLC
Cushaw                                  Cushaw Hydro, LLC
             PO Box 13
Hydro, LLC                              PO Box 13
             Coleman Falls, VIRGINIA
                                        Coleman Falls, VIRGINIA
             24536
                                        24536
             UNITED STATES
                                        dcranston@gmail.com
             rcaster@gmail.com
             Nicole Allen
                                       John R Thomas
             Partner
                                       SVP Energy Management
             Thompson Coburn LLP
                                       Dalton (GA) Board of Water,
             1909 K Street NW
Dalton                                 Light & Sinking Fund
             Suite 600
Utilities                              1200 VD Parrott Jr. Parkway
             Washington, DISTRICT OF
                                       PO Box 869
             COLUMBIA 20006
                                       DAlton, GEORGIA 30722
             UNITED STATES
                                       jthomas@dutil.com
             nallen@thompsoncoburn.com
             Justin Cockrell
             Counsel
DC Energy,
             DC Energy
LLC
             1600 TYSONS BLVD FL 5
             MC LEAN, VIRGINIA 22102


                                   6
            UNITED STATES
            cockrell@dc-energy.com
            Sara Weinberg
            Dominion Energy, Inc.
            Dominion Energy
Dominion
            Mail Code C222, 220
Energy
            Operation Way
South
            Cayce, SOUTH CAROLINA
Carolina,
            29033
Inc.
            UNITED STATES
            sara.weinberg@dominionene
            rgy.com
            Molly Suda
            Duke Energy Corporation
            1301 PENNSYLVANIA AVE
Duke Energy NW STE 200
Carolinas,  WASHINGTON, DISTRICT OF
LLC         COLUMBIA 20004
            UNITED STATES
            molly.suda@duke-
            energy.com
            Molly Suda
            Duke Energy Corporation
            1301 PENNSYLVANIA AVE
Duke Energy NW STE 200
Progress,   WASHINGTON, DISTRICT OF
LLC         COLUMBIA 20004
            UNITED STATES
            molly.suda@duke-
            energy.com
             Daniel Frank
             Partner
             Eversheds Sutherland (US)   Chuck Dugan
East         LLP                         Director, Federal and RTO Regu
Kentucky     700 Sixth Street, N.W.      East Kentucky Power
Power        Suite 700                   Cooperative, Inc.
Cooperative, Washington, DISTRICT OF     4775 Lexington Road
Inc.         COLUMBIA 20001-3980         Winchester, KENTUCKY 40391
             UNITED STATES               chuck.dugan@ekpc.coop
             DanielFrank@eversheds-
             sutherland.com



                                  7
             Allison Salvia
             Eversheds Sutherland (US)   Denise R Foster Cronin
East         LLP                         Vice President, Federal and RT
Kentucky     700 6TH ST NW               East Kentucky Power
Power        WASHINGTON, DISTRICT OF     Cooperative, Inc.
Cooperative, COLUMBIA 20001              4775 LEXINGTON ROAD 40391
Inc.         UNITED STATES               LEXINGTON, KENTUCKY 40392
             AllisonSalvia@eversheds-    denise.cronin@ekpc.coop
             sutherland.com
            Vincenzo Franco
            Partner
            Rock Creek Energy Group,   Erin K. Bartlett
            LLP                        Of Counsel
EDP
            1 Thomas Circle NW, Suite  Foley & Lardner LLP
Renewables
            700                        3000 K ST NW
North
            Washington, DISTRICT OF    WASHINGTON, DISTRICT OF
America LLC
            COLUMBIA 20005             COLUMBIA 20007
            UNITED STATES              ebartlett@foley.com
            vfranco@rockcreekenergygro
            up.com
                                         Meredith J Chambers
                                         Associate General Counsel
EDP
                                         EDP Renewables North America
Renewables
                                         LLC
North
                                         808 Travis Street, Suite 700
America LLC
                                         Houston, TEXAS 77002
                                         meredith.chambers@edpr.com
                                         David Mindham
EDP                                      EDP Renewables North America
Renewables                               LLC
North                                    51360 Knightsbridge Blvd
America LLC                              Novi, MICHIGAN 48374
                                         david.mindham@edpr.com
              Nancy Bagot
              Vice President
Electric      Electric Power Supply
Power         Association
Supply        1401 NEW YORK AVE NW
Association   STE 950
              WASHINGTON, DISTRICT OF
              COLUMBIA 20005



                                 8
            UNITED STATES
            NancyB@epsa.org
            Maia Hutt
            Staff Attorney
            SOUTHERN ENVIRONMENTAL
                                   Daniel Tait
            LAW CENTER
                                   Energy Alabama
Energy      601 W ROSEMARY ST UNIT
                                   PO Box 1381
Alabama     220
                                   Huntsville, ALABAMA 35807
            CHAPEL HILL, NORTH
                                   dtait@energyalabama.org
            CAROLINA 27516
            UNITED STATES
            mhutt@selcnc.org
            Alexandra Farrell
            SOUTHERN ENVIRONMENTAL
            LAW CENTER
            601 W ROSEMARY ST UNIT
Energy
            220
Alabama
            CHAPEL HILL, NORTH
            CAROLINA 27516
            UNITED STATES
            afarrell@selcnc.org
            Maia Hutt
            Staff Attorney
            SOUTHERN ENVIRONMENTAL
            LAW CENTER
Energy      601 W ROSEMARY ST UNIT
Alabama     220
            CHAPEL HILL, NORTH
            CAROLINA 27516
            UNITED STATES
            mhutt@selcnc.org
            Glen Bernstein
                                       Andrea J Weinstein, ESQ
            Entergy Services, Inc.
                                       VP. Federal Regulatory Affairs
            101 Constitution Avenue,
                                       Entergy Services, Inc.
Entergy     N.W.
                                       101 CONSTITUTION AVE NW
Arkansas,   INC000000471985
                                       SUITE 200 EAST
LLC         Washington, DISTRICT OF
                                       WASHINGTON, DISTRICT OF
            COLUMBIA 20002
                                       COLUMBIA 20001
            UNITED STATES
                                       aweinst@entergy.com
            gbernst@entergy.com




                                 9
               Glen Bernstein
                                          Andrea J Weinstein, ESQ
               Entergy Services, Inc.
                                          VP. Federal Regulatory Affairs
               101 Constitution Avenue,
                                          Entergy Services, Inc.
Entergy        N.W.
                                          101 CONSTITUTION AVE NW
Louisiana,     INC000000471985
                                          SUITE 200 EAST
LLC            Washington, DISTRICT OF
                                          WASHINGTON, DISTRICT OF
               COLUMBIA 20002
                                          COLUMBIA 20001
               UNITED STATES
                                          aweinst@entergy.com
               gbernst@entergy.com
               Glen Bernstein
                                          Andrea J Weinstein, ESQ
               Entergy Services, Inc.
                                          VP. Federal Regulatory Affairs
               101 Constitution Avenue,
                                          Entergy Services, Inc.
Entergy        N.W.
                                          101 CONSTITUTION AVE NW
Mississippi,   INC000000471985
                                          SUITE 200 EAST
LLC            Washington, DISTRICT OF
                                          WASHINGTON, DISTRICT OF
               COLUMBIA 20002
                                          COLUMBIA 20001
               UNITED STATES
                                          aweinst@entergy.com
               gbernst@entergy.com
             Glen Bernstein
                                          Andrea J Weinstein, ESQ
             Entergy Services, Inc.
                                          VP. Federal Regulatory Affairs
             101 Constitution Avenue,
                                          Entergy Services, Inc.
             N.W.
Entergy New                               101 CONSTITUTION AVE NW
             INC000000471985
Orleans, LLC                              SUITE 200 EAST
             Washington, DISTRICT OF
                                          WASHINGTON, DISTRICT OF
             COLUMBIA 20002
                                          COLUMBIA 20001
             UNITED STATES
                                          aweinst@entergy.com
             gbernst@entergy.com
               Glen Bernstein
                                          Andrea J Weinstein, ESQ
               Entergy Services, Inc.
                                          VP. Federal Regulatory Affairs
               101 Constitution Avenue,
                                          Entergy Services, Inc.
Entergy        N.W.
                                          101 CONSTITUTION AVE NW
Services,      INC000000471985
                                          SUITE 200 EAST
LLC            Washington, DISTRICT OF
                                          WASHINGTON, DISTRICT OF
               COLUMBIA 20002
                                          COLUMBIA 20001
               UNITED STATES
                                          aweinst@entergy.com
               gbernst@entergy.com
               Glen Bernstein             Andrea J Weinstein, ESQ
               Entergy Services, Inc.     VP. Federal Regulatory Affairs
Entergy        101 Constitution Avenue,   Entergy Services, Inc.
Texas, Inc.    N.W.                       101 CONSTITUTION AVE NW
               INC000000471985            SUITE 200 EAST
               Washington, DISTRICT OF    WASHINGTON, DISTRICT OF

                                    10
              COLUMBIA 20002                COLUMBIA 20001
              UNITED STATES                 aweinst@entergy.com
              gbernst@entergy.com
            Ted Kelly
            Senior Attorney
            Environmental Defense Fund
Environment 1875 Connecticut Ave NW
al Defense  Suite 600
Fund        Washington, DISTRICT OF
            COLUMBIA 20012
            UNITED STATES
            tekelly@edf.org
            Ted Kelly
            Senior Attorney
            Environmental Defense Fund
Environment 1875 Connecticut Ave NW
al Defense  Suite 600
Fund        Washington, DISTRICT OF
            COLUMBIA 20012
            UNITED STATES
            tekelly@edf.org
                                            Lisa Tynes-Kunzo
              Evan Dean
                                            Legal Specialist
              Corporate Counsel
                                            FirstEnergy Companies
              FirstEnergy
FirstEnergy                                 76 S. Main Street
              76 S MAIN ST # A-GO-15
Companies                                   A-15-GO
              AKRON, OHIO 44308
                                            Akron, OHIO 44308
              UNITED STATES
                                            ltynes_kunzo@firstenergycorp.
              edean@firstenergycorp.com
                                            com
              Amanda Parker
              Attorney
              FirstEnergy Service Company
FirstEnergy
              76 South Main Street
Companies
              Akron, OHIO 44308
              UNITED STATES
              aparker@firstenergycorp.com
              Stephen Pearson               David E Pomper, ESQ
Florida       Attorney                      Attorney
Municipal     Spiegel & McDiarmid LLP       Spiegel & McDiarmid LLP
Power         1875 Eye St, NW               1875 Eye St. NW
Agency        Suite 700                     Suite 700
              Washington, DISTRICT OF       Washington, DISTRICT OF

                                    11
            COLUMBIA 20006             COLUMBIA 20006
            UNITED STATES              david.pomper@spiegelmcd.co
            steve.pearson@spiegelmcd.c m
            om
                                        E Service
                                        Spiegel & McDiarmid LLP
Florida
                                        1875 Eye St, NW
Municipal
                                        Suite 700
Power
                                        Washington, DISTRICT OF
Agency
                                        COLUMBIA 20006
                                        eService@spiegelmcd.com
                                        Ken Rutter
Florida
                                        Florida Municipal Power Agency
Municipal
                                        8553 Commodity Circle
Power
                                        Orlando, FLORIDA 32819
Agency
                                        ken.rutter@fmpa.com
                                        Jody L Finklea
Florida
                                        General Counsel and CLO
Municipal
                                        PO Box 3209
Power
                                        TALLAHASSEE, 32315-3209
Agency
                                        jody.lamar.finklea@fmpa.com
                                        Dan O'Hagan
                                        FMPA - Assistant General
Florida                                 Couns
Municipal                               Florida Municipal Power Agency
Power                                   PO Box 3209
Agency                                  Tallahassee, FLORIDA 32315-
                                        3209
                                        dan.ohagan@fmpa.com
            Justin Moeller
            Senior FERC Counsel
            Florida Power & Light
Florida     Company
Power &     801 Pennsylvania Ave., NW
Light       Suite 220
Company     Washington, DISTRICT OF
            COLUMBIA 20004
            UNITED STATES
            justin.moeller@fpl.com
GASP        Maia Hutt
COALITION   Staff Attorney


                                 12
            SOUTHERN ENVIRONMENTAL
            LAW CENTER
            601 W ROSEMARY ST UNIT
            220
            CHAPEL HILL, NORTH
            CAROLINA 27516
            UNITED STATES
            mhutt@selcnc.org
            Maia Hutt
            Staff Attorney         Alexandra Farrell
            SOUTHERN ENVIRONMENTAL SOUTHERN ENVIRONMENTAL
            LAW CENTER             LAW CENTER
GASP        601 W ROSEMARY ST UNIT 601 W ROSEMARY ST UNIT
COALITION   220                    220
            CHAPEL HILL, NORTH     CHAPEL HILL, NORTH
            CAROLINA 27516         CAROLINA 27516
            UNITED STATES          afarrell@selcnc.org
            mhutt@selcnc.org
            Charles Jones
Georgia     Vice President and General
Association Cou
of          50 Hurt Plaza, Suite 985
Manufacture Atlanta, GEORGIA 30303
rs          UNITED STATES
            cjones@gamfg.org
            Maia Hutt
            Staff Attorney
            SOUTHERN ENVIRONMENTAL
            LAW CENTER
Georgia
            601 W ROSEMARY ST UNIT
Conservatio
            220
n Voters
            CHAPEL HILL, NORTH
            CAROLINA 27516
            UNITED STATES
            mhutt@selcnc.org
            Maia Hutt
                                   Alexandra Farrell
            Staff Attorney
                                   SOUTHERN ENVIRONMENTAL
Georgia     SOUTHERN ENVIRONMENTAL
                                   LAW CENTER
Conservatio LAW CENTER
                                   601 W ROSEMARY ST UNIT
n Voters    601 W ROSEMARY ST UNIT
                                   220
            220
                                   CHAPEL HILL, NORTH
            CHAPEL HILL, NORTH

                                  13
             CAROLINA 27516              CAROLINA 27516
             UNITED STATES               afarrell@selcnc.org
             mhutt@selcnc.org
             Maia Hutt
             Staff Attorney
             SOUTHERN ENVIRONMENTAL
Georgia      LAW CENTER
Interfaith   601 W ROSEMARY ST UNIT
Power and    220
Light        CHAPEL HILL, NORTH
             CAROLINA 27516
             UNITED STATES
             mhutt@selcnc.org
             Maia Hutt
             Staff Attorney         Alexandra Farrell
             SOUTHERN ENVIRONMENTAL SOUTHERN ENVIRONMENTAL
Georgia      LAW CENTER             LAW CENTER
Interfaith   601 W ROSEMARY ST UNIT 601 W ROSEMARY ST UNIT
Power and    220                    220
Light        CHAPEL HILL, NORTH     CHAPEL HILL, NORTH
             CAROLINA 27516         CAROLINA 27516
             UNITED STATES          afarrell@selcnc.org
             mhutt@selcnc.org
                                         Robert Trokey
           Preston Thomas
                                         Direct, Electric Regulation
           Attorney
                                         Georgia Public Service
Georgia    Georgia Public Service
                                         Commission
Public     Commission
                                         Georgia Public Service
Service    244 Washington Street, SW
                                         Commission
Commission Atlanta, GEORGIA 30334
                                         244 Washington St SW
           UNITED STATES
                                         Atlanta, GEORGIA 30334
           pthomas@psc.ga.gov
                                         rtrokey@psc.state.ga.us
          William DeGrandis
          Partner
GEORGIA
          Paul Hastings LLP
SYSTEM
          2050 M Street, NW
OPERATION
          Washington, DISTRICT OF
S
          COLUMBIA 2003
CORPORATI
          UNITED STATES
ON
          billdegrandis@paulhastings.c
          om



                                14
          Nicholas Guidi               christina bigelow
GEORGIA   Paul Hastings                Sr. Director, ISO/RTO Affairs
SYSTEM    2050 M ST NW                 Pine Gate Renewables, LLC
OPERATION WASHINGTON, DISTRICT OF 130 ROBERTS ST
S         COLUMBIA 20036               ASHEVILLE, NORTH CAROLINA
CORPORATI UNITED STATES                28801
ON        nicholasguidi@paulhastings.c christinabigelow@pgrenewable
          om                           s.com
          Carlos Clemente
          Associate, Corporate
GEORGIA   Departmen
SYSTEM    Paul Hastings LLP
OPERATION 2050 M St. NW
S         Washington, DISTRICT OF
CORPORATI COLUMBIA 20036
ON        UNITED STATES
          carlosclemente@paulhastings
          .com
          Alexander Kaplen
                                           Gregory D Jones
GEORGIA   Paul Hastings LLP
                                           Paul Hastings LLP
SYSTEM    2050 M ST NW
                                           2050 M ST NW
OPERATION WASHINGTON, DISTRICT OF
                                           WASHINGTON, DISTRICT OF
S         COLUMBIA 20036
                                           COLUMBIA 20036
CORPORATI UNITED STATES
                                           gregoryjones@paulhastings.co
ON        alexanderkaplen@paulhastin
                                           m
          gs.com
            William DeGrandis
            Partner                        Anne Hicks
            Paul Hastings LLP              Georgia Transmission Corporati
Georgia
            2050 M Street, NW              Georgia Transmission
Transmissio
            Washington, DISTRICT OF        Corporation
n
            COLUMBIA 2003                  2100 E. Exchange Place
Corporation
            UNITED STATES                  Tucker, GEORGIA 30084
            billdegrandis@paulhastings.c   anne.hicks@gatrans.com
            om
            Nicholas Guidi
Georgia     Paul Hastings
Transmissio 2050 M ST NW
n           WASHINGTON, DISTRICT OF
Corporation COLUMBIA 20036
            UNITED STATES



                                  15
              nicholasguidi@paulhastings.c
              om
            Carlos Clemente
            Associate, Corporate
            Departmen
Georgia     Paul Hastings LLP
Transmissio 2050 M St. NW
n           Washington, DISTRICT OF
Corporation COLUMBIA 20036
            UNITED STATES
            carlosclemente@paulhastings
            .com
            Alexander Kaplen
                                             Gregory D Jones
            Paul Hastings LLP
                                             Paul Hastings LLP
Georgia     2050 M ST NW
                                             2050 M ST NW
Transmissio WASHINGTON, DISTRICT OF
                                             WASHINGTON, DISTRICT OF
n           COLUMBIA 20036
                                             COLUMBIA 20036
Corporation UNITED STATES
                                             gregoryjones@paulhastings.co
            alexanderkaplen@paulhastin
                                             m
            gs.com
            Elaine Johns
            President/CEO
            EnerVision, Inc., Tailored
            Energy Solutions
Gibson
            4170 Ashford Dunwoody
Electric
            Road
Membership
            Suite 550
Corporation
            Atlanta, GEORGIA 30319
            UNITED STATES
            elaine.johns@enervision-
            inc.com
            Joshua Warmack
            4170 Ashford-Dunwoody
Gibson
            Road, Suite 550
Electric
            Atlanta, GEORGIA 30319
Membership
            UNITED STATES
Corporation
            joshua.warmack@enervision-
            inc.com
Joe Wheeler   Elaine Johns
Electric      President/CEO
Membership    EnerVision, Inc., Tailored
Corporation   Energy Solutions

                                      16
            4170 Ashford Dunwoody
            Road
            Suite 550
            Atlanta, GEORGIA 30319
            UNITED STATES
            elaine.johns@enervision-
            inc.com
            Joshua Warmack
            4170 Ashford-Dunwoody
Joe Wheeler
            Road, Suite 550
Electric
            Atlanta, GEORGIA 30319
Membership
            UNITED STATES
Corporation
            joshua.warmack@enervision-
            inc.com
            Joseph West
            Kentucky Attorney General
Kentucky    700 Capital Ave
Attorney    Suite 20
General     Frankfort, KENTUCKY 40601
            UNITED STATES
            michael.west@ky.gov
            Larry Cook
            Kentucky Attorney General
Kentucky    700 CAPITAL AVE
Attorney    FRANKFORT, KENTUCKY
General     40601
            UNITED STATES
            larry.cook@ky.gov
            Thomas Trauger
            Spiegel & McDiarmid LLP
                                         Latif Nurani
            1875 Eye Street, NW
Kentucky                                 Spiegel & McDiarmid LLP
            Suite 700
Municipal                                1875 EYE ST NW STE 700
            Washington, DISTRICT OF
Energy                                   WASHINGTON, DISTRICT OF
            COLUMBIA 20006
Agency                                   COLUMBIA 20006
            UNITED STATES
                                         latif.nurani@spiegelmcd.com
            tom.trauger@spiegelmcd.co
            m
                                         E Service
Kentucky
                                         Spiegel & McDiarmid LLP
Municipal
                                         1875 Eye St, NW
Energy
                                         Suite 700
Agency
                                         Washington, DISTRICT OF

                                  17
                                               COLUMBIA 20006
                                               eService@spiegelmcd.com
                                               Douglas A. Buresh
                                               President and CEO
Kentucky                                       Kentucky Municipal Energy
Municipal                                      Agency
Energy                                         1700 Eastpoint Parkway
Agency                                         Suite 220
                                               Louisville, KENTUCKY 40223
                                               dburesh@kymea.org
                                               Charlie Musson, ESQ
Kentucky                                       Rubin & Hays
Municipal                                      450 South Third Street
Energy                                         Kentucky Home Trust Building
Agency                                         Louisville, KENTUCKY 40202
                                               csmusson@rubinhays.com
                                               Kent A Chandler
                                               Executive Staff Advisor
Kentucky
                                               Kentucky Public Service
Public
                                               Commission
Service
                                               211 Sower Blvd.
Commission
                                               Frankfort, KENTUCKY 40601
                                               kent.chandler@ky.gov
           John Pinney
           Executive Advisor                   Justin M McNeil
           Kentucky Public Service             Executive Advisor Attorney
Kentucky
           Commission                          Kentucky Public Service
Public
           211 Sower Blvd                      Commission
Service
           P.O. Box 615                        211 Sower Blvd
Commission
           Frankfort, KENTUCKY 40602           Frankfort, KENTUCKY 40601
           UNITED STATES                       Justin.McNeil@ky.gov
           jeb.pinney@ky.gov
                Jennifer Keisling
Louisville                                     Kelsey Colvin
                Sr Corporate Attorney
Gas and                                        Senior Counsel
                220 West Main St
Electric Co./                                  220 W MAIN ST
                Louisville, KENTUCKY 40202
Kentucky                                       LOUISVILLE, KENTUCKY 40202
                UNITED STATES
Utilities Co.                                  kacolvin@pplweb.com
                jennifer.keisling@lge-ku.com
LS Power   Neil Levy
Developmen McDermott Will & Emery LLP
t, LLC     500 North Capitol Street, NW


                                      18
            Washington, DISTRICT OF
            COLUMBIA 20001
            UNITED STATES
            nlevy@mwe.com
           Tom Hoatson
           1 Tower Center
LS Power
           East Brunswick, NEW JERSEY
Developmen
           08816
t, LLC
           UNITED STATES
           thoatson@lspower.com
           Marjorie Philips
           VP, Wholesale Market Policy
LS Power   LS Power Associates, L.P.
Developmen 1700 Broadway, 38th Floor
t, LLC     New York, NEW YORK 10019
           UNITED STATES
           mphilips@lspower.com
           Jonathan Trotta
           Davis Wright Tremaine LLP
           Davis Wright Tremaine LLP     Peter M Degnan
           1301 K ST NW                  Sr. V.P. & General Counsel
MEAG Power SUITE 500 EAST                1470 Riveredge Pkwy.
           WASHINGTON, DISTRICT OF       Atlanta, GEORGIA 30328
           COLUMBIA 20005                pdegnan@meagpower.org
           UNITED STATES
           jtrotta@dwt.com
             Jacob Krouse
                                         Midwest ISO
Midcontinent Midcontinent Independent
                                         Midcontinent Independent
Independent System Operator, Inc.
                                         System Operator, Inc.
System       720 City Center Dr.
                                         PO Box 4202
Operator,    Carmel, INDIANA 46032
                                         Carmel,INDIANA
Inc.         UNITED STATES
                                         misolegal@misoenergy.org
             jkrouse@misoenergy.org
             Ilia Levitine
             Duane Morris LLP            Julie Bunn
Midcontinent
             505 9th St. NW              Midcontinent Independent
Independent
             Suite 1000                  System Operator, Inc.
System
             Washington, DISTRICT OF     720 CITY CENTER DR
Operator,
             COLUMBIA 20004              CARMEL, INDIANA 46032
Inc.
             UNITED STATES               jbunn@misoenergy.org
             ilevitine@duanemorris.com


                                  19
            David Carr
            Special to the Commission
            for
Mississippi
            Mississippi Public Service
Public
            Commission
Service
            501 N West St
Commission
            Jackson, MISSISSIPPI 39201
            UNITED STATES
            david.carr@psc.ms.gov
           Stephen Pearson
           Attorney                      Cynthia S. Bogorad
Missouri   Spiegel & McDiarmid LLP       Spiegel & McDiarmid LLP
Joint      1875 Eye St, NW               1875 Eye Street, NW
Municipal  Suite 700                     Suite 700
Electric   Washington, DISTRICT OF       Washington, DISTRICT OF
Utility    COLUMBIA 20006                COLUMBIA 20006
Commission UNITED STATES                 cynthia.bogorad@spiegelmcd.c
           steve.pearson@spiegelmcd.c    om
           om
                                         E Service
Missouri
                                         Spiegel & McDiarmid LLP
Joint
                                         1875 Eye St, NW
Municipal
                                         Suite 700
Electric
                                         Washington, DISTRICT OF
Utility
                                         COLUMBIA 20006
Commission
                                         eService@spiegelmcd.com
Missouri
                                         Douglas L Healy
Joint
                                         3010 E BATTLEFIELD ST STE A
Municipal
                                         SPRINGFIELD, MISSOURI
Electric
                                         65804
Utility
                                         doug@healylawoffices.com
Commission
                                         Heather H Starnes
Missouri
                                         Attorney
Joint
                                         Healy Law Offices, LLC
Municipal
                                         12 PERDIDO CIR
Electric
                                         LITTLE ROCK, ARKANSAS
Utility
                                         72211
Commission
                                         heather@healylawoffices.com
Missouri                                 John E Grotzinger
Joint                                    INDIVIDUAL
Municipal                                1808 I-70 Drive SW

                                20
Electric          Columbia, MISSOURI 65203
Utility           jgrotzinger@mpua.org
Commission
Missouri
Joint             Rebecca Atkins
Municipal         2200 Maguire Blvd
Electric          COLUMBIA, MISSOURI 65201
Utility           ratkins@mpua.org
Commission
                  E Service
Missouri
                  Spiegel & McDiarmid LLP
Joint
                  1875 Eye St, NW
Municipal
                  Suite 700
Electric
                  Washington, DISTRICT OF
Utility
                  COLUMBIA 20006
Commission
                  eService@spiegelmcd.com
Missouri
                  Douglas L Healy
Joint
                  3010 E BATTLEFIELD ST STE A
Municipal
                  SPRINGFIELD, MISSOURI
Electric
                  65804
Utility
                  doug@healylawoffices.com
Commission
                  Heather H Starnes
Missouri
                  Attorney
Joint
                  Healy Law Offices, LLC
Municipal
                  12 PERDIDO CIR
Electric
                  LITTLE ROCK, ARKANSAS
Utility
                  72211
Commission
                  heather@healylawoffices.com
Missouri
                  John E Grotzinger
Joint
                  INDIVIDUAL
Municipal
                  1808 I-70 Drive SW
Electric
                  Columbia, MISSOURI 65203
Utility
                  jgrotzinger@mpua.org
Commission
Missouri
Joint             Rebecca Atkins
Municipal         2200 Maguire Blvd
Electric          COLUMBIA, MISSOURI 65201
Utility           ratkins@mpua.org
Commission


             21
             Jeffrey Mayes
             General Counsel
             Monitoring Analytics, LLC    Joseph Bowring
             2621 Van Buren Avenue,       Monitoring Analytics, LLC
             Suite 160                    2621 Van Buren Avenue, Suite
Monitoring
             Valley Forge Corporate       160
Analytics,
             Center                       Norristown, PENNSYLVANIA
LLC
             Eagleville, PENNSYLVANIA     19403
             19403                        Joseph.Bowring@monitoringan
             UNITED STATES                alytics.com
             jeffrey.mayes@monitoringan
             alytics.com
                                          Suzette N Krausen
                                          Executive Assistant
                                          Monitoring Analytics, LLC
Monitoring
                                          2621 Van Buren Ave Ste 160
Analytics,
                                          Norristown, PENNSYLVANIA
LLC
                                          19403
                                          Suzette.Krausen@monitoringan
                                          alytics.com
             Kenneth Irvin
             Partner
                                          Christopher Polito
             Sidley Austin LLP
Morgan                                    Sidley Austin LLP
             1501 K ST NW
Stanley                                   1501 K Street, N.W.
             SIDLEY AUSTIN LLP
Capital                                   Washington, DISTRICT OF
             WASHINGTON, DISTRICT OF
Group Inc.                                COLUMBIA 20005
             COLUMBIA 20005
                                          cpolito@sidley.com
             UNITED STATES
             kirvin@sidley.com
            Mary Ann Ralls
            Senior Director, Regulatory
National    Co
Rural       National Rural Electric
Electric    Cooperative Association
Cooperative 4301 Wilson Blvd.
Association Arlington, VIRGINIA 22203
            UNITED STATES
            maryann.ralls@nreca.coop
NATURAL   Daniel Franz
RESOURCES EARTHJUSTICE
DEFENSE   1001 G Street NW, Suite
COUNCIL   1000

                                   22
              Washington, DISTRICT OF
              COLUMBIA 20001
              UNITED STATES
              dfranz@earthjustice.org
          Danielle Fidler
          Senior Attorney                Daniel Franz
NATURAL   EARTHJUSTICE                   EARTHJUSTICE
RESOURCES 48 WALL ST FL 15               1001 G Street NW, Suite 1000
DEFENSE   NEW YORK, NEW YORK             Washington, DISTRICT OF
COUNCIL   10005                          COLUMBIA 20001
          UNITED STATES                  dfranz@earthjustice.org
          dfidler@earthjustice.org
                                         John Moore
                                         Senior Attorney
NATURAL
                                         Sustainable FERC Project
RESOURCES
                                         2 N Riverside Plz Ste 2250
DEFENSE
                                         RTS-RETURN TO SENDER
COUNCIL
                                         Chicago, ILLINOIS 60606-2640
                                         moore.fercproject@gmail.com
                                         Margaret A Force
                                         Special Deputy Attorney Gener
North
                                         North Carolina Office of
Carolina
                                         Attorney General
Department
                                         PO Box 629
of Justice
                                         Raleigh,
                                         pforce@ncdoj.gov
                                         Brenda Lynam
North                                    Legal
Carolina                                 North Carolina Electric
Electric                                 Membership Corporation
Membership                               PO Box 27306
Corporation                              Raleigh, 27611-7306
                                         brenda.lynam@ncemcs.com
            Charles Bayless
            General Counsel
North       North Carolina Electric
Carolina    Membership Corporation
Electric    3400 SUMNER BLVD
Membership RALEIGH, NORTH CAROLINA
Corporation 27616
            UNITED STATES
            charlie.bayless@ncemcs.com

                                  23
            Denise Goulet
            Partner
North       McCarter & English, LLP
Carolina    1301 K ST NW
Electric    SUITE 1000 WEST
Membership WASHINGTON, DISTRICT OF
Corporation COLUMBIA 20005
            UNITED STATES
            dgoulet@mccarter.com
            Sean Beeny
            Attorney
North       INDIVIDUAL
Carolina    1301 K Street N.W.
Electric    Suite 1000 West
Membership Washington, DISTRICT OF
Corporation COLUMBIA 20005
            UNITED STATES
            sbeeny@mccarter.com
                                           Matthew E Schull
North                                      Chief Operating Officer
Carolina                                   ElectriCities of North Carolina,
Municipal                                  Inc.
Power                                      1427 Meadow Wood Blvd
Agency                                     Raleigh, NORTH CAROLINA
Number 1                                   27604
                                           mschull@electricities.org
North                                      Jay Morrison
Carolina                                   Chief Legal and External Affai
Municipal                                  1427 Meadow Wood Ave.
Power                                      Raleigh, NORTH CAROLINA
Agency                                     27604
Number 1                                   jmorriso@electricities.org
              Taylor Jones
              North Carolina Sustainable
North
              Energy Association
Carolina
              4604 LANCASHIRE DR
Sustainable
              RALEIGH, NORTH CAROLINA
Energy
              27613
Association
              UNITED STATES
              taylor@energync.org
North         Benjamin Smith
Carolina      Regulatory Counsel

                                   24
Sustainable   4800 Six Forks Road
Energy        Suite 300
Association   Raleigh, NORTH CAROLINA
              27609
              UNITED STATES
              ben@energync.org
North                                     Cassie Gavin
Carolina                                  1816 MIDWOOD DR
Sustainable                               RALEIGH, NORTH CAROLINA
Energy                                    27604
Association                               cassie@energync.org
           Derrick Mertz
           Staff Attorney
           North Carolina Utilities
North      Commission
Carolina   430 N. Salisbury St.
Utilities  Dobbs Building
Commission Raleigh, NORTH CAROLINA
           27603
           UNITED STATES
           dmertz@ncuc.net
             Robert Josey
             North Carolina Utilities
North
             Commission Public Staff
Carolina
             430 N Salisbury St
Utilities
             Raleigh, NORTH CAROLINA
Commission
             27699
Public Staff
             UNITED STATES
             robert.josey@psncuc.nc.gov
             Robert Josey
             North Carolina Utilities
North
             Commission Public Staff
Carolina
             430 N Salisbury St
Utilities
             Raleigh, NORTH CAROLINA
Commission
             27699
Public Staff
             UNITED STATES
             robert.josey@psncuc.nc.gov
              William DeGrandis
Oglethorpe    Partner
Power         Paul Hastings LLP
Corporation   2050 M Street, NW
              Washington, DISTRICT OF

                                  25
              COLUMBIA 2003
              UNITED STATES
              billdegrandis@paulhastings.c
              om
              Nicholas Guidi
              Paul Hastings
              2050 M ST NW
Oglethorpe
              WASHINGTON, DISTRICT OF
Power
              COLUMBIA 20036
Corporation
              UNITED STATES
              nicholasguidi@paulhastings.c
              om
              Carlos Clemente
              Associate, Corporate
              Departmen
              Paul Hastings LLP
Oglethorpe
              2050 M St. NW
Power
              Washington, DISTRICT OF
Corporation
              COLUMBIA 20036
              UNITED STATES
              carlosclemente@paulhastings
              .com
              Nathaniel Waldman
              Case Assistant, Energy
              Paul Hastings LLP
Oglethorpe    2050 M St NW
Power         Washington, DISTRICT OF
Corporation   COLUMBIA 20036
              UNITED STATES
              nathanielwaldman@paulhasti
              ngs.com
              Alexander Kaplen
                                             Gregory D Jones
              Paul Hastings LLP
                                             Paul Hastings LLP
              2050 M ST NW
Oglethorpe                                   2050 M ST NW
              WASHINGTON, DISTRICT OF
Power                                        WASHINGTON, DISTRICT OF
              COLUMBIA 20036
Corporation                                  COLUMBIA 20036
              UNITED STATES
                                             gregoryjones@paulhastings.co
              alexanderkaplen@paulhastin
                                             m
              gs.com
Orlando    Michael Postar             Julie L Smith
Utilities  Attorney                   Legal Assistant
Commission Duncan, Weinberg, Genzer & Duncan, Weinberg, Genzer &

                                    26
             Pembroke PC                   Pembroke, P.C.
             1667 K Street, N.W., Suite    1667 K Street, N.W., Suite 700
             700                           Washington, DISTRICT OF
             Duncan Weinberg Genzer &      COLUMBIA 20006
             Pembroke                      JLS@dwgp.com
             Washington, DISTRICT OF
             COLUMBIA 20006
             UNITED STATES
             mrp@dwgp.com
                                           Lauren M Perkins
                                           Duncan Weinberg Genzer
Orlando                                    Pembrok
Utilities                                  915 L ST STE 1410
Commission                                 SACRAMENTO, CALIFORNIA
                                           95814
                                           lmp@dwgp.com
             Maia Hutt
             Staff Attorney
             SOUTHERN ENVIRONMENTAL
             LAW CENTER
Partnership
             601 W ROSEMARY ST UNIT
for Southern
             220
Equity
             CHAPEL HILL, NORTH
             CAROLINA 27516
             UNITED STATES
             mhutt@selcnc.org
             Maia Hutt
             Staff Attorney         Alexandra Farrell
             SOUTHERN ENVIRONMENTAL SOUTHERN ENVIRONMENTAL
             LAW CENTER             LAW CENTER
Partnership
             601 W ROSEMARY ST UNIT 601 W ROSEMARY ST UNIT
for Southern
             220                    220
Equity
             CHAPEL HILL, NORTH     CHAPEL HILL, NORTH
             CAROLINA 27516         CAROLINA 27516
             UNITED STATES          afarrell@selcnc.org
             mhutt@selcnc.org
            Brett White
            Director, Regulatory Affairs
Pine Gate
            Pine Gate Renewables, LLC
Renewables,
            150 U Street NE
LLC
            Washington, DISTRICT OF
            COLUMBIA 20002

                                    27
               UNITED STATES
               bwhite@pgrenewables.com
                                         Steven R Pincus, ESQ
                                         Assistant General Counsel - Re
PJM
                                         2750 Monroe Blvd.
Interconnect
                                         Audubon, PENNSYLVANIA
ion, L.L.C.
                                         19403
                                         steven.pincus@pjm.com
            Kevin Conoscenti
            McCarter & English, LLP
            1301 K Street N.W.
PowerSouth
            Suite 1000 West
Energy
            Washington, DISTRICT OF
Cooperative
            COLUMBIA 20005
            UNITED STATES
            kconoscenti@mccarter.com
            Sean Beeny
            Attorney
            INDIVIDUAL
PowerSouth 1301 K Street N.W.
Energy      Suite 1000 West
Cooperative Washington, DISTRICT OF
            COLUMBIA 20005
            UNITED STATES
            sbeeny@mccarter.com
               Tyson Slocum
               Director
               Public Citizen's Energy
PUBLIC         Program
CITIZEN,       215 Pennsylvania Ave SE
INC            Washington, DISTRICT OF
               COLUMBIA 20003
               UNITED STATES
               tslocum@citizen.org
               Christopher Villarreal
               R Street Institute
               9492 Olympia Drive
R Street
               Eden Prairie, MINNESOTA
Institute
               55347
               UNITED STATES
               cvillarreal@rstreet.org


                                   28
              Tim Opitz
              General Counsel
              Renew Missouri Advocates
Renew
              409 Vandiver Dr.
Missouri
              Building 5 Suite 205
Advocates
              Columbia, MISSOURI 65202
              UNITED STATES
              tim@renewmo.org
              Brian Morgan
              Clean Energy Buyers
Renewable     Association
Energy        1425 K ST NW STE 1110
Buyers        WASHINGTON, DISTRICT OF
Alliance      COLUMBIA 20005
              UNITED STATES
              bmorgan@cebuyers.org
             Matthew Picardi
             Vice President
             Shell Energy North America
Shell Energy
             (US), L.P.
North
             36 Pinewood Ave.
America
             Saratoga Springs, NEW YORK
(U.S.), L.P.
             12866
             UNITED STATES
             Matthew.Picardi@shell.com
              Maia Hutt
              Staff Attorney
              SOUTHERN ENVIRONMENTAL Casey Roberts
              LAW CENTER             Senior Attorney
              601 W ROSEMARY ST UNIT Sierra Club
Sierra Club
              220                    1536 Wynkoop St, Suite 200
              CHAPEL HILL, NORTH     Denver, COLORADO 80202
              CAROLINA 27516         casey.roberts@sierraclub.org
              UNITED STATES
              mhutt@selcnc.org
              Maia Hutt
                                     Alexandra Farrell
              Staff Attorney
                                     SOUTHERN ENVIRONMENTAL
              SOUTHERN ENVIRONMENTAL
                                     LAW CENTER
Sierra Club   LAW CENTER
                                     601 W ROSEMARY ST UNIT
              601 W ROSEMARY ST UNIT
                                     220
              220
                                     CHAPEL HILL, NORTH
              CHAPEL HILL, NORTH

                                 29
               CAROLINA 27516                CAROLINA 27516
               UNITED STATES                 afarrell@selcnc.org
               mhutt@selcnc.org
             Gizelle Wray
             Manager of Regulatory           Sean Gallagher
             Affairs                         Solar Energy Industries
             Solar Energy Industries         Association
Solar Energy
             Association                     1425 K St NW
Industries
             1425 K St NW Ste. 1000          Suite 1000
Association
             Washington, DISTRICT OF         Washington, DISTRICT OF
             COLUMBIA 20005                  COLUMBIA 20005
             UNITED STATES                   sgallagher@seia.org
             gwray@seia.org
Solar Energy
                                             William Giese
Industries
                                             WGiese@seia.org
Association
            Maia Hutt
            Staff Attorney
            SOUTHERN ENVIRONMENTAL
South
            LAW CENTER
Carolina
            601 W ROSEMARY ST UNIT
Coastal
            220
Conservatio
            CHAPEL HILL, NORTH
n League
            CAROLINA 27516
            UNITED STATES
            mhutt@selcnc.org
            Maia Hutt
            Staff Attorney         Alexandra Farrell
            SOUTHERN ENVIRONMENTAL SOUTHERN ENVIRONMENTAL
South
            LAW CENTER             LAW CENTER
Carolina
            601 W ROSEMARY ST UNIT 601 W ROSEMARY ST UNIT
Coastal
            220                    220
Conservatio
            CHAPEL HILL, NORTH     CHAPEL HILL, NORTH
n League
            CAROLINA 27516         CAROLINA 27516
            UNITED STATES          afarrell@selcnc.org
            mhutt@selcnc.org
               Andrew Bateman                Andrew Bateman, ESQ
South
               Esquire                       Esquire
Carolina
               South Carolina Office of      South Carolina Office of
Office of
               Regulatory Staff              Regulatory Staff
Regulatory
               1401 Main Street, Suite 900   1401 Main Street, Suite 900
Staff
               Columbia, SOUTH CAROLINA      Columbia, SOUTH CAROLINA

                                    30
               29201                         29201
               UNITED STATES                 abateman@ors.sc.gov
               abateman@ors.sc.gov
               Stephen Pelcher
               Deputy General Counsel
South          SANTEE COOPER PUBLIC
Carolina       SERVICE AUTHORITY
Public         PO Box 2946101
Service        Moncks Corner,SOUTH
Authority      CAROLINA 29461-6101
               UNITED STATES
               srpelche@santeecooper.com
               Maggie Shober
               Southern Alliance for Clean
Southern
               Energy
Alliance for
               PO Box 1842
Clean
               Knoxville, TENNESSEE 37901
Energy
               UNITED STATES
               maggie@cleanenergy.org
               Maia Hutt
               Staff Attorney         Alexandra Farrell
               SOUTHERN ENVIRONMENTAL SOUTHERN ENVIRONMENTAL
Southern       LAW CENTER             LAW CENTER
Alliance for   601 W ROSEMARY ST UNIT 601 W ROSEMARY ST UNIT
Clean          220                    220
Energy         CHAPEL HILL, NORTH     CHAPEL HILL, NORTH
               CAROLINA 27516         CAROLINA 27516
               UNITED STATES          afarrell@selcnc.org
               mhutt@selcnc.org
               Andrew Tunnell
               Balch & Bingham LLP
Southern                                     Abigail Fox
               Balch & Bingham LLP
Company                                      Balch & Bingham LLP
               1710 6TH AVE N
Services,                                    1710 6TH AVE N
               BIRMINGHAM, ALABAMA
Inc.                                         BIRMINGHAM, ALABAMA 35203
               35203
                                             afox@balch.com
               UNITED STATES
               atunnell@balch.com
               Kevin McNamee
Southern                                     Christopher H Demko
               Balch & Bingham LLP
Company                                      Southern Company Services,
               1901 Sixth Ave North, Ste
Services,                                    Inc.
               1500
Inc.                                         30 Ivan Allen Jr. Blvd, NW
               Suite 1500

                                     31
              Birmingham, ALABAMA        Atlanta, GEORGIA 30308
              35203-4642                 chdemko@southernco.com
              UNITED STATES
              kmcnamee@balch.com
                                         Alexandra Farrell
SOUTHERN                                 601 W ROSEMARY ST UNIT
ENVIRONME                                220
NTAL LAW                                 CHAPEL HILL, NORTH
CENTER                                   CAROLINA 27516
                                         afarrell@selcnc.org
              Simon Mahan
Southern      5702 Old Hickory Rd
Renewable     Little Rock, ARKANSAS
Energy        72204
Association   UNITED STATES
              simon@southernwind.org
              Maia Hutt
              Staff Attorney
              SOUTHERN ENVIRONMENTAL Lisa Bianchi-Fossati
              LAW CENTER             Director, Policy & Sustainabil
Southface     601 W ROSEMARY ST UNIT Southface Institute
Institute     220                    241 Pine St NE
              CHAPEL HILL, NORTH     Atlanta, GEORGIA 30308
              CAROLINA 27516         lbianchi-fossati@southface.org
              UNITED STATES
              mhutt@selcnc.org
              Alexandra Farrell
              SOUTHERN ENVIRONMENTAL
              LAW CENTER
              601 W ROSEMARY ST UNIT
Southface
              220
Institute
              CHAPEL HILL, NORTH
              CAROLINA 27516
              UNITED STATES
              afarrell@selcnc.org
             Daniel Franz                Danielle Fidler
             EARTHJUSTICE                Senior Attorney
Sustainable 1001 G Street NW, Suite      EARTHJUSTICE
FERC Project 1000                        48 WALL ST FL 15
             Washington, DISTRICT OF     NEW YORK, NEW YORK 10005
             COLUMBIA 20001              dfidler@earthjustice.org


                                    32
               UNITED STATES
               dfranz@earthjustice.org
             Danielle Fidler
             Senior Attorney                Daniel Franz
             EARTHJUSTICE                   EARTHJUSTICE
Sustainable 48 WALL ST FL 15                1001 G Street NW, Suite 1000
FERC Project NEW YORK, NEW YORK             Washington, DISTRICT OF
             10005                          COLUMBIA 20001
             UNITED STATES                  dfranz@earthjustice.org
             dfidler@earthjustice.org
                                            John Moore
                                            Senior Attorney
                                            Sustainable FERC Project
Sustainable
                                            2 N Riverside Plz Ste 2250
FERC Project
                                            RTS-RETURN TO SENDER
                                            Chicago, ILLINOIS 60606-2640
                                            moore.fercproject@gmail.com
               Richard Saas
               Attorney
               Tennessee Valley Authority
Tennessee
               1100 MARKET ST
Valley
               CHATTANOOGA, TENNESSEE
Authority
               37402
               UNITED STATES
               rtsaas@tva.gov
              John Coyle
              Duncan & Allen LLP
Tennessee     Suite 700
Valley Public 1730 Rhode Island Avenue,
Power         N.W.
Association, Washington, DISTRICT OF
Inc.          COLUMBIA 20036-3115
              UNITED STATES
              jpc@duncanallen.com
               William Rust
               Compliance Director
The Energy     The Energy Authority, Inc.
Authority,     1301 RIVERPLACE BLVD STE
Inc.           2700
               JACKSONVILLE, FLORIDA
               32207


                                     33
               UNITED STATES
               brust@teainc.org
               Allison Wannop
               Voltus, Inc.
               460 MARTEL LN
Voltus, Inc.   ST GEORGE, VERMONT
               05495
               UNITED STATES
               awannop@voltus.co
            Elaine Johns
            President/CEO
            EnerVision, Inc., Tailored
            Energy Solutions
Volunteer   4170 Ashford Dunwoody
Energy      Road
Cooperative Suite 550
            Atlanta, GEORGIA 30319
            UNITED STATES
            elaine.johns@enervision-
            inc.com
            Joshua Warmack
            4170 Ashford-Dunwoody
Volunteer   Road, Suite 550
Energy      Atlanta, GEORGIA 30319
Cooperative UNITED STATES
            joshua.warmack@enervision-
            inc.com
               Maia Hutt
               Staff Attorney
                                      Frank Rambo
               SOUTHERN ENVIRONMENTAL
                                      SOUTHERN ENVIRONMENTAL
               LAW CENTER
                                      LAW CENTER
               601 W ROSEMARY ST UNIT
Vote Solar                            120 GARRETT ST STE 400
               220
                                      CHARLOTTESVILLE, VIRGINIA
               CHAPEL HILL, NORTH
                                      22902
               CAROLINA 27516
                                      frambo@selcva.org
               UNITED STATES
               mhutt@selcnc.org
               Maia Hutt              Alexandra Farrell
               Staff Attorney         SOUTHERN ENVIRONMENTAL
Vote Solar     SOUTHERN ENVIRONMENTAL LAW CENTER
               LAW CENTER             601 W ROSEMARY ST UNIT
               601 W ROSEMARY ST UNIT 220

                                    34
220                       CHAPEL HILL, NORTH
CHAPEL HILL, NORTH        CAROLINA 27516
CAROLINA 27516            afarrell@selcnc.org
UNITED STATES
mhutt@selcnc.org




                     35
